Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 1 of 138




                EXHIBIT 5
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 2 of 138




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                             EXPERT REPORT OF
                           PAUL W. HRUZ, M.D., PH.D.
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 3 of 138




                                       TABLE OF CONTENTS

BACKGROUND ......................................................................................................4
BACKGROUND ON SEX AND GENDER............................................................7
PUBERTY ..............................................................................................................11
PEDIATRIC ENDOCRINE DISORDERS AND TREATMENTS ......................18
         I.       Using GnRH Analogues — “Puberty Blockers” — to Treat
                  Precocious Puberty and Other Conditions .........................................19
         II.      Using Sex Steroids Such as Testosterone and Estrogen to Treat
                  Disorders of Normal Gonadal Function ............................................24
GENDER DYSPHORIA AND TREATMENTS ...................................................29
         I.       Diagnosis............................................................................................29
         II.      Treatments..........................................................................................31
                  A.        Watchful Waiting and Exploratory Therapy ...........................31
                  B.        Gender Affirming ....................................................................34
                            1.          Puberty Blockers .......................................................37
                            2.          Cross-Sex Hormones .................................................45
ENDOCRINE SOCIETY AND WPATH GUIDELINES .....................................52
         I.       Endocrine Society ..............................................................................54
         II.      WPATH .............................................................................................59
INFORMED CONSENT ........................................................................................61
EXISTING LITERATURE AND ITS LIMITATIONS ........................................67
         I.       Change in Patient Population.............................................................74
         II.      Methodological Problems with “Affirming” Literature ....................76
INTERNATIONAL RESPONSES ......................................................................110
CONCLUSIONS ..................................................................................................119
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 4 of 138




      1.     I have been retained by counsel for Defendants as an expert witness in

connection with the above-captioned litigation. I have actual knowledge of the mat-

ters stated in this report. My professional background, experience, and publications

are detailed in my curriculum vitae. A true and accurate copy of my CV is attached

as Exhibit A to this report.

      2.     I am an Associate Professor of Pediatrics in the Division of Pediatric

Endocrinology and Diabetes at Washington University School of Medicine. I also

have a secondary appointment as Associate Professor of Cellular Biology and Phys-

iology in the Division of Biology and Biological Sciences at Washington University

School of Medicine. I served as Chief of the Division of Pediatric Endocrinology

and Diabetes at Washington University from 2012-2017. I served as the Director of

the Pediatric Endocrinology Fellowship Program at Washington University from

2008-2016. I am currently serving as Associate Fellowship Program Director at

Washington University in St. Louis.

      3.     Related to the litigation of issues of sex and gender, I have been desig-

nated as an expert witness in Carcaño v. Cooper (United States District Court for

the Middle District of North Carolina, Case No. 1:16-cv-236); Doe v. Board of Ed-

ucation of the Highland School District (United States District Court for the South-

ern District of Ohio, Eastern Division, Case No. 2:16-CV-524); Whitaker v. Kenosha
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 5 of 138




Unified School District (United States District Court for the Eastern District of Wis-

consin, Case No. 2:16-cv-00943), Bruce v. South Dakota (United States District

Court for the District of South Dakota, Western Division, Case No. 17-5080); Kadel

v. Falwell (United States District Court for the Middle District of North Carolina,

Case No. 1:19-cv-272-LCB-LPA); Brandt v. Rutledge (United States District Court

for the Eastern District of Arkansas, Central Division, Case No. 4:21-CV-00450-

JM); D.H. v. Snyder (United States District Court for the District of Arizona, Case

No. 4:20-cv-00335-SHR), Cause DF-15-09887-SD of the 255th Judicial Circuit of

Dallas County, TX regarding the dispute between J.A. D.Y. and J.U. D.Y., Children;

and Dekker v. Weida (United States District Court for the Northern District of Flor-

ida, Tallahassee Division, Case No. 4:22-cv-00325-RH-MAF). I have also served

as a science consultant or submitted written testimony for court cases in Canada

(B.C. Supreme Court File No. E190334) and Great Britain (Bell v. Tavistock).

      4.     I am being compensated at an hourly rate for actual time devoted, at the

rate of $400 per hour including report drafting, travel, testimony, and consultation.

My compensation does not depend on the outcome of this litigation, the opinions I

express, or the testimony I provide. If called to testify in this matter, I would testify

truthfully and based on my expert opinion.

      5.     My opinions as detailed in this report are based upon my:

             a. knowledge, training, and clinical experience in caring for thousands
                of patients over many years;

                                           2
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 6 of 138




             b. detailed methodological reviews of hundreds of relevant peer-re-
                viewed science publications;
             c. consults, discussions, and team analyses with colleagues and other
                experts in the field, including attendance and participation in various
                professional conferences;
             d. publications in peer-reviewed scientific journals;
             e. editorial work for peer-reviewed scientific journals; and
             f. peer-reviewed research grant receipt and review work.

In addition, I have reviewed the expert reports in this case of Dr. Armand Antom-

maria, Dr. Daniel Shumer, Dr. Meredithe McNamara, Dr. Aron Janssen, and Dr.

Morissa Ladinsky. I have also reviewed certain medical records of the individual

Plaintiffs in this case, and I discuss these records in a separate report. The materials

that I have relied upon are the same types of materials that other experts in my field

of clinical practice rely upon when forming opinions on the subject.

      6.     My opinions and hypotheses in this matter are — as all expert reports

are — subject to the limitations of documentary and related evidence, the impossi-

bility of absolute predictions, and the limitations of social, biological, and medical

science. I have not met with, or personally interviewed, anyone in this case. I have

not yet reviewed all of the evidence in this case and my opinions are subject to

change at any time as new information becomes available to me. Only the trier of

fact can determine the credibility of witnesses and how scientific research may or

may not be related to the specific facts of any particular case. In my opinion, a key




                                           3
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 7 of 138




role of an expert witness is to help the court, lawyers, parties, and the public under-

stand and apply reliable scientific, technical, and investigative principles, hypothe-

ses, methods, and information.

                                  BACKGROUND

      7.     I received my Doctor of Philosophy degree from the Medical College

of Wisconsin in 1993. I received my Medical Degree from the Medical College of

Wisconsin in 1994.

      8.     I am board certified in Pediatrics and Pediatric Endocrinology. I have

been licensed to practice medicine in Missouri since 2000. My professional mem-

berships include the American Diabetes Association, the Pediatric Endocrine Soci-

ety, and the Endocrine Society.

      9.     I have published 62 scholarly articles over my academic career span-

ning over two decades. This includes peer-reviewed publications in the leading jour-

nals in the fields of metabolism, cardiology, HIV, and ethics. Those journals include

Gastroenterology, Circulation, Diabetes, Science Signaling, the Journal of Biologi-

cal Chemistry, and FASEB Journal. See Exhibit A.

      10.    I have served as a Reviewer for a number of leading science journals in

relevant fields including the Journal of Clinical Endocrinology and Metabolism, the

Journal of Biological Chemistry, Diabetes, Scientific Reports, and PLOS ONE, as-

sessing the quality of evidence that is put forward for publication. I have also been


                                          4
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 8 of 138




involved in the evaluation of clinical trials with colleagues. I have received over

$4.6 million in governmental and non-governmental funding for scientific research,

including grants from the National Institutes of Health, the American Diabetes As-

sociation, The American Heart Association, the March of Dimes, and the Harrington

Discovery Institute. I am a member of the Alpha Omega Alpha Medical Honor So-

ciety and have received the Armond J. Quick Award for Excellence in Biochemistry,

the Eli Lilly Award for Outstanding Contribution to Drug Discovery, and the Julio

V. Santiago Distinguished Scholar in Pediatrics Award.

      11.    During the more than 22 years that I have been in clinical practice, I

have participated in the care of hundreds of infants and children, including adoles-

cents, with disorders of sexual development. I was a founding member of the mul-

tidisciplinary Disorders of Sexual Development (DSD) program at Washington Uni-

versity. I continue to contribute to the discussion of complex cases and the advance-

ment of research priorities in this field. In the care of these patients, I have acquired

expertise in the understanding and management of associated difficulties in gender

identification and gender transitioning treatment issues. I have trained and/or super-

vised hundreds of medical students, residents, and clinical fellows in the practice of

medicine.




                                           5
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 9 of 138




      12.    In my role as a scientist and as the Director of the Division of Pediatric

Endocrinology at Washington University, I extensively studied the existing scien-

tific research literature related to the incidence, potential etiology, and treatment of

gender dysphoria as efforts were made to develop a Transgender Medicine Clinic at

Saint Louis Children’s Hospital. I have participated in local, national, and interna-

tional meetings where the endocrine care of children with gender dysphoria has been

discussed in detail and debated in depth. I have met individually and consulted with

several pediatric endocrinologists (including Dr. Norman Spack) and other profes-

sionals specializing in sexual health (including Eli Coleman) who have developed

and led transgender programs in the United States. I have also consulted with, met

with, and had detailed discussions with dozens of parents of children with gender

dysphoria to understand the unique difficulties experienced by this patient popula-

tion. I continue to evaluate the ongoing experimental investigation of this condition.

I am frequently consulted by other medical professionals to help them understand

the complex medical and ethical issues related to this emerging field of medicine.

      13.    In my 25 years of clinical practice, I have cared for children from birth

to the completion of college in their early twenties who have a variety of hormone-

related diseases. This includes disorders of growth, puberty (both precocious and

delayed), glucose homeostasis (both hypoglycemia and diabetes mellitus), adrenal

function (both adrenal insufficiency and steroid excess), thyroid function, skeletal


                                           6
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 10 of 138




abnormalities, gonadal dysfunction (including polycystic ovarian syndrome and

ovarian failure), hypopituitarism, and disorders of sexual development. Pediatric

patients referred to our practice for the evaluation and treatment of gender dysphoria

are cared for by an interdisciplinary team of providers that includes a psychologist

and pediatric endocrinologist who have been specifically chosen for this role based

upon a special interest in this patient population.

                   BACKGROUND ON SEX AND GENDER

      14.    Sex is an objective biological trait intrinsically oriented toward specific

roles in the conception and development of new members of a species. Both males

and females contribute genetic information in distinct yet complementary ways.

Males have the role of delivering sperm produced by testes and the unique paternal

DNA contained therein to a female. Females have the role of receiving this male

genetic information to join with the maternal genetic information contained in ova

produced by ovaries. Sex is not “assigned at birth”; it is permanently determined by

biology at conception. This remains the standard definition that has been accepted

by the relevant scientific community and used worldwide by scientists, medical per-

sonnel, and society in general for decades.

      15.    The scientific and clinical measurement of sex is done with highly reli-

able and valid objective methodologies. Visual medical examination of the appear-




                                           7
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 11 of 138




ance of the external genitalia is the primary methodology used by clinicians to rec-

ognize sex. In cases where genital ambiguity is present, additional testing modalities

including chromosomal analysis, measurement of hormone levels, radiographic im-

aging of internal sexual anatomy and biological response to provocative testing are

utilized. The measurement and assessment of biological sex has been documented

by valid and reliable research published in credible journals, and is accepted by the

relevant scientific community. Medical recognition of an individual as male or fe-

male is correctly made at birth in nearly 99.98% of cases according to external phe-

notypic expression of primary sexual traits (i.e., the presence of a penis for males

and presence of labia and vagina for females).

         16.   For members of the human species (and virtually all mammals), sex is

normatively aligned in a binary fashion (i.e., either male or female) in relation to

biologic purpose. The presence of individuals with disorders of sexual development

(along the range of the established Prader scale) does not alter this fundamental re-

ality.

         17.   Due to genetic and hormonal variation in the developing fetus, norma-

tive development of the external genitalia in any individual differs with respect to

size and appearance while maintaining an ability to function with respect to biologic

purpose (i.e., reproduction). Internal structures (e.g., gonad, uterus, vas deferens)




                                          8
    Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 12 of 138




normatively align in more than 99.9%+ of mammals with external genitalia, includ-

ing humans.

       18.    Due to the complexity of the biological processes that are involved in

normal sexual development, it is not surprising that a very small number of individ-

uals are born with defects in this process (1 in 5,000 births).1 Defects can occur

through either inherited or de novo mutations in genes that are involved in sexual

determination or through environmental insults during critical states of sexual de-

velopment. Persons who are born with such abnormalities are considered to have a

disorder of sexual development (DSD). Most often, this is first detected as ambigu-

ity in the appearance of the external genitalia. Such detection measurements are

reliable and valid and accepted by the relevant scientific community.

       19.    The medical care of persons with DSDs is primarily directed toward

identification of the etiology of the defect and treatment of any associated compli-

cations. Similar to the diagnosis of other diseases, objective diagnostic tools such

as the Prader scale are used to assess, measure, and assign a “stage” to the severity

of the deviation from normal. In children with DSDs, characterization based upon

phenotype alone does not reliably predict the sex chromosomes present, nor does it




1
  See L. Sax, How common is Intersex? A response to Anne Fausto‐Sterling, 39 J. Sex Rsch. 174
(2002).

                                             9
    Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 13 of 138




necessarily correlate with potential for biological sexual function. Decisions on in-

itial sex assignment in these very rare cases require detailed assessment of objective,

reliable medical evidence by a team of expert medical providers. In previous years,

the general practice was to make a definitive sex assignment shortly after birth, the

belief being that this would allow patients with a disorder of sexual development to

best conform to the assigned sex and parents-caregivers to help socialize the child

to the assigned sex. Current practice is to defer sex assignment until the etiology of

the disorder is determined and, if possible, a reliable prediction can be made on likely

biologic and psychologic outcomes. When this cannot be done with confidence, a

presumptive sex assignment is made. Factors used in making such decisions include

karyotype (46XX, 46XY, or other), phenotypic appearance of the external genitalia,

and parental desires. The availability of new information can, in rare circumstances,

lead to a change in sex determination. Decisions on whether to surgically alter the

external genitalia to align with sex are generally deferred until the patient is able to

provide consent.2

       20.   “Gender,” a term that had traditionally been reserved for grammatical

purposes, is currently used to describe the psychological and cultural characteristics

of a person in relation to biological sex. Gender in such new definitions would



2
 See P. A. Lee et al., Global Disorders of Sex Development Update since 2006: Perceptions,
Approach and Care, 85 Horm. Rsch. Paediatr. 158 (2016).

                                           10
    Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 14 of 138




therefore exist only in reference to subjective personal perceptions and feelings and

societal expectations, not biology. The reliability and validity of various usages of

the term “gender” is currently controversial. The dangers of incorrectly using the

term “gender” in place of “sex” have been acknowledged by the Endocrine Society.3

       21.    “Gender identity” refers to a person’s individual experience and per-

ception and unverified verbal patient reports of how they experience being male or

female or a combination of these or other categories. The term “gender identity” is

controversial. There is no current worldwide definition of “gender identity” ac-

cepted by the relevant clinical communities. The measurement error rate for non-

biological “gender identity” is unknown.

       22.    People who identify as “transgender” transiently or persistently experi-

ence a sex-discordant gender identity.4

                                         PUBERTY

       23.    Puberty is “the morphological and physiological changes that occur in

the growing boy or girl as the gonads change from the infantile to the adult state.

These changes involve nearly all the organs and structures of the body but they do

not begin at the same age nor take the same length of time to reach completion in all



3
  See A. Bhargava et al., Considering Sex as a Biological Variable in Basic and Clinical Studies:
An Endocrine Society Scientific Statement, 42 Endocrine Revs. 219 (2021).
4
  American Psychological Association, The Diagnostic and Statistical Manual of Mental Disor-
ders, (DSM-5), 451 (2013).



                                               11
    Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 15 of 138




individuals. Puberty is not complete until the individual has the physical capacity to

conceive and successfully rear children.”5

       24.      The principal manifestations of puberty are:

              The adolescent growth spurt; i.e., an acceleration followed by a decel-

                eration of growth in most skeletal dimensions and in many internal or-

                gans.

              The development of the gonads.

              The development of the secondary reproductive organs and the second-

                ary sex characters.

              Changes in body composition, i.e., in the quantity and distribution of

                fat in association with growth of the skeleton and musculature.

              Development of the circulatory and respiratory systems leading, partic-

                ularly in boys, to an increase in strength and endurance.6

       25.      The ability to physically conceive children is made possible by the mat-

uration of the primary sex characteristics, the organs and structures that are involved

directly in reproduction. In boys, these organs and structures include the scrotum,

testes, and penis while in girls they include the ovaries, uterus, and vagina. In addi-

tion to these primary sex characteristics, secondary sex characteristics also develop


5
  W. A. Marshall et al., Puberty, in F. Falkner et al. eds., 2 Human Growth: A Comprehensive
Treatise, 2nd ed., (New York: Springer, 1986), 171.
6
  Id. at 171-72.

                                            12
    Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 16 of 138




during puberty — the distinctive physical features of the two sexes that are not di-

rectly involved in reproduction. Secondary sex characteristics that develop in girls

include “the growth of breasts and the widening of the pelvis,” while in boys they

include “the appearance of facial hair and the broadening of shoulders.” Other pat-

terns of body hair and changes in voice and skin occur during puberty in both girls

and boys.7

       26.     Physicians characterize the progress of puberty by marking the onset of

different developmental milestones. The earliest visible event, the initial growth of

pubic hair, is known as “pubarche;” it occurs between roughly ages 8 and 13 in girls,

and between ages 9.5 and 13.5 in boys.8 In girls, the onset of breast development,

known as “thelarche,” occurs around the same time as pubarche.9 “Menarche” is

another manifestation of sexual maturation in females, referring to the onset of men-

struation, which typically occurs at around 13 years of age and is generally a sign of

the ability to conceive.10 Roughly corresponding to menarche in girls is “sper-

marche” in boys; this refers to the initial presence of viable sperm in semen, which

also typically occurs around 13.11 (The “-arche” in the terms for these milestones



7
  R. V. Kail et al., Human Development: A Life-Span View 276 (7th ed. 2016).
8
  J. Stang et al., Adolescent Growth and Development 1, 2-3 in J. Stang et al. eds., Guidelines for
Adolescent Nutrition Services, (2005), available at http://demoiselle2femme.org/wp-content/up-
loads/Adolescent-Growth-and-Development.pdf (last visited Apr. 29, 2023).
9
  Id. at 2.
10
   Marshall et al., Puberty, at 191-92.
11
   Id. at 185.

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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 17 of 138




comes from the Greek for beginning or origin). Pubarche and thelarche correspond

to the transition from Tanner Stage 1 to Tanner Stage 2 of sexual development.

Spermarche and menarche generally occur at Tanner Stage 4 to Tanner Stage 5.

        27.    Scientists distinguish three main biological processes involved in pu-

berty: adrenal maturation, gonadal maturation, and somatic growth acceleration.

“Adrenarche” — the beginning of adrenal maturation — begins between ages 6 and

9 in girls, and ages 7 and 10 in boys. The hormones produced by the adrenal glands

during adrenarche are relatively weak forms of androgens (masculinizing hormones)

known as dehydroepiandrosterone and dehydroepiandrosterone sulfate. These hor-

mones are responsible for signs of puberty shared by both sexes: oily skin, acne,

body odor, and the growth of axillary (underarm) and pubic hair.12

        28.    “Gonadarche” — the beginning of the process of gonadal maturation

— normally occurs in girls between ages 8 and 13 and in boys between ages 9 and

14.13 The process begins in the brain, where specialized neurons in the hypothala-

mus secrete gonadotropin-releasing hormone (GnRH).14 This hormone is secreted

in a cyclical or “pulsatile” manner — the hypothalamus releases bursts of GnRH,



12
   S. E. Oberfield et al., Approach to the Girl with Early Onset of Pubic Hair, 96 J. Clin. Endocrinol.
& Metabol. 1610 (2011).
13
   S. F. Witchel et al., Puberty: Gonadarche and Adrenarche, in J. F. Strauss III et al. eds., Yen and
Jaffe’s Reproductive Endocrinology, 6th ed., 395, 395-446.e16 (2009).
14
   A. E. Herbison, Control of Puberty Onset and Fertility by Gonadotropin-Releasing Hormone
Neurons, 12 Nature Revs. Endocrinol. 452 (2016).



                                                 14
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 18 of 138




and when the pituitary gland is exposed to these bursts, it responds by secreting two

other hormones.15 These are luteinizing hormone (LH) and follicle-stimulating hor-

mone (FSH), which stimulate the growth of the gonads (ovaries in females and testes

in males).16 (The “follicles” that the latter hormone stimulates are not hair follicles

but ovarian follicles, the structures in the ovaries that contain immature egg cells.)

In addition to regulating the maturation of the gonads and the production of sex hor-

mones, these two hormones also play an important role in regulating aspects of hu-

man fertility.17

        29.   As the gonadal cells mature under the influence of LH and FSH, they

begin to secrete androgens (masculinizing sex hormones like testosterone) and es-

trogens (feminizing sex hormones).18 These hormones contribute to the further de-

velopment of the primary sex characteristics (the uterus in girls and the penis and

scrotum in boys) and to the development of secondary sex characteristics (including

breasts and wider hips in girls, and wider shoulders, breaking voices, and increased

muscle mass in boys). The ovaries and testes both secrete androgens as well as




15
   Id. at 453.
16
   Id. at 454.
17
   Id. at 452.
18
   M. A. Preece, Prepubertal and Pubertal Endocrinology, in F. Falkner et al. eds., 2 Human
Growth: A Comprehensive Treatise, 211, 212 (1986).



                                            15
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 19 of 138




estrogens, however the testes secrete more androgens and the ovaries more estro-

gens.19

        30.   The gonads and the adrenal glands are involved in two separate but in-

terrelated pathways (or “axes”) of hormone signaling. These are the hypothalamic-

pituitary-gonadal (HPG) axis and the hypothalamic-pituitary-adrenal (HPA) axis.20

Though both play essential roles in puberty, it is, as just noted, the HPG axis that

results in the development of the basic reproductive capacity and the external sex

characteristics that distinguish the sexes.21

        31.   The third significant process that occurs with puberty, the somatic

growth spurt, is mediated by increased production and secretion of human growth

hormone, which is influenced by sex hormones secreted by the gonads (both testos-

terone and estrogen). Similar to the way that the secretion of GnRH by the hypo-

thalamus induces the pituitary gland to secrete FSH and LH, in this case short pulses

of a hormone released by the hypothalamus cause the pituitary gland to release hu-

man growth hormone.22 This process is augmented by testosterone and estrogen.



19
   R. A. Hess, Estrogen in the adult male reproductive tract: A review, 1 Reproductive Biol. and
Endocrinol. 1, (2003); H. G. Burger, Androgen Production in Women, 77 (Suppl.) Fertility and
Sterility, S3-5 (2002).
20
   R. D. Romeo, Neuroendocrine and Behavioral Development during Puberty: A Tale of Two
Axes, 71 Vitamins and Hormones 1, 1-25 (2005).
21
   M. E. Wierman et al., Neuroendocrine Control of the Onset of Puberty, 2 Human Growth 225
(1986).
22
   M. A. Preece, Prepubertal and Pubertal Endocrinology, at 218-19.



                                              16
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 20 of 138




Growth hormone acts directly to stimulate growth in certain tissues, and also stimu-

lates the liver to produce a substance called “insulin-like growth factor 1,” which

has growth-stimulating effects on muscle.23

        32.   The neurological and psychological changes occurring in puberty are

less well understood than are the physiological changes. Men and women have dis-

tinct neurological features that may account for some of the psychological differ-

ences between the sexes, though the extent to which neurological differences ac-

count for psychological differences, and the extent to which neurological differences

are caused by biological factors like hormones and genes (as opposed to environ-

mental factors like social conditioning), are all matters of debate.

        33.   Scientists distinguish between two types of effects hormones can have

on the brain: organizational effects and activational effects. Organizational effects

are the ways in which hormones cause highly stable changes in the basic architecture

of different brain regions. Activational effects are the more immediate and tempo-

rary effects of hormones on the brain’s activity. During puberty, androgens and

estrogens primarily have activating effects, but long before then they have organiza-

tional effects in the brains of developing infants and fetuses.24



23
   U. J. Meinhardt et al., Modulation of growth hormone action by sex steroids, 65 Clin. Endo-
crinol. 413, 414 (2006).
24
   M. M. Herting et al., Puberty and structural brain development in humans, 44 Frontiers in Neu-
roendocrinol. 122 (2017); J. Hornung et al., Sex hormones and human brain function, 195 Handb.
Clin. Neurol. 175 (2020).

                                               17
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 21 of 138




      34.    In sum: Puberty involves a myriad of complex, related, and overlapping

physical processes, occurring at various points and lasting for various durations.

During this period of life, adrenarche and changes in the secretion of growth hor-

mone contribute to the child’s growth and development. With gonadarche, the mat-

uration of sex organs begins and with normal maturation will lead to the emergence

of reproductive capacity, as well as the development of the other biological charac-

teristics that distinguish males and females.

       PEDIATRIC ENDOCRINE DISORDERS AND TREATMENTS

      35.    The field of endocrinology is directed toward the care of hormone-re-

lated diseases. Pediatric endocrine diseases include disorders of glucose regulation

(hypoglycemia and diabetes mellitus), disorders of thyroid function (hyper and hy-

pothyroidism), disorders of growth (e.g., short stature, acromegaly, obesity, and poor

weight gain), disorders of sexual development and function (e.g., genital ambiguity,

precocious and delayed puberty, hypogonadism, polycystic ovarian syndrome), dis-

orders of adrenal function (e.g., adrenal insufficiency and Cushing’s syndrome), dis-

orders of pituitary function, lipid disorders, and disorders of bone and mineral me-

tabolism. For all of these conditions, there are objective physical and biochemical

criteria for diagnosis and treatment with well-established normal reference ranges

for hormones and metabolites.




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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 22 of 138




I.      Using GnRH Analogues — “Puberty Blockers” — to Treat Precocious
        Puberty and Other Conditions

        36.   Hormone interventions to suppress puberty were not developed for the

purpose of treating children with gender dysphoria. Rather, they were first used as

a way to normalize puberty for children who undergo puberty too early, a condition

known as “precocious puberty.”

        37.   For females, precocious puberty is defined by the onset of puberty be-

fore age 8, while for males it is defined as the onset of puberty before age 9.25 Prem-

ature thelarche (the appearance of breast development) is usually the first clinical

sign of precocious puberty in girls. For males, precocious puberty is marked by

premature testicular enlargement.26 In addition to the psychological and social con-

sequences that a child might be expected to suffer, precocious puberty can also lead

to reduced adult height, since the early onset of puberty interferes with later bone

growth.27




25
   K. O. Klein, Precocious Puberty: Who Has It? Who Should Be Treated?, 84 J. Clin. Endocrinol.
& Metabol. 411 (1999). See also F. M. Biro et al., Onset of Breast Development in a Longitudinal
Cohort, 132 Pediatrics 1019 (2013); C.-J. Partsch et al., Pathogenesis and epidemiology of preco-
cious puberty. Effects of exogenous oestrogens, 7 Human Reproduction Update 292, 293 (2001).
26
   A. Parent et al., The Timing of Normal Puberty and the Age Limits of Sexual Precocity: Varia-
tions around the World, Secular Trends, and Changes after Migration, 24 Endocrine Revs. 675
(2011).
27
   J.-C. Carel et al., Precocious puberty and statural growth, 10 Human Reproduction Update 135
(2004).



                                               19
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 23 of 138




        38.    Precocious puberty is divided into two types, central precocious pu-

berty (sometimes labeled “true precocious puberty”) and peripheral precocious pu-

berty (sometimes labeled “precocious pseudopuberty”).28 Central precocious pu-

berty is caused by the early activation of the gonadal hormone pathway by GnRH,

and is amenable to treatment by physicians. Peripheral precocious puberty, which

is caused by secretion of sex hormones by the gonads or adrenal glands independent

of signals from the pituitary gland, is less amenable to treatment. Effects of andro-

gen or estrogen hypersecretion can be reduced by administration of drugs that block

the activity of the sex hormone receptors. If a tumor is causing the disorder, surgical

removal may be necessary.

        39.    Precocious puberty is rare, especially in boys. A recent Spanish study

of central precocious puberty estimated the overall prevalence to be 19 in 100,000

(37 in 100,000 girls affected, and 0.46 in 100,000 boys).29 A Danish study of pre-

cocious puberty (not limited to central precocious puberty) found the prevalence to

be between 20 to 23 per 10,000 in girls and less than 5 in 10,000 in boys.30



28
   C.-J. Partsch et al., Pathogenesis and epidemiology of precocious puberty. Effects of exogenous
oestrogens, at 294-95.
29
   L. Soriano-Guillén et al., Central Precocious Puberty in Children Living in Spain: Incidence,
Prevalence, and Influence of Adoption and Immigration, 95 J. Clin. Endocrinol. & Metabol., 4305,
4307 (2011). In some cases, peripheral precocious puberty is caused by an underlying condition,
such as a tumor, that can be treated.
30
   G. Teilmann et al., Prevalence and Incidence of Precocious Pubertal Development in Denmark:
An Epidemiologic Study Based on National Registries, 116 Pedriatics 1323 (2005).



                                               20
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 24 of 138




        40.    To diagnose central precocious puberty, hormones from the pituitary

gland, LH and FSH, are objectively measured. This can sometimes be done by

measurement of baseline levels31 but often requires assessment after transient stim-

ulation with GnRH. As discussed, these are two hormones that are made in the pi-

tuitary gland that signal to the gonads. In males, they lead to production of testos-

terone. In females, they lead to the production of estrogen. LH and FSH signaling

are essential for normal sperm production and ovarian maturation in males and fe-

males, respectively.

        41.    Also subject to objective measurement when diagnosing and treating

central precocious puberty are sex steroid hormones, either testosterone or estrogen,

and bone growth.

        42.    Treatment for precocious puberty is somewhat counterintuitive. Rather

than stopping the production of GnRH, physicians actually provide patients more

constant levels of synthetic GnRH (called GnRH analogues or GnRH agonists).32

As discussed above, when produced endogenously (that is, by the body naturally),

GnRH stimulates the pituitary gland to release gonad-stimulating hormones (gonad-




31
   S. Heo et al., Basal Serum Luteinizing Hormone Value as the Screening Biomarker in Female
Central Precocious Puberty, 24 Annals of Pediatr. Endocrinol. & Metabol., 164, 164-71 (2019).
32
   W. F. Crowley, Jr. et al., Therapeutic use of pituitary desensitization with a long-acting LHRH
agonist: a potential new treatment for idiopathic precocious puberty, 52 J. Clin. Endocrinol. &
Metabol., 370, 370-72 (1981) (LHRH refers to “lutenizing hormone releasing hormone,” another
term for GnRH.).

                                               21
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 25 of 138




otropins, LH and FSH). When added exogenously, the additional GnRH “desensi-

tizes” the pituitary, leading to a decrease in the secretion of gonadotropins, which in

turn leads to the decreased maturation of and secretion of sex hormones by the gon-

ads (ovaries and testes). The intent and effect of giving puberty blockers is identical

when it is given to a male as when it is given to a female in this context: suppressing

the secretion of gonadotropin hormones. Even the dosing is the same for males and

females, and depends on the person’s weight.

        43.   The first publication describing the use of GnRH analogues in children

for precocious puberty appeared in 1981.33 In the time since GnRH analogues were

first proposed, they have become fairly well accepted as a treatment of precocious

puberty, with one prominent GnRH analogue, Lupron, approved for that use by the

FDA in 1993.34 However, there remain some questions concerning the effectiveness

of treatment with GnRH analogues. A 2009 consensus statement of pediatric endo-

crinologists concluded that GnRH analogues are an effective way to improve the

height of girls with onset of puberty at less than 6 years of age, and also recom-

mended the treatment be considered for boys with onset of precocious puberty who




33
  Id.
34
  “Full Prescribing Information” for Lupron Depot-Ped, FDA.gov (undated), https://www.ac-
cessdata.fda.gov/drugsatfda_docs/label/2011/020263s036lbl.pdf (last visited April 6, 2023).



                                            22
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 26 of 138




have compromised height potential.35 Regarding the negative psychological and so-

cial outcomes associated with precocious puberty, the authors found that the availa-

ble data were unconvincing, and that additional studies are needed.36 Puberty block-

ers have recently been recognized to carry a risk of increased brain pressure that can

adversely affect vision and cause severe headaches.37

        44.    When used to treat precocious puberty, the process of desensitization

of the pituitary gland by synthetic GnRH is not permanent. After a patient stops

taking the GnRH analogues, the pituitary will resume its normal response to the pul-

satile secretion of GnRH by the hypothalamus, as evidenced by the fact that children

treated for precocious puberty using GnRH analogues will resume normal pubertal

development, usually about a year after they withdraw from treatment.38

        45.    The goal of treating precocious puberty is to allow the child to have

pubertal development enter the normal quiescence that is present at that age. This

treatment helps to preserve their final adult height, by slowing the rate of bone age

advancement. The goal is not to delay puberty beyond other children, as delaying



35
   J.-C. Carel et al., Consensus Statement on the Use of Gonadotropin-Releasing Hormone Analogs
in Children, 123 Pediatrics e752, e753 (2009).
36
   Id.
37
   Risk of pseudotumor cerebri added to labeling for gonadotropin-releasing hormone agonists,
AAP News, July 1, 2022, https://publications.aap.org/aapnews/news/20636/Risk-of-pseudo-
tumor-cerebri-added-to-labeling-for?autologincheck=redirected (last visited April 7, 2023).
38
   M. M. Fisher et al., Resumption of Puberty in Girls and Boys Following Removal of the Histrelin
Implant, 164 J. Pediatrics 912, 912-16 (2014).



                                               23
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 27 of 138




too long can lead to adverse effects, including reduced bone marrow density, as dis-

cussed below.

        46.    In addition to being prescribed for children with precocious puberty,

GnRH analogues have also been used in adults for a variety of indications, including

hormone-sensitive tumors.39 GnRH analogues have also been given to post-pubertal

adolescents undergoing chemotherapy with drugs that can have toxic effects on the

gonads.40

II.     Using Sex Steroids Such as Testosterone and Estrogen to Treat Disor-
        ders of Normal Gonadal Function

        47.    Sex steroids such as testosterone and estrogen are frequently used in the

treatment of disorders of normal gonadal function. This includes hypogonadotropic

hypogonadism, primary gonadal failure, and delayed puberty.41 In each of these

conditions, there are objective laboratory tests that are used to diagnose these condi-




39
   See P. Kumar et al., Gonadotropin-releasing hormone analogs: Understanding advantages and
limitations, 7 J. Human Reproductive Scis. 170 (2014).
40
   M. Meli et al., Triptorelin for Fertility Preservation in Adolescents Treated With Chemotherapy
for Cancer, 40 J. Pediatr. Hematol./Oncol. 269 (2018).
41
   P. Kumar et al., Male hypogonadism: Symptoms and treatment, 1 J. Advanced Pharmaceutical
Technology & Research 297 (2010); K. Voutsadaki et al., Hypogonadism in adolescent girls: treat-
ment and long-term effects, 93 Acta Biomedica Atenei Parmensis e2022317 *1 (2022).



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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 28 of 138




tions and monitor response to treatment. Deficiency of sex steroids has bodily ef-

fects that extend beyond sexual function.42 This includes significant effect on bone

density, lean body mass, metabolism, immunity, and neural function.

        48.    There are major and highly significant differences between male and

female responses to sex hormones.43 Giving estrogen to a biological male is not

equivalent to giving the same hormone to a biological female. Likewise, giving

testosterone to a biological female is not equivalent to giving the same hormone to

a biological male.44 Differences are not limited to pharmacokinetic effect (i.e., how

drugs are absorbed, distributed throughout the body, and metabolized) but are pre-

sent even at the cellular level.45 Sex steroids act by altering the expression of the

genetic information present in all nucleated cells of the body. Epigenetic differences

(i.e., chemical changes to DNA structure) result in sex-differential expression of

over 6,500 genes in the body.46 Consequences of a failure to recognize these differ-

ences can result in drug overdose, lack of treatment response, or serious side effects.



42
   M. Alemany, The Roles of Androgens in Humans: Biology, Metabolic Regulation and Health.
23 Int’l. J. Molecular Scis. 11952 (2022); S. Patel et al., Estrogen: The necessary evil for human
health, and ways to tame it, 102 Biomed. & Pharmacother. 403 (2018).
43
   See C. Madla et al., Let’s talk about sex: Differences in drug therapy in males and females,
175 Advanced Drug Delivery Revs. 113804 (2021).
44
   See O. P. Soldin et al., Sex Differences in Pharmacokinetics and Pharmacodynamics, 48 Clin.
Pharmacokinetics 143 (2009); S. Pogun et al., Sex Differences in Drug Effects, in Encyclopedia
of Psychopharmacology, 1210, 1210-16 (I. P. Stolerman, ed., 2010).
45
   See, e.g., C. J. Walker et al., Matters of the heart: Cellular sex differences, 160 J. Molecular and
Cellular Cardiol. 42 (2021).
46
   M. Gershoni et al., The landscape of sex-differential transcriptome and its consequent selection
in human adults, 15 BMC Biol. 7 (2017).

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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 29 of 138




        49.   Several conditions in male minors may indicate a need for endocrino-

logic treatment with testosterone. For instance, primary hypogonadism from gon-

adal failure is caused by damage or impaired function of the male testes. Secondary

hypogonadism is caused by abnormalities in pituitary structure or function. Hy-

pogonadism can be objectively diagnosed by measurement of testosterone (or its

derivatives) and gonadotropin (LH and FSH) levels. When used for the treatment

of affected males with hypogonadism, testosterone is administered to achieve levels

that are normal for males of the patient’s age. For young adult Tanner Stage 5 males,

normal testosterone levels range from 300-900 ng/dL.47 Achievement of appropriate

testosterone levels requires careful monitoring, as excess levels can have serious ad-

verse effects, including elevations of red blood cell counts, changes in blood pres-

sure, and brain changes.48

        50.   Testosterone may also be used in males to treat delayed puberty. To

treat the condition of constitutional delay (where the person has means to progress

through puberty, but onset was delayed), the male would normally be given low




47
   T. G. Travison et al., Harmonized Reference Ranges for Circulating Testosterone Levels in Men
of Four Cohort Studies in the United States and Europe, 102 J. Clin. Endocrinol. & Metabol., 1161
(2017).
48
   S. J. Ohlander et al., Erythrocytosis Following Testosterone Therapy, 6 Sexual Medicine
Revs. 77 (2018); T. Kienitz et al., Testosterone and Blood Pressure Regulation, 31 Kidney and
Blood Press. Rsch. 71 (2008); M. Scarth et al., Androgen abuse and the brain, 28 Curr. Op. in
Endocrinol., Diabetes & Obes. 604 (2021).

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  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 30 of 138




doses of testosterone for 3-4 months to “prime the pump” for normal puberty. As-

sessment of this condition includes measuring levels of LH, FSH, and testosterone,

as well as observation of testicular size. Once puberty has been initiated and is pro-

gressing, there is no need to administer ongoing testosterone therapy. Normal gon-

adotropin (LH and FSH) signaling from the pituitary gland will allow continued

maturation of the testes, leading to reproductive capacity.

      51.    Continuing to give external testosterone to a male in normal puberty

would suppress the normal function of the testes and can lead to infertility — a result

contrary to the goal of endocrinology, which is to restore health. Thus, for instance,

a male adolescent undergoing normal puberty who simply desired increased lean

body mass (i.e., higher muscle mass) should not normally be given testosterone for

that purpose, both because it is considered medically unnecessary and because of the

adverse effects of extra testosterone. Among other reasons, these effects explain

why testosterone is a controlled substance.

      52.    Outside the context of gender dysphoria, testosterone is not an indicated

treatment for a female child or adolescent. Testosterone, or any androgen, would




                                          27
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 31 of 138




lead to virilization, which can come with serious adverse effects. This includes im-

paired fertility, alopecia (hair loss), disfiguring acne, and metabolic changes that in-

crease risk of heart disease and diabetes.49

        53.   Estrogen can be given to young females to treat the same conditions

testosterone treats in young males: constitutional delay and hypogonadism, either

primary or secondary. Primary hypogonadism is caused by a defect in the presence

or function of the ovaries. Secondary hypogonadism is caused by a defect in the

structure or function of the pituitary gland. A female can experience premature ovar-

ian insufficiency where the ovaries become inactive over time, both genetically and

through environmental incidents. To diagnose these conditions, hormone levels can

be objectively measured. This includes LH, FSH, estradiol, and other levels. (Es-

tradiol is a form of estrogen, and generally the main hormone followed and measured

in female endocrinologic practice.) Female estrogen levels will vary throughout the

menstrual cycle but are normally 30-400 pg/mL.50 The physical response to the in-

tervention can also be measured.

        54.   Estrogen treatments carry risks, including stroke, elevated blood pres-

sure, and changes to bone development. Males are not generally prescribed estrogen



49
   R. Yang et al., Effects of hyperandrogenism on metabolic abnormalities in patients with poly-
cystic ovary syndrome: a meta-analysis, 14 Reproductive Biol. and Endocrinol. 67 (2016).
50
   S. Verdonk et al., Estradiol reference intervals in women during the menstrual cycle, postmen-
opausal women and men using an LC-MS/MS method, 495 Clinica Chimica Acta 198, 198-204
(2019).

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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 32 of 138




(again, outside the context of gender dysphoria), and there is concern that the risks

of estrogen are even higher in males.

                   GENDER DYSPHORIA AND TREATMENTS

I.      Diagnosis

        55.    In contrast to the conditions discussed above, gender dysphoria is not

an endocrine disorder. Instead, it is a diagnostic term for “the distress that may ac-

company the incongruence between one’s experienced or expressed gender and

one’s” biological sex.51 Gender dysphoria is associated with high rates of comor-

bidity, including suicidal ideation, depression, anxiety, poverty, homelessness, eat-

ing disorders, and HIV infection.52 Gender dysphoria as a psychiatric disorder

should be distinguished from identifying as transgender or transsexual. As noted,

people who identify as transgender “transiently or persistently identify with a gender

different from their natal gender.” In this definition, “natal gender” refers to sex.

Transsexual has an even more specific meaning; it “denotes an individual who seeks,

or has undergone, a social transition from male to female or female to male, which

in many, but not all, cases also involves a somatic transition by cross-sex hormone

treatment and genital surgery.”53



51
   DSM-5, at 451.
52
   M. D. Connolly et al., The Mental Health of Transgender Youth: Advances in Understanding,
59 J. Adolesc. Health 489 (2016); F. Pinna et al., Mental health in transgender individuals: a sys-
tematic review, 34 Int’l Rev. of Psychiatry 292 (2022).
53
   DSM-5, at 451.

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  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 33 of 138




      56.    The clinical assessment methodology in sex discordant gender medi-

cine is currently limited to self-reported information from patients without objective

scientific markers or medical tests. There are no reliable radiological, genetic, phys-

ical, hormonal, or biomarker tests that can establish gender identity or reliably pre-

dict treatment outcomes.

      57.    The diagnosis of “gender dysphoria” encompasses a diverse array of

conditions. While the contributors to sex-discordant gender identity remain to be

fully identified and characterized, differences both in kind and degree within indi-

viduals and across varied populations create challenges in establishing specific ap-

proaches to alleviate associated suffering. For example, data from adults cannot be

assumed to apply equally to children. Nor can data from children who present with

sex-discordant gender pre-pubertally be presumed to apply to the growing number

of post-pubertal adolescent females presenting with this condition.

      58.    Although gender perceptions, feelings, and “identity” usually align

with biological sex, some individuals report experiencing discordance in these dis-

tinct traits. Specifically, for example, biological females may report experiencing

that they identify as men and biological males may report experiencing that they

identify as women. As gender by definition is distinct from biological sex, one’s

gender identity does not change a person’s biological sex. There is currently no




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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 34 of 138




known reliable and valid methodology for assessing the accuracy or nature of un-

verified, verbal reports of discordant “identity,” nor whether that discordant identity

will persist or resolve over time. There is thus no known “error rate” for relying upon

such reports to engage in hormonal and surgical treatments.

II.     Treatments

        59.   Moving from diagnosis to treatment, two broad approaches are gener-

ally used to treat children with gender dysphoria.54

        A.    Watchful Waiting and Exploratory Therapy

        60.   The first approach, sometimes called “watchful waiting,” motivated by

an understanding of the natural history of transgender identification in children, is

to neither encourage nor discourage transgender identification, recognizing that ex-

isting evidence (discussed next) shows that the vast majority of affected children are

likely to eventually realign their reports of gender identification with their sex. This

realignment of expressed gender identity to be concordant with sex is sometimes

called “desistance.”

        61.   The “watchful waiting” approach does not advocate doing nothing. Ra-

ther, it focuses on affirming the inherent dignity of affected people and supporting

them in other aspects of their lives, including the diagnosis and treatment of any




54
 See K. J. Zucker, On the “Natural History” of Gender Identity Disorder in Children, 47 J. Am.
Acad. Child & Adolesc. Psychiatry 1361 (2008).

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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 35 of 138




comorbidities, as individuals proceed through the various stages of physical and psy-

chological development. For instance, the approach may include the use of scientif-

ically validated treatments (e.g., cognitive behavioral therapy) to treat the patient’s

anxiety, depression, social skills deficits, or other issues.55 It may also use explora-

tory therapy to explore potential causes of the dysphoria, which may be linked to

trauma, developmental issues, or psychological comorbidities.

        62.   Despite differences in country, culture, decade, follow-up length, and

method, multiple studies have come to a remarkably similar conclusion: Very few

gender dysphoric children still want to transition by the time they reach adulthood.

Many turn out to have been struggling with sexual orientation issues rather than

gender discordant “transgender” identity. The exact number of children who expe-

rience realignment of gender identity with biological sex by early adult life varies

by study. Estimates within the peer-reviewed published literature range from 50-

98%, with most reporting desistance in approximately 85% of children before the

widespread adoption of the “affirming” model discussed below.56 In 2018, for in-

stance, studies found that 67% of children meeting the diagnostic criteria for gender



55
   See J. S. van Bentum et al., Cognitive therapy and interpersonal psychotherapy reduce suicidal
ideation independent from their effect on depression, 38 Depression and Anxiety 940 (2021).
56
   T. D. Steensma et al., Factors Associated With Desistence and Persistence of Childhood Gender
Dysphoria: A Quantitative Follow-Up Study, 52 J. Am. Acad. of Child & Adolesc. Psychiatry 582
(2013); K. D. Drummond et al., A Follow-up Study of Girls with Gender Identity Disorder, 44
Dev. Psychol. 34 (2008); M. S. Wallien et al., Psychosexual Outcome of Gender-Dysphoric Chil-



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  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 36 of 138




dysphoria no longer had the diagnosis as adults, with an even higher rate (93%) of

natural resolution of gender-related distress for the less significantly impacted

cases.57 A March 2021 study, with one of the largest samples in the relevant litera-

ture, suggests that most young gender dysphoric children grow out of the condition

without medical interventions.58 Thus, desistance (i.e., the child accepting their na-

tal, biological sex identity and declining “transitioning” treatments) is the outcome

for the vast majority of affected children who are not actively encouraged to proceed

with sex-discordant gender affirmation.

       63.     Decades of peer-reviewed, published scientific research have supported

the efficacy of the psychological approaches for the majority of patients experienc-

ing gender dysphoria.59 Cognitive therapy and interpersonal psychotherapy have

been found to reduce suicidal ideation independent of their effect on depression.60



dren, 47 J. Am. Acad. Child & Adolesc. Psychiatry 1413 (2008); K. J. Zucker et al., Gender Iden-
tity Disorder and Psychosexual Problem in Children and Adolescents (New York: Guilford Press.,
1995) (ISBN 10: 0898622662; ISBN 13: 9780898622669); D. Singh, A Follow-Up Study of Boys
With Gender Identity Disorder, i-ii, 103-07 (Ph.D. thesis, University of Toronto 2012), available
at     https://tspace.library.utoronto.ca/bitstream/1807/34926/1/Singh_Devita_201211_PhD_The-
sis.pdf (last visited May 9, 2023).
57
   See, e.g., K. J. Zucker, The myth of persistence: Response to “A critical commentary on follow-
up studies and ‘desistance’ theories about transgender and gender non-conforming children” by T.
Newhook et al. (2018), 19 Int’l. J. Transgenderism 231 (2018).
58
   See D. Singh et al., A Follow-Up Study of Boys With Gender Identity Disorder, 12 Frontiers in
Psychiatry 632784 (2021).
59
   See K. J. Zucker (2008), On the “Natural History,” 47 J. Am. Acad. Child & Adolesc. Psychia-
try, at 1361, 1361-63; S. J. Bradley et al., Gender Identity Disorder: A Review of the Past 10 Years,
36 J. Am. Acad. Child & Adolesc. Psychiatry 872-80 (1997).
60
   J. S. van Bentum et al. (2021), Cognitive therapy and interpersonal psychotherapy, 38 Depres-
sion and Anxiety at 940 (2021); M. W. Gallagher et al., Trajectories of change in well-being during



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  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 37 of 138




Within the “watchful waiting” model, these data support the investigative use of

modern psychotherapeutic approaches to address suicidal ideation in children with

gender dysphoria (as well as to treat other psychological ailments).

       B.     Gender Affirming

       64.    The second, so-called “gender affirming,” approach is to affirm the

child’s present gender identity. This affirmation may have social, medical, legal,

and behavioral dimensions. Typically, the “affirming” approach encourages chil-

dren to embrace transgender identity with social transitioning followed by puberty

blockade and hormonal therapy (cross-sex hormones), and potential surgical inter-

ventions.61 This approach is considered below.

       65.    The first stage of this approach is social affirmation. Included inter-

ventions include allowance of name change, use of preferred pronouns, wearing of

sex-stereotyped clothing, and access to sex-segregated facilities (bathrooms and

locker rooms) corresponding to the child’s gender identification. While often pre-

sented as a neutral intervention, there is concern that social affirmation will alter the

rate of spontaneous desistance. As noted by Steensma et al., “one may wonder

whether a childhood transition has an effect by itself and influences the cognitive



cognitive behavioral therapies for anxiety disorders: Quantifying the impact and covariation with
improvements in anxiety, 57 Psychotherapy 379 (2020).
61
   See A. Walch et al., Proper Care of Transgender and Gender Diverse Persons in the Setting of
Proposed Discrimination: A Policy Perspective, 106 J. Clin. Endocrinol. & Metabol. 305 (2021).



                                               34
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 38 of 138




gender identity representation of the child and/or their future development”; this

“hypothesized link between social transitioning and the cognitive representation of

the self [may] influence the future rates of persistence.”62 For this reason, in the

original Dutch protocol social transition of pre-pubertal children was discouraged.

The Dutch protocol authors reference the prior work of Wallien and Cohen-Ket-

tenis63 in asserting that “because most gender dysphoric children will not remain

gender dysphoric through adolescence, we recommend that young children not yet

make a complete social transition (different clothing, a different given name, refer-

ring to a boy as ‘her’ instead of ‘him’) before the very early stages of puberty.”64 In

the initial 2009 Endocrine Society guidelines, it was stated that “given the high rate

of remission of GID [gender identity disorder] after the onset of puberty, we recom-

mend against a complete social role change and hormone treatment in prepubertal

children with GID.”65 Current data validate this concern. In the 2022 study by Olson

et al., 94% of children who were socially affirmed persisted with sex-discordant



62
   T. D. Steensma et al., Factors Associated with Desistence and Persistence of Childhood Gender
Dysphoria: A Quantitative Follow-up Study, Chapter 6 in T. D. Steensma, From Gender Variance
to Gender Dysphoria: Psychosexual development of gender atypical children and adolescents, 97,
115 (Ph.D. thesis, Vrije Universiteit Amsterdam, 2013), available at https://re-
search.vu.nl/ws/files/42117780/hoofdstuk%2006.pdf (last visited May 1, 2023).
63
   M. S. C. Wallien et al. (2008), Psychosexual Outcome of Gender-Dysphoric Children, 47 J. Am.
Acad. Child & Adolesc. Psychiatry, at 1413 (2008).
64
   A. L. C. de Vries et al., Clinical management of gender dysphoria in children and adolescents:
the Dutch approach, 59 J. Homosex. 301 (2012).
65
   W. C. Hembree et al., Endocrine Treatment of Transsexual Persons: An Endocrine Society Clin-
ical Practice Guideline, 94 J. Clin. Endocrinol. & Metabol. 3132, 3132-33 (2009).



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     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 39 of 138




gender identity.66 This is in sharp contrast to the low rates of persistence prior to

adoption of social affirmation in pre-pubertal children with sex-discordant gender

identity.67

        66.    Before analyzing gender affirmative medical interventions, it is im-

portant to understand that underlying biology is not changed by altering bodily fea-

tures to appear as the opposite sex, and such alterations do not change disease vul-

nerabilities associated with genetically defined sex. Despite the increasing ability

of hormones and various surgical procedures to reconfigure some male bodies to

visually pass as female, or vice versa, the biology of the person remains as defined

by genetic makeup, normatively by his (XY) or her (XX) chromosomes, including

cellular, anatomic, and physiologic characteristics and the particular disease vulner-

abilities associated with that chromosomally-defined sex.68 For instance, the XX

(genetically female) individual who takes testosterone to stimulate certain male sec-

ondary sex characteristics will nevertheless remain unable to produce sperm and fa-

ther children. It is possible for some adolescents and adults to pass unnoticed as the


66
   K. R. Olson et al., Gender Identity 5 Years After Social Transition, 150 Pediatrics e2021056082.
(2022).
67
   M. S. C. Wallien et al. (2008), Psychosexual Outcome of Gender-Dysphoric Children, 47 J. Am.
Acad. Child & Adolesc. Psychiatry, at 1413-23. The rate of persistence in this study was 27%.
Id. at 1413, 1416, 1420.
68
   See Exploring the biological contributions to human health: does sex matter?, (Institute of Med-
icine (U.S.), T. M. Wizemann, & M. L. Pardue eds., 2001) (hardcover edition); Exploring the
Biological Contributions to Human Health: Does Sex Matter?, (2001), http://www.nap.edu/cata-
log/10028 (last visited Apr 8, 2023) (electronic editions).



                                                36
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 40 of 138




opposite gender that they aspire to be — but with limitations, costs, and risks.69 And

their underlying biology does not change.

               1.      Puberty Blockers

        67.    Only in the 1990s did GnRH analogues begin being used to suppress

puberty in children who identify as the opposite sex. In 1998, Peggy Cohen-Kettenis

and Stephanie van Goozen, psychologists at a Dutch gender clinic, described the

case of a 13-year-old female gender-dysphoria patient, on whom a GnRH analogue

was used to suppress puberty before the patient received a definitive diagnosis of

gender identity disorder at age 16. At age 18, the patient underwent sex-reassign-

ment surgery.70

        68.    The clinic’s scientists developed an influential protocol, often referred

to as the “Dutch protocol,” which involved puberty suppression followed by cross-

sex hormones and potential surgical interventions.71 In many clinics that adhere to

the gender affirmation model, the ages for initiating sex-discordant, gender-

affirming, sex-steroid hormones has deviated substantially from the original Dutch


69
   See S. B. Levine, Informed Consent for Transgendered Patients, 45 J. Sex & Marital Therapy,
218 at *6 (2018) (“Informed Consent”); S. B. Levine, Reflections on the Legal Battles Over Pris-
oners with Gender Dysphoria, 44 J. Am. Acad. Psychiatry & L. 236, 238 (2016) (“Reflections on
Legal Battles”).
70
   P. T. Cohen-Kettenis et al., Pubertal delay as an aid in diagnosis and treatment of a transsexual
adolescent, 7 Eur. Child & Adolesc. Psychiatry 246 (1998). See also P, T. Cohen-Kettenis et al.,
Treatment of Adolescents With Gender Dysphoria in the Netherlands, 20 Child and Adolesc. Psy-
chiatric Clinics of N. Am. 689 (2011).
71
   M. Biggs, The Dutch Protocol for Juvenile Transsexuals: Origins and Evidence, J. Sex & Marital
Therapy, 1 (Sept.19, 2022).

                                                37
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 41 of 138




protocol. The typical protocol is to initiate puberty blockers (GnRH analogs) as soon

as puberty begins (Tanner Stage 2), which can occur as early as 8 years in females

and 9 years in males. While in the Dutch protocol, cross-sex hormones started at 16

years, the Standards of Care for the Health of Transgender and Gender Diverse

People, Version 8 (SOC-8), the latest guidelines published by the World

Professional     Association     for    Transgender      Health     (WPATH),       made      no

recommendations on specific ages for initiation of gender-affirming medical

interventions, stating that decisions need to be made on an individual basis with the

possibility of there being compelling reasons to start interventions earlier.72 Gender-

affirming surgery in the Dutch model was reserved to (and originally required for)

patients 18 years or older. Again, WPATH discusses surgery for minors, noting that

“[c]hest masculinization surgery can be considered in minors when clinically and

developmentally appropriate,” and suggesting that “there may be a benefit for some

adolescents to having [vaginoplasties] performed before the age of 18.”73 GnRH

analogs are discontinued after gonadectomy is performed as this medication is no

longer needed to suppress gonads that are no longer present. Due to the suppressive

effect of exogenous sex-steroids on gonadal function, GnRH analogs are often




72
   E. Coleman et al., Standards of Care for the Health of Transgender and Gender Diverse People,
Version 8, 23 Int’l. J. Transgender Health, 51-5258, 556-66, S1, S65-66 (Sept. 6, 2022) (“SOC-
8”).
73
   Id. at 566.

                                              38
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 42 of 138




stopped after gender-affirming hormone administration has been titrated to maximal

doses required to achieve the desired change in secondary sex characteristics.

         69.   This gender “affirming” model, with its reliance on hormones and sur-

gical interventions, would make gender dysphoria unique among psychiatric condi-

tions: sex reassignment surgery “for Gender Dysphoria is symptom based. It does

not correct a biological abnormality.74 The same is true for hormone-based interven-

tions.

         70.   These scientists, along with others (such as Dr. Ladinsky at p. 9 of her

report), have claimed that puberty suppression is “fully reversible.”75 On this view,

puberty suppression “give[s] adolescents, together with the attending health profes-

sional, more time to explore their gender identity, without the distress of the devel-

oping secondary sex characteristics. The precision of the diagnosis, it is claimed,

may thus be improved.”76

         71.   This assertion appears to presume that natural sex characteristics

interfere with the “exploration” of gender identity, when one would expect that the

development of natural sex characteristics might contribute to the natural

consolidation of one’s gender identity. It is based upon an untested scientific


74
   S. B. Levine (2016), Reflections on Legal Battles, 44 J. Am. Acad. Psychiatry & L., at 240.
75
   H. A. Delemarre-van de Waal et al., Clinical management of gender identity disorder in adoles-
cents: a protocol on psychological and paediatric endocrinology aspects, 155 Eur. J. of Endo-
crinol., S131, S133 (Nov. 1, 2006).
76
   P. T. Cohen-Kettenis et al., The Treatment of Adolescent Transsexuals: Changing Insights, 5 J.
Sexual Med. 1892, 1894 (2008).

                                               39
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 43 of 138




premise that interfering with the development of natural sex characteristics can allow

for a more accurate diagnosis of the gender identity of the child. Given that nearly

all gender dysphoric adolescents who begin puberty blockers proceed to cross-sex

hormones,77 it seems more plausible that the interference with normal pubertal

development will influence the gender identity of the child by reducing the prospects

for developing a gender identity corresponding to his or her biological sex.

        72.   Given their potential importance in the lives of the affected children,

claims about reversibility require careful examination. In developmental biology, it

makes little sense to describe anything as “reversible.” If a child does not develop

certain characteristics at age 12 because of a medical intervention, then his or her

developing those characteristics at age 18 is not a “reversal,” since the sequence of

development has already been disrupted. This is especially important since there is

a complex relationship between physiological and psychosocial development during

adolescence. Gender identity is shaped during puberty and adolescence as young

people’s bodies become more sexually differentiated and mature. Given how little

we understand about gender identity and how it is formed and consolidated, we

should be cautious about interfering with the normal process of sexual maturation.




77
  M. A. T. C. van der Loos et al., Continuation of gender-affirming hormones in transgender
people starting puberty suppression in adolescence: a cohort study in the Netherlands, 6 Lancet
Child & Adolesc. Health 869 (2022).

                                              40
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 44 of 138




        73.    A more relevant question is whether the physiological and psychosocial

development that occurs during puberty can resume in something resembling a nor-

mal way after puberty-suppressing treatments are withdrawn. In children with pre-

cocious puberty, this does appear to be the case. Puberty-suppressing hormones are

typically withdrawn around the average age for the normal onset of gonadarche, at

about age 12, and normal hormone levels and pubertal development gradually re-

sume. For one common method of treating precocious puberty, girls reached men-

arche approximately a year after their hormone treatments ended, at an average age

of approximately 13, essentially the same average age as the general population.78

The evidence for the safety and efficacy of puberty suppression in boys is less robust,

chiefly since precocious puberty is much rarer in boys. Although the risks are spec-

ulative and based on limited evidence, boys who undergo puberty suppression may

be at greater risk for the development of testicular microcalcifications, which may

be associated with an increased risk of testicular cancer, and puberty suppression in

boys may also be associated with obesity.79




78
   M. M. Fisher et al., Resumption of Puberty in Girls and Boys Following Removal of the Histrelin
Implant, 164 J. Pediatrics 912, 912-16 (2014).
79
   S. Bertelloni, Treatment of central precocious puberty by GnRH analogs: long-term outcome in
men, 10 Asian J. Androl. 525, 531 (2008).

                                               41
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 45 of 138




        74.    Unlike children affected by precocious puberty, adolescents with gen-

der dysphoria do not have any physiological disorders of puberty that are being cor-

rected by the puberty-suppressing drugs. The fact that children with suppressed pre-

cocious puberty between ages 8 and 12 resume puberty at age 13 does not mean that

adolescents suffering from gender dysphoria whose puberty is suppressed beginning

at age 12 will simply resume normal pubertal development later if they choose to

withdraw from the puberty-suppressing treatment and choose not to undergo other

sex-reassignment procedures. Interrupting puberty in this manner may have signif-

icant effects on final stature and bone density.80

        75.    After an extended period of pubertal suppression one cannot “turn back

the clock” and reverse changes in the normal coordinated pattern of adolescent psy-

chological development and puberty.81 Once puberty is blocked, even if eventually

unblocked (and assuming signaling from the pituitary gland resumes), the person

cannot “buy back” the time when the physical process of puberty has been disrupted




80
   T. Joseph et al., The effect of GnRH analogue treatment on bone mineral density in young ado-
lescents with gender dysphoria: findings from a large national cohort, 32 J. Pediatric Endocrinol.
and Metabol. 1077, 1077-81 (2019); D, Klink et al., Bone Mass in Young Adulthood Following
Gonadotropin-Releasing Hormone Analog Treatment and Cross-Sex Hormone Treatment in Ad-
olescents With Gender Dysphoria, 100 J. Clin. Endocrinol. & Metabol., E270-E275 (2015).
81
   See P. W. Hruz et al., Growing Pains, 52 The New Atlantis: A Journal of Technology and So-
ciety, 3 (Spring 2017). See also N. Vijayakumar et al., Puberty and the human brain: Insights into
adolescent development, 92 Neurosci. & Biobehav. Revs 417 (2018); S. Choudhury, Culturing the
adolescent brain: what can neuroscience learn from anthropology?, 5 Social Cognitive and Affec-
tive Neurosci. 159 (2010).



                                               42
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 46 of 138




at the time when it would normally occur with complementary psychological pro-

cesses in that stage in the person’s life.

        76.   A possible effect of blocking normally timed puberty is alteration of

normal adolescent brain maturation.82

        77.   Another troubling question that has been largely uninvestigated is what

psychological consequences there might be for children with gender dysphoria

whose puberty has been suppressed and who later come to identify as their biological

sex.

        78.   In addition to the reasons to suspect that puberty suppression may have

side effects on physiological, psychological, and brain development, the evidence

that something like normal puberty will resume for these patients after puberty-sup-

pressing drugs are removed is very weak. Data obtained from the treatment of pre-

cocious puberty cannot be assumed to apply equally to the disruption of puberty that

begins after 8 years of age in females and after 9 years of age in males.

        79.   In addressing the concern of puberty blockers on bone density, Dr. La-

dinsky’s declaration references the paper by Van der Loos83 without discussing that




82
   See M. Arain et al., Maturation of the adolescent brain, 9 Neuropsychiatric Disease and Treat-
ment, 449 (2013).
83
   M. A. T. C. van der Loos et al., Development of Hip Bone Geometry During Gender-Affirming
Hormone Therapy in Transgender Adolescents Resembles That of the Experienced Gender When
Pubertal Suspension Is Started in Early Puberty, 86 J. Bone and Mineral Rsch. 931 (2021).



                                               43
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 47 of 138




this study examined bone geometry, not bone density. Since bone density is nor-

mally increasing during the teenage years, observing an increase in bone density

measurement does not indicate lack of adverse effect.84 The relevant parameter is

the bone density in relation to mean bone density in age and size matched controls.

This is generally assessed as a “z-score.” In both the Klink and Vlot studies refer-

enced in footnote 21 of Dr. Ladinsky’s report, it was observed that there was a failure

to regain pre-treatment z-scores for bone density. This supports the concern that

interruption of normally timed puberty adversely affects bone density.

        80.   In Dr. Shumer’s declaration (page 22, ¶ 16) he correctly acknowledges

that it is necessary “to complete puberty to produce viable eggs or sperm.” However,

he fails to present the existing evidence that nearly all patients who are placed on

puberty blockers will proceed to cross-sex hormones.85 As discussed next, it is this

later drug exposure that is of concern for irreversible sterility. There are no existing

data to demonstrate that the exposure of immature gonads to sex-hormones corre-

sponding to the opposite sex is “safe and reversible.” The concern for irreversible




84
   L. K. Bachrach, Acquisition of optimal bone mass in childhood and adolescence, 12 Trends in
Endocrinol. & Metabol. 22 (2001).
85
   M. A. T. C. van der Loos et al. (2022), Continuation of gender-affirming hormones in
transgender people starting puberty suppression in adolescence, 6 Lancet Child & Adolesc. Health,
at 869-75.



                                               44
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 48 of 138




effects on fertility is the basis for recommendations to cryopreserve sperm or eggs

prior to initiation of this intervention.86

               2.      Cross-Sex Hormones

        81.    Rather than resuming biologically normal puberty, adolescents treated

on the “affirming” model overwhelmingly go from suppressed puberty to medically

conditioned cross-sex puberty, when they are administered cross-sex hormones.87

Specifically, exogenous estrogen is administered to biological men to induce gyne-

comastia (i.e., the enlargement of breast tissues), and testosterone is administered to

biological women to induce virilization (i.e., the development of facial hair and other

desired male features) and to interfere with normal ovarian function.

        82.    Along with (and often before) estrogen is administered to biological

males in this treatment, spironolactone may be used as an androgen blocker. Spiro-

nolactone is primarily used for the treatment of blood pressure and heart failure. It

is a mineralocorticoid antagonist, meaning that it blocks the function of proteins in

the kidney that regulate salt retention. But it also has effects in blocking the action

of androgens. As discussed, androgens are masculinizing hormones that lead to

virilization. Testosterone is a prime androgen, but other androgens are also made in



86
   P, J. Cheng et al., Fertility concerns of the transgender patient, 8 Translational Androl. and Urol.
209 (2019).
87
    M. A. T. C. van der Loos et al. (2022), Continuation of gender-affirming hormones in
transgender people starting puberty suppression in adolescence, 6 Lancet Child & Adolesc. Health,
at 869-75.

                                                 45
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 49 of 138




the gonads and adrenal gland. Spironolactone is sometimes used in the treatment of

polycystic ovarian syndrome, in which females will undergo virilization due to ex-

cess androgen production in the ovaries. This syndrome can have adverse effects on

fertility, metabolic health, and cardiovascular health.88 The diagnosis of polycystic

ovarian syndrome is a clinical diagnosis based upon the physical evidence of virili-

zation or androgen effects, insulin resistance, and irregular periods. There are ob-

jective biological measures to assess those androgen levels, most notably elevated

free testosterone levels. And there are objective measures of dysregulation of rele-

vant signals from the pituitary gland, the LH and the FSH, to complement the clinical

diagnosis by looking at the degree of virilization that is present in the patient.

        83.    Spironolactone would not be prescribed to male patients for an endo-

crinologic purpose related to androgen production. Once again, this reflects a fun-

damental biological difference between males and females. Though spironolactone

can be used to regulate the levels of potassium and sodium in the body, such treat-

ment would be based on objective markers of those levels.

        84.    Likewise, the administration of the sex steroid hormones differ by the

sex of the individual. It is not identical to give testosterone to a male as it is to give

it to a female, nor is it the same treatment to give estrogen to a male versus female.



88
  M. H. Hunter et al., Polycystic Ovary Syndrome: It’s Not Just Infertility, 62 Am. Fam. Physician
1079, 1079-88 (2000).

                                               46
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 50 of 138




This difference has an established scientific basis. The differences between males

and females occurs in every nucleated cell of the body, for males and females have

different genetic programming. This is a process known as epigenetics, meaning

that there are modifications of the DNA itself that alter the expression of genes when

exposed to the same stimulus. As noted above, there are over 6,000 sex-differen-

tially expressed genes. So, if one gives testosterone to a male, the physiologic effects

of that treatment, even in the measurement at which genes are turned on and turned

off, will be different than if one gives testosterone to a female.89

        85.    In congenital or acquired conditions where there is a defect in the ability

to produce endogenous sex-steroid hormones, the goal of administering testosterone

or estrogen is to restore the body to its natural state had the defect not been present.

For example, females with Turner syndrome have premature ovarian failure and are

therefore given estrogen to preserve bone health and allow normal pubertal matura-

tion. Males with Klinefelter syndrome have primary hypogonadism and are there-

fore given testosterone to achieve normal lean body mass, bone density, hematocrit,

and other androgen mediated bodily changes. Importantly, sex-steroid hormone

doses are adjusted to maintain levels within the normal range for the sex of that

individual.



89
   M. Gershoni et al., The landscape of sex-differential transcriptome and its consequent selection
in human adults, 15 BMC Biol. 7 (2017)

                                                47
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 51 of 138




      86.    While the normal range for testosterone levels in a male adolescent who

has completed puberty is 300-900 ng/dL, testosterone levels for a female adolescent

are 15-70 ng/dL. Testosterone levels can be elevated in females with pathologic

conditions such as polycystic ovarian syndrome, but levels generally are less than

150 ng/dL. Levels above 200 ng/dL would generally necessitate evaluation for an

adrenal or ovarian tumor.

      87.    When a patient with gender dysphoria is placed on cross-sex hormones,

per the Dutch protocol, puberty-suppressing GnRH analogues continue to be admin-

istered until exogenous administration of cross-sex hormones (i.e., sex hormones

normally produced by the gonads of the opposite sex) leads to sufficient suppression

of endogenous sex hormone production, or the gonads are surgically removed. With

pubertal blockade, sex hormones that are normally secreted by the maturing gonads

are not produced. This means that adolescents undergoing cross-sex hormone treat-

ment circumvent the most fundamental form of sexual maturation — the maturation

of their reproductive organs.

      88.    For males who are being medically transitioned, exogenously adminis-

tered estrogen will suppress testosterone production through feedback inhibition of

pituitary LH and FSH secretion. Without pubertal blockade, this reduction of en-

dogenous testosterone production is usually not sufficient to fully prevent viriliza-




                                         48
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 52 of 138




tion, and it is therefore necessary to add anti-androgenic medications such as spiro-

nolactone. For females being medically transitioned, exogenously administered tes-

tosterone will usually result in the cessation of menses and lead to the expected effect

of virilization.

        89.    Patients undergoing gender affirming surgery discontinue GnRH treat-

ment after having their gonads removed, since the secretion of sex hormones that the

treatment is ultimately intended to prevent will no longer be possible. These patients

are then sterile, as loss or alteration of primary sexual organs leads directly to im-

pairment of reproductive potential.

        90.    Although the long-term effect of exposing immature gonads to cross-

sex hormones is currently unknown, it is generally accepted, even by advocates of

transgender hormone therapy, that hormonal treatment impairs fertility, which may

be irreversible.90 Specifically, estrogen administration to males who identify as

women results in impaired spermatogenesis and an absence of Leydig cells in the

testis.91 Exogenous testosterone administration to females who identify as men

causes ovarian stromal hyperplasia and follicular atresia.92 Recognition of these



90
   See L. Nahata et al., Low Fertility Preservation Utilization Among Transgender Youth, 61 J.
Adolesc. Health 40 (2017).
91
   C. Schulze, Response of the human testis to long-term estrogen treatment: Morphology of Sertoli
cells, Leydig cells and spermatogonial stem cells, 251 Cell and Tissue Rsch. 31 (1988).
92
   T. D. Pache et al., Ovarian morphology in long-term androgen-treated female to male transsex-
uals. A human model for the study of polycystic ovarian syndrome?, 19 Histopathol. 445 (1991);



                                               49
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 53 of 138




consequences is the basis for the development of new areas of medical practice

where there is an attempt to restore fertility that has been intentionally destroyed.93

       91.     Gametes (sperm and ova) require natural puberty to mature to the point

that they are viable for reproduction.94 While it is expected that the exposure of

immature gonads to cross-sex hormones will lead to infertility, whether affected in-

dividuals have permanent sterility has not been established. Much of the uncertainty

arises from the novelty of this intervention and the lack of long term follow up.

There are limited reports of successful pregnancies after cross-sex hormones, but all

of the subjects started gender-affirming hormones as adults after completing pu-

berty.95 While Dr. Shumer’s report in this case implies that it is possible for an adult

patient who was previously treated with GnRHa followed by hormone therapy to

achieve fertility by withdrawing hormones (pages 24-25), he does not provide any

published data to support this assertion. I am not aware of any reports that show

this for children who were exposed to puberty blockers before completing puberty

followed by cross-sex hormones.



K. Ikeda et al., Excessive androgen exposure in female-to-male transsexual persons of reproduc-
tive age induces hyperplasia of the ovarian cortex and stroma but not polycystic ovary morphology
28 Human Reproduction 453 (2013).
93
   See, e.g., A. J. Ainsworth et al., Fertility Preservation for Transgender Individuals: A Review,
95 Mayo Clinic Proceedings 784, 784-92 (2020).
94
   H. E. Kuhn et al., The Onset of Sperm Production in Pubertal Boys: Relationship to Gonadotro-
pin Excretion, 143 Am. J. Diseases in Children 190 (1989).
95
   I. de Nie et al., Successful restoration of spermatogenesis following gender-affirming hormone
therapy in transgender women, 4 Cell Reports Med. 100858 (2023).



                                                50
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 54 of 138




        92.    There are many other known risks to puberty suppression followed by

cross-sex hormones beyond fertility concerns. As noted, emerging data show that

treated patients have lower bone density, which may lead to increased fracture risk

later in life.96 Other potential adverse effects include disfiguring acne, high blood

pressure, weight gain, abnormal glucose tolerance, breast cancer, liver disease,

thrombosis, and cardiovascular disease.97 In addition, non-physiological levels of

estrogen in males has been shown to increase the risk of thromboembolic stroke

above the incidence observed in females.98

        93.    In her declaration, Dr. Ladinksy, similar to Dr. Shumer, makes

misleading or erroneous statements about the potential or known adverse effects of

interrupting normally timed puberty with GnRH analogues and the administration

of “gender-affirming” sex-steroid hormones. This includes appeal to data on the

safety of using these drugs in treating precocious puberty, where the effect of the

intervention is to restore the patient to the normal phase of quiescence of the



96
   See D. Klink et al. (2015), Bone Mass in Young Adulthood, 100 J. Clin. Endocrinol. & Metabol.,
at E270-E275.
97
   See L. J. Seal, A review of the physical and metabolic effects of cross-sex hormonal therapy in
the treatment of gender dysphoria, 53 Annals Clin. Biochem. 10 (2016); K. Banks et al., Blood
Pressure Effects of Gender-Affirming Hormone Therapy in Transgender and Gender-Diverse
Adults, 77 Hypertension 2066, 2066-74 (2021); D. Getahun et al., Cross-sex Hormones and Acute
Cardiovascular Events in Transgender Persons: A Cohort Study, 169 Annals of Internal Med. 205
(2018); S. Maraka et al., Sex Steroids and Cardiovascular Outcomes in Transgender Individuals:
A Systematic Review and Meta-Analysis, 102 J. Clin. Endocrinol. & Metabol., 3914, 3914-23
(2017).
98
   See, e.g. D. Getahun et al. (2018), Cross-sex Hormones and Acute Cardiovascular Events in
Transgender Persons, 169 Annals of Internal Med., at 205, *6-*8.

                                               51
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 55 of 138




pituitary-gonadal axis. Further assertions that such treatments are the same as those

used to treat conditions that are associated with infertility (e.g., Turner syndrome

and Klinefelter syndrome) ignore the striking differences in both physiological

attributes and goal of intervention.      Assertions made based upon “personal

experience” fall far short of the standard necessary to establish proportionate benefit

relative to treatment risk. Some potential adverse effects can only be ascertained

with directed testing that goes beyond what is normally performed as screening tests

done in medical clinics. Cancer and cardiovascular and metabolic risks often take

decades to manifest. The failure to observe patients with myocardial infarction

(heart attack), thromboembolic events (stroke), or cancer in adolescent patients

exposed to testosterone or estrogen at levels at or exceeding those observed in known

disease states (e.g., polycystic ovarian syndrome or hormone-secreting tumors) does

not mitigate concerns with these interventions in youth who experience sex-

discordant gender identity.

            ENDOCRINE SOCIETY AND WPATH GUIDELINES

      94.    A reasonable understanding of relative risk versus benefit for medical

products or procedures is a fundamental obligation in providing appropriate clinical

care. This is the bedrock standard of “evidence-based medical practice.” When

considering clinical practice guidelines, it is essential that physicians recognize the

relative risks and benefits of such documents. If done properly, they can distill large


                                          52
     Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 56 of 138




data sets into actionable clinical recommendations. However, there is a long history

of clinical practice guidelines that have later been found to be deficient, resulting in

wasted medical resources, failure to achieve desired benefits, and, at times, substan-

tial harm to patients.99

        95.    As detailed throughout this report, this foundational standard of

“evidence-based medical practice” has never been met as to so-called gender affirm-

ing care. The field of “affirming care” is characterized by a poor quality of evidence

regarding safety and efficacy, as well as attempts to silence standard scientific dis-

cussion and consideration of alternative hypotheses; failures to acknowledge exist-

ing data showing persistence of suicidality after intervening; the intentional impair-

ment and destruction of normally formed and functioning male and female sexual

organs to address psychological-psychiatric distress; the manipulation of language

from standard medical definitions; and widespread failures to properly report re-

search data related to gender transitioning.

        96.    Despite the dangers of confirmation bias, existing guidelines base rec-

ommendations for “affirming” medical interventions on uncorroborated patient self-

reports, assessed by mental health professionals with no methodology for discerning




99
  See S. H. Woolf et al., Clinical guidelines: potential benefits, limitations, and harms of clinical
guidelines, 318 BMJ 527 (1999).

                                                53
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 57 of 138




accurate patient reports, no alternative treatments offered, and no alternative expla-

nations (e.g., social contagion) explored. There is no biological test to verify the

diagnosis.

I.       Endocrine Society

         97.   In 2009, the Endocrine Society published clinical guidelines for the

treatment of patients with persistent gender dysphoria.100 The recommendations in-

clude temporary suppression of pubertal development of children with GnRH ago-

nists followed by hormonal treatments to induce the development of secondary sex-

ual traits consistent with one’s gender identity. In developing these guidelines, the

authors assessed the quality of evidence supporting the recommendations made with

use of the GRADE (Grading of Recommendations, Assessment, Development, and

Evaluation) system for rating clinical guidelines. As stated in the Endocrine Society

publication, “the strength of recommendations and the quality of evidence was low

or very low.”101 According to the GRADE system, low recommendations indicate

that “[f]urther research is very likely to have an important impact on our confidence




100
    See W. C. Hembree et al. (2009), Endocrine Treatment of Transsexual Persons, 94 J. Clin.
Endocrinol. & Metabol. at 3132, 3132-54.
101
    Id. at 3132.



                                            54
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 58 of 138




in the estimate of effect and is likely to change the estimate.”102 Very low recom-

mendations mean that “any estimate of effect is very uncertain.”103

         98.    The Endocrine Society published an updated set of guidelines in Sep-

tember 2017.104 Those guidelines show that all recommendations as to “affirming”

treatment of adolescents are supported by low or very low-quality evidence.105 De-

spite this low-quality evidence in this document, strong recommendations are fre-

quently made on the basis of the “values and preferences” of either the Endocrine

Society or the patient.106 For instance, the Endocrine Society’s recommendations

expressly place “a lower value on avoiding potential harm from early pubertal sup-

pression.”107




102
    G. H. Guyatt et al., GRADE: an emerging consensus on rating quality of evidence and strength
of recommendations, 336 BMJ 924, 926 (2008).
103
    Id.
104
    See W. C. Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Per-
sons: An Endocrine Society Clinical Practice Guideline, 102 J. Clin. Endocrinol. & Metabol.,
3869, 3869-3903 (2017). See also Corrigendum for “Endocrine Treatment of Gender-Dys-
phoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice Guideline,” 103 J.
Clin. Endocrinol. & Metabol. 2758 (July 2018) (“Endocrine Society Clinical Practice Guideline”);
Corrigendum for “Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An
Endocrine Society Clinical Practice Guideline,” 103 J. Clin. Endocrinol. & Metabol. 699 (Feb.
2018).
105
    J. Block, Gender dysphoria in young people is rising — and so is professional disagreement,
380 BMJ 382, at *2 (2023). See also W. C. Hembree et al. (2017), Endocrine Society Clinical
Practice Guideline, 102 J. Clin. Endocrinol. & Metab. at 3869-3903.
106
    See, e.g., W. C. Hembree et al. (2017), Endocrine Society Clinical Practice Guideline, 102 J.
Clin. Endocrinol. & Metab., at 3872-73, 3881, 3894.
107
    Id. at 3881.



                                               55
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 59 of 138




         99.   Dr. Guyatt, a co-developer of the GRADE system, “found ‘serious

problems’ with the Endocrine Society guidelines, noting that the systematic reviews

didn’t look at the effect of the interventions on gender dysphoria itself, arguably ‘the

most important outcome.’”108 He also criticized the Endocrine Society guidelines

for pairing strong recommendations with weak evidence, explaining that such prac-

tice is discouraged “except under very specific circumstances.”109 He states that

except under very specific circumstances, such practice is discouraged.110

         100. The Endocrine Society guidelines state that “[w]eak recommendations

require more careful consideration of the person’s circumstances, values, and pref-

erences to determine the best course of action.”111 These values and preferences

include the desire of the individual seeking gender-affirming medical interventions,

who may be operating under an a priori presumption (encouraged by the Endocrine

Society’s “strong recommendations”) that these will lead to improved mental health.

As detailed throughout this declaration, the existing data do not support this pre-

sumption. Instead, the existing data substantiate Dr. Guyatt’s concerns as summa-

rized by J. Block:

         For Guyatt, claims of certainty represent both the success and failure of
         the evidence based medicine movement. “Everybody now has to claim
108
    J. Block (2023), Gender dysphoria in young people is rising, 380 BMJ 382, at *2-*3.
109
    Id. at *3.
110
    Id.
111
    W. C. Hembree et al. (2017), Endocrine Society Clinical Practice Guideline, 102 J. Clin. En-
docrinol. & Metab., at 3872-73, 3885.



                                              56
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 60 of 138




          to be evidence based” in order to be taken seriously, he says—that’s the
          success. But people “don’t particularly adhere to the standard of what
          is evidence based medicine—that’s the failure.” When there’s been a
          rigorous systematic review of the evidence and the bottom line is that
          “we don’t know,’” he says, then “anybody who then claims they do
          know is not being evidence based.”112

          101. The assertion by Dr. Antommaria that reliance on low-quality evidence

to recommend gender-affirming medical interventions for adolescents who experi-

ence gender dysphoria is justified by comparison to other clinical practice guidelines

issued by the Endocrine Society (Obesity and Congenital Adrenal Hyperplasia) fails

to address fundamental differences in potential risk versus purported benefit in these

different conditions. The three recommendations in the Gender Dysphoria guide-

lines supported by moderate-level evidence refer to the need to make an accurate

diagnosis, the need to address medical conditions that could be exacerbated by hor-

monal treatment, and the need for fertility preservation efforts. All other recommen-

dations in the Gender Dysphoria guidelines are based upon low or very low level of

evidence. In the Obesity Guidelines listed in Exhibit C, Table 1 of Dr. Antommaria’s

report, strong recommendations made with weak evidence are generally in reference

to interventions such as reducing screen time, getting more exercise, or changing

diet. The potential risks of these interventions are very low and can be justified with

limited evidence. This is vastly different than recommendations for initiation of



112
      J. Block (2023), Gender dysphoria in young people is rising, 380 BMJ 382, at *4.

                                                 57
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 61 of 138




pubertal blockade with a GnRH analogue or referral for gender-affirming surgery.

The higher the risk, the greater the requirement for strong evidence of safety and

efficacy.

         102. It is highly misleading to imply that the current Endocrine Society

guidelines113 represent the opinions of the Society’s 18,000 members. The commit-

tee that drafted these guidelines was composed of less than a dozen members. The

guidelines were never submitted to the entire Endocrine Society membership for

comment and approval prior to publication. They also did not undergo external re-

view. Such methodologies are common in association “statements” and “endorse-

ment;” they are not scientific or generally reliable.

         103. The panel that drafted the Endocrine Society guidelines was heavily

composed of individuals who have significant associations with WPATH. Specifi-

cally, all but one of the committee members were leaders in WPATH. Two of the

authors served as WPATH’s president (Walter J. Meyer and Vin Tangpricha);114 at




113
    W. C. Hembree et al. (2017), Endocrine Society Clinical Practice Guideline, 102 J. Clin. En-
docrinol. & Metab., at 3872.
114
     A. Devor, History, WPATH World Professional Association for Transgender Health,
https://www.wpath.org/about/history (last visited Apr 12, 2023) (Walter Meyer III, M.D. (Presi-
dent, 2003-2005)); Profile, Vin Tangpricha MD/PHD, Emory School of Medicine,
https://med.emory.edu/departments/medicine/divisions/endocrinology/profile/?u=VTANGPR
(last visited Apr 12, 2023).



                                              58
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 62 of 138




least five have served, or are serving, on WPATH’s Board of Directors (Peggy Co-

hen-Kettenis, Louis Gooren, Stephen Rosenthal, Joshua Safer, Guy T’Sjoen);115 and

at least four (Stephen Rosenthal, Joshua Safer, Vin Tangpricha, and Guy T’Sjoen)

were authors of WPATH SOC-8116. Three (Peggy Cohen-Kettenis, Walter Meyer,

and Vin Tangpricha) were authors of WPATH SOC-7.117

II.      WPATH

         104. The World Professional Association for Transgender Health (WPATH)

has also issued several iterations of guidelines. The first set of clinical practice

guidelines was published in 1979. WPATH published its latest version of their

“Standards of Care for the Health of Transgender and Gender Diverse People”

(SOC-8) in September 2022.118 While this document has been presented as “author-

itative” and “evidence-based,” numerous concerns have been raised about the up-

dated recommendations. Changes in SOC-8 include removal of age limits for initi-

ation of cross-sex hormones and gender-affirming surgery,119 recommendations with


115
    A. Devor, History, WPATH (Peggy Cohen-Kettenis (Board of Directors, 2003-2005), Louis J.
G. Gooren, MD (Board of Directors, 1999-2003)); WPATH, Executive Committee and Board of
Director,      WPATH       World    Professional     Association    for     Transgender   Health,
https://www.wpath.org/about/EC-BOD (last visited Apr 12, 2023) (Stephen Rosenthal, MD
(Board of Directors, Member-at-Large, 2020-2024), Joshua Safer, MD (Board of Directors, Mem-
ber-at-Large, 2022-2026), Guy G. R. T’Sjoen, MD, PhD (EPATH Representative — Term Deter-
mined by Board of Directors)).
116
    E. Coleman et al. (2022), SOC-8, 23 Int’l. J. Transgender Health, at 51-5258.
117
    E. Coleman et al., Standards of Care for the Health of Transsexual, Transgender, and Gender-
Nonconforming People, Version 7, 13 Int’l. J. Transgenderism 165 (2012) (“SOC-7”).
118
    E. Coleman et al. (2022), SOC-8, 23 Int’l. J. Transgender Health, at 51-5258, S1-259.
119
    See, e.g., J. Block (2023), Gender dysphoria in young people is rising, 380 BMJ 382, at *1.



                                               59
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 63 of 138




language sufficiently flexible to encourage the exclusion of parents from the deci-

sion-making process if they question or challenge medical interventions,120 elimina-

tion of safeguards for addressing underlying mental health illness before the start of

gender-affirming medical interventions,121 and the addition of a section on “eunuch-

identified” people.122      Many of the recommendations made reflect WPATH’s

acknowledged agenda as an advocacy group. In SOC-8, WPATH specifically states,

“Health is promoted through public policies and legal reforms that advance tolerance

and equity for gender diversity and that eliminate prejudice, discrimination, and

stigma. WPATH is committed to advocacy for these policy and legal changes.”123

Despite the claim that the SOC-8 guidelines are based upon solid scientific evidence,

such recommendations represent ideological positions devoid of rigorous scientific

evidence.124 Scientific data on long-term outcomes in adolescents who are exposed

to the U.S. affirmation model simply do not exist.



120
    See, e.g., E. Coleman et al. (2022), SOC-8, 23 Int’l. J. Transgender Health, at 5548 and Rec-
ommendation 6.11 (“We recommend when gender-affirming medical or surgical treatments are
indicated for adolescents, health care professionals working with transgender and gender diverse
adolescents involve parent(s)/guardian(s) in the assessment and treatment process, unless their in-
volvement is determined to be harmful to the adolescent or not feasible.” (emphasis added)).
121
    P. Toro, 7 takeaways for HR from the new transgender guidelines, HR Executive (2022),
https://hrexecutive.com/7-takeaways-for-hr-from-the-new-transgender-guidelines/ (last visited
Apr 29, 2023) (“Operationally, this means that TGD individuals do not require a mental health
evaluation in order to obtain medical or surgical services. This is quite different from the prior
guideline, which required mental health sign-off from one or two mental health providers in order
to obtain gender-affirming surgery.”).
122
    E. Coleman et al. (2022), SOC-8, 23 Int’l. J. Transgender Health, at 51-5258, S1-259.
123
    Id. at 55.
124
    See, e.g., J. Block (2023), Gender dysphoria in young people is rising, 380 BMJ 382, at *1-*3.

                                                60
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 64 of 138




         105. In sum, clinical guidelines or standards of care should provide practi-

tioners with evidence-based standards by which they may reliably inform the patient

of projected outcomes, and do so with a known error rate. Such data is the starting

point for obtaining informed consent. This information is not provided by either

WPATH or Endocrine Society’s guidelines.

                                 INFORMED CONSENT

         106. The fundamental purpose of the practice of medicine is to treat disease

and alleviate suffering. An essential tenet of medical practice is to avoid doing harm

in the process. As discussed above, relying on clear, valid, reliable, and definitive

evidence on how to best accomplish treatment goals is the essential ethical, profes-

sional, scientific, and clinical goals of physicians. Using “affirming” treatments on

minors violates this essential principle by using experimental treatments on vulner-

able populations without properly informing them of the actual risks and limitations

of the treatments.125

         107. It is now universally agreed that medical and psychotherapy patients

have a right to proper informed consent. Professional ethics codes, licensing rules

and regulations, hospital rules and regulations, state and federal laws, and biomedi-




125
  See A. R. Jonsen et al., Clinical Ethics: A Practical Approach to Ethical Decisions in Clinical
Medicine (4th ed. 1998).



                                               61
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 65 of 138




cal conventions and declarations all protect patients’ right to informed consent dis-

cussions of the risks and benefits of proposed treatments and alternative treatments

including no treatment.126

         108. Essential requirements for informed consent include the ability of the

patient or study subject to understand the proposed procedure, full disclosure of

known and potential risks and benefits, discussion of alternative treatments, and

freedom to act voluntarily. This information is presented verbally and in written

form with allowance of sufficient time for the patient to ask questions and for the

provider to assess adequate comprehension by the patient. It is well recognized that

the signing of a formal consent form does not guarantee that informed consent has

been obtained.

         109. Several aspects of the care of individuals with gender dysphoria may

substantially interfere with proper application of these foundational principles.127

For adolescent children seeking medical gender affirmation, well-established limi-

tations in decision-making ability raise serious concerns about their ability to con-

sent to hormonal and surgical interventions. Adolescents have a known tendency to


126
    See id. (“Informed consent is defined as the willing acceptance of a medical intervention by a
patient after adequate disclosure by the physician of the nature of the intervention, its risks, and
benefits, as well as of alternatives with their risks and benefits.”). See also A. L. Katz et al., In-
formed Consent in Decision-Making in Pediatric Practice, 138 Pediatrics e20161485 (2016) (re-
affirmed in AAP Publications Reaffirmed, 151 Pediatrics e2023061452 (2023)).
127
    P. S. Appelbaum et al., Assessing Patients’ Capacities to Consent to Treatment, 319 N. Engl.
J. Med. 1635 (1988) (correction issued in Correction, 320 N. Engl. J. Med. 748 (1989)).



                                                 62
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 66 of 138




engage in risky behaviors, exercise poor impulse control, and show frequent failure

to appreciate long-term consequences of current choices.128

         110. For example, the ability of a child to understand implications for future

fertility while still developmentally immature can pose a significant barrier to

meeting the criterion of appreciating decision consequence. Children are often

unlikely to be capable of giving truly informed consent, particularly when it comes

to hormonal or surgical treatments that can result in lifelong sterility.129

Adolescents’ inability to adequately weigh potential short-term benefits against

long-term risks seems supported by the observation that few adolescents express

concern over loss of fertility even when directly told of the potential sterilizing effect

of medical intervention.130

         111. Similarly, individuals with transgender identity who also have clinical

depression or other serious psychiatric comorbidity may have limited capacity to

objectively weigh proposed clinical interventions with potentially irreversible con-

sequences and would therefore fail to meet psychological abilities criteria.131



128
    Neuroscientists have found that the adolescent brain is too immature to make reliably rational
decisions. S-J. Blakemore et al., Decision-Making in the Adolescent Brain, 15 Nature
Neurosci. 1184 (2012); B. J. Casey et al., The Adolescent Brain 1124 Annals N.Y. Acad. Scis. 111
(2008).
129
    See C. F. Geier, Adolescent cognitive control and reward processing: Implications for risk tak-
ing and substance use, 64 Hormones and Behavior 333 (2013).
130
    L. Nahata et al. (2017), Low Fertility Preservation Utilization, 61 J. Adolesc. Health, at 40.
131
    H. Helmchen, Ethics of Clinical Research with Mentally Ill Persons, 262 Eur. Archs. Psychiatry
and Clin. Neurosci. 441 (2012).

                                                63
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 67 of 138




         112. In addition, a study subject’s underlying belief that he or she was born

in the wrong body is the primary reason for seeking medical intervention. Thus, any

challenge to this underlying premise is seen as a threat to the affected individual.

Under such conditions, an individual will find it difficult, if not impossible, to give

truly informed consent.

         113. A model relying on parental consent with child assenting to affirmative

medical interventions does not remove concerns about the difficulty in obtaining

truly informed consent. Since many of the long-term outcomes of gender-affirming

interventions are unknown, prospective patients are being asked to consent without

sufficient knowledge of inherent risk versus benefit. Without understanding that

nearly all adolescents who are put on puberty blockers will proceed to cross-sex

hormones, with many subsequently opting for gender-affirming surgeries, focus on

gaining consent for this first stage of the affirmative model is difficult if not impos-

sible.

         114. Parents are often told by gender affirmation activists or providers that

the failure to allow a gender dysphoric child to medically transition will result in

suicide. These “threats” ignore data that challenge this biased assumption.132




132
   See D’Angelo et al., One Size Does Not Fit All: In Support of Psychotherapy for Gender Dys-
phoria, 50 Archs. Sex. Behav. 7 (2021).

                                             64
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 68 of 138




         115. While any cases of suicide are of utmost concern, suicide rates in chil-

dren with sex-discordant gender identity must be put in context of overall suicidality

in the pediatric population independent of gender dysphoria. When considered in

this context, the rates of suicidal ideation and attempt in transgender adolescents are

similar to those found in adolescents without gender dysphoria who present for psy-

chological care.133 Furthermore, it is necessary to critically assess, with rigorous

scientific data, whether gender affirming medical interventions succeed in prevent-

ing suicides. While long-term data are not available for pediatric patients, the adult

literature consistently reports continued elevated suicidality after undergoing gender

affirming medical interventions.134 In considering the population-based study in

Sweden by Dhejne and colleagues,135 it is not possible to draw conclusions on the

effect of gender affirming interventions on suicide outcome since it was not a con-

trolled study. Nevertheless, the observation that completed suicide rates following

such interventions were 19-fold above the background population clearly demon-

strates that gender affirming medical care did not fix the problem of suicide.




133
    M. Aitken et al., Self-Harm and Suicidality in Children Referred for Gender Dysphoria, 55 J.
Am. Acad. Child & Adolesc. Psychiatry, 513 (2016).
134
    N. Adams et al., Varied Reports of Adult Transgender Suicidality: Synthesizing and Describing
the Peer-Reviewed and Gray Literature, 2 Transgender Health 60 (2017).
135
    C. Dhejne et al., Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment
Surgery: Cohort Study in Sweden, 6 PLOS ONE e16885 (2011).



                                               65
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 69 of 138




         116. Researchers have noted that in the “affirming” context, “the informed

consent process rarely adequately discloses” either “the uncertain permanence of a

child’s or an adolescent’s gender identity” or “the uncertain long-term physical and

psychological health outcomes of gender transition.”136 Levine et al. recently noted

the following major deficiencies in the informed consent process under existing “af-

firming” guidelines and approaches:

             “High rate of desistance/natural resolution of gender dysphoria in chil-
              dren is not disclosed”;
             “Implications of very low-quality evidence that underlies the practice
              of pediatric gender transition are not explained”; and
             “The question of suicide is inappropriately handled.”137

As discussed above, the informed consent process for “affirming” treatments is fur-

ther “limited by” “erroneous professional assumptions” and “poor quality of the in-

itial evaluations.”138

         117. Using experimental procedures on uninformed, vulnerable patients is

unethical and improper. Some of the most tragic chapters in the history of medicine

include violations of informed consent and improper experimentation on patients

using methods and procedures that have not been tested and validated by methodo-

logically sound science — such is the case with the gender transition industry. The



136
    S. B. Levine et al., Reconsidering Informed Consent for Trans-Identified Children, Adoles-
cents, and Young Adults, 48 J. Sex & Marital Therapy 706 (2022).
137
    Id. at 711, 712, 713.
138
    Id. at 706 (Abstract).

                                             66
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 70 of 138




infamous Tuskegee studies, Nazi and Imperial Japanese wartime experiments, lo-

botomies (e.g., Dr. Egas Moniz received the 1949 Nobel Prize in Medicine for in-

venting lobotomies as a “treatment” for schizophrenia139), recovered memory ther-

apy, multiple personality disorders, rebirthing therapy,140 coercive holding ther-

apy,141 and other tragic examples should serve as a stark warning to medical provid-

ers to properly protect the rights of patients and their families to a proper informed

consent process and to not be subjected to experimental, unproven interventions.

         118. Contrary to the ipse dixit assertion by Dr. Shumer on page 35 of his

declaration, personal experience in talking to patients about “expected effects, risks

and benefits to patients and families in an age-appropriate and culturally competent

way,” even if repeated multiple times, does not demonstrate that informed consent

is obtained.

               EXISTING LITERATURE AND ITS LIMITATIONS

         119. Before turning to the existing literature on gender dysphoria and its

treatments, it is important to understand the varying types of studies conducted in


139
    See Bengt Jansson, Egas Moniz: Controversial Psychosurgery Resulted in a Nobel Prize, No-
belPrize.org (Oct. 29, 1998), https://www.nobelprize.org/prizes/medicine/1949/moniz/article/
(last visited Apr 11, 2023).
140
    See, e.g., M. Janofsky, Girl’s Death Brings Ban on a Kind of Therapy, The New York Times,
Apr. 18, 2001, https://www.nytimes.com/2001/04/18/us/girl-s-death-brings-ban-on-a-kind-of-
therapy.html (last visited Apr 11, 2023); see also P. Lowe, Rebirthing team convicted: Two ther-
apists face mandatory terms of 16 to 48 years in jail, Rocky Mountain News, Apr. 21, 2001.
141
      See J. Hyde, Holding therapy appears finished, Deseret News (Feb. 23, 2005),
https://www.deseret.com/2005/2/13/19877054/holding-therapy-appears-finished (last visited Apr
11, 2023).

                                              67
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 71 of 138




this and other medical fields, as well as the general approach to scientific testing.

Appropriate testing of medical and other scientific hypothesis requires proper study

design. First, the researcher formulates a hypothesis as to whether there is a differ-

ence — a cause and effect relationship — from the studied intervention. The study

starts by assuming the “null hypothesis” — there is no difference — and then one

looks for evidence sufficient to disprove the null hypothesis. When conducting the

study, statistical significance is of central importance, for it states the likelihood that

the observation would exist if the null hypothesis were true. Only if there is a very

small likelihood that the null hypothesis is true is it generally appropriate to treat a

study as providing evidence that the null hypothesis is, in fact, false. Accordingly,

if a study finding does not reach statistical significance, it would be improper to use

the finding as a rejection of the null hypothesis.

      120. Case reports or experts’ opinions are recognized as the lowest level of

evidence. Those are based upon general experiences, not scientific testing. They can

be useful for generating novel hypotheses, which can then be tested through experi-

mental testing to establish if there are cause/effect relationships. Next up on the

pyramid of quality of evidence would be, for example, cross-sectional studies that

are done where one looks at a condition at one point in time. One can merely infer

associations from these types of studies. Randomized longitudinal studies can per-

mit, to some extent, the elimination of unrecognized variables that may distort the


                                            68
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 72 of 138




results. The highest part of the evidence-based pyramid (for individual studies) is

randomized controlled trials, in which the investigator attempts to control all aspects

of the study with the exception of the independent variable that is being tested.

When done properly, this type of study can provide strong evidence of causation.

The following illustrates this pyramid:142




         121. Since the “affirming” model of treating transgender children — as sum-

marized by the WPATH and Endocrine Society guidelines discussed above — are



142
    Image available at https://www.researchgate.net/figure/Hierarchy-of-evidence-pyramid-The-
pyramidal-shape-qualitatively-integrates-the-amount-of_fig1_311504831. For original source,
see E. A Yetley et al., Options for basing Dietary Reference Intakes (DRIs) on chronic disease
endpoints: report from a joint US-/Canadian-sponsored working group, 105 Am. J. Clin. Nutri-
tion 249S, 259S (2017).

                                             69
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 73 of 138




relatively new, long-term outcomes are unknown. Evidence presented as support

for short-term reductions in psychological distress following social transition in a

“gender-affirming” environment remains inconclusive. Multiple potential con-

founders are evident. The most notable deficiencies of existing research are the ab-

sence of proper control subjects and lack of randomization in study design.143 No

randomized control trials have been performed, and the existing longitudinal studies

have serious limitations — most significantly, that they follow cohorts of patients in

a non-controlled, unrandomized manner. This design severely limits any conclu-

sions that can be drawn.

         122. Moreover, many studies find no improvement — or negative effects —

from “affirming” care. For instance, a 2020 British study (Carmichael et al.144) found

“no evidence of change in psychological function with GnRHa treatment as indi-




143
    See P. W. Hruz, Deficiencies in Scientific Evidence for Medical Management of Gender
Dysphoria, 87 Linacre Quarterly 34 (2020).
144
    P. Carmichael et al., Short-term outcomes of pubertal suppression in a selected cohort of 12 to
15 year old young people with persistent gender dysphoria in the UK, 16 PLOS ONE e0243894,
*1, *19 (2021). The acronyms CBCL and YSR refer to Child Behavior CheckList and Youth Self-
Report, respectively. Id. at Abstract. See also H. Cass, The Cass Review, Independent review of
gender identity services for children and young people: Interim report, Feb. 2022, at 31 and n.27,
https://cass.independent-review.uk/wp-content/uploads/2022/03/Cass-Review-Interim-Report-Fi-
nal-Web-Accessible.pdf.



                                               70
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 74 of 138




cated by parent report (CBCL) or self-report (YSR) of overall problems, internalis-

ing or externalising problems or self-harm.”145 Puberty blockers used to treat chil-

dren aged 12 to 15 who had severe and persistent gender dysphoria had no significant

effect on their psychological function, thoughts of self-harm, or body image.146

However, as expected, the children experienced reduced growth in height and bone

strength by the time they finished their treatment at age 16.147

         123. The widely respected Cochrane Review examined hormonal treatment

outcomes for male-to-female transitioners over 16 years.148 They found “insuffi-

cient evidence to determine the efficacy or safety of hormonal treatment approaches

for transgender women in transition.”149 Thus, decades after the first transitioned

male-to-female patient, quality evidence for the benefit of transitioning remains

lacking.

         124. Although appropriate caution is warranted in extrapolating the out-

comes observed from prior studies with current treatments, adults who have under-




145
     P. Carmichael et al. (2020), Short-term outcomes of pubertal suppression, 16 PLOS
ONE e0243894, at *19.
146
    Id. at *18, *19.
147
    Id.
148
    See C. Haupt et al., Antiandrogen or estradiol treatment or both during hormone therapy in
transitioning transgender women, 2020 Cochrane Database of Systematic Revs., Issue 11, Art.
No. CD013138 (2020).
149
    Id. at 2.



                                             71
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 75 of 138




gone social transition with or without surgical modification of external genitalia con-

tinue to have rates of depression, anxiety, substance abuse, and suicide far above the

background population.150

         125. Given the low quality of scientific evidence currently available regard-

ing the relative risk versus benefit of gender-affirming medical interventions, exist-

ing evidence that suicidality remains markedly elevated after engaging in this thera-

peutic approach, and a general failure to directly test the benefits of psychological

intervention to alleviate suffering in people who experience sex-discordant gender

identity, before offering gender affirming care as a standard treatment there is an

ethical imperative to conduct clinical trials to assess the validity of alternate hypoth-

eses for effective treatment. Thus, contrary to the assertion of Dr. Antommaria,

clinical equipoise does indeed exist. His dismissal of randomized controlled trials

rests upon an erroneous portrayal of clinical trial design. While it may be true that

prospective research subjects would reject enrollment in a trial comparing affirma-

tive care with no care, proper discussion of the inherent risk of gender affirming

interventions, the lack of data showing long term resolution of suicidal ideation, and

the goal of alleviating dysphoria through alternate means can provide reasonable

expectation of enrolling a sufficient number of study subjects.


150
   See N. Adams et al., Varied Reports of Adult Transgender Suicidality: Synthesizing and De-
scribing the Peer-Reviewed and Gray Literature, 2 Transgender Health 60, 60-75 (2017). See also
C. Dhejne et al. (2011), Long-Term Follow-Up of Transsexual Persons, 6 PLOS ONE e16885.

                                              72
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 76 of 138




         126. The 2015 study by Costa et al.,151 cited by Dr. McNamara in her decla-

ration in a misleading manner (pages 9-11), provides preliminary evidence that psy-

chotherapy alone is associated with improved mental health. It is important to note

that in this study comparing subjects that received psychological support alone ver-

sus those who received psychological support together with pubertal blockade, both

study groups had significantly improved psychosocial function (CGAS) from base-

line. Importantly, there was no statistical difference in CGAS scores between the

two study groups throughout the study.152 With such data, it is simply bad science

to make an inference that there are meaningful differences in experimental groups

masked by lack of statistical power from low sample size. A lack of significant

difference means that one cannot reject the null hypothesis because any observed

differences could be due to random chance. Both groups had final CGAS scores in

the 61-70 range, which reflects “some difficulty in a single area but generally func-

tioning well.”153 The magnitude of difference between the CGAS scores at the end




151
    R. Costa et al., Psychological Support, Puberty Suppression, and Psychosocial Functioning in
Adolescents with Gender Dysphoria, 12 J. Sexual Med. 2206 (2015) (using the Utrecht Gender
Dysphoria Scale (UGDS) and the Children’s Global Assessment Scale (CGAS) as main outcome
measures).
152
    Id. at 2206.
153
    D. Shaffer, A Children’s Global Assessment Scale (CGAS), 40 Archs. Gen. Psychiatry 1228
(1983).



                                              73
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 77 of 138




of the study was 5 points on a 100-point scale.154 Of high interest would be an at-

tempt to replicate this study in a randomized manner to better ascertain a causal

relationship between psychotherapy and mental health.

I.       Change in Patient Population

         127. One important (and contentious) issue requiring more study is the re-

cent trend of adolescent female to male gender discordant patients. In the United

Kingdom, where centralized medical care provides data to track health care phenom-

enon, the number of adolescent girls seeking sex transitioning exploded over 4,000%

in the last decade. Similarly, in the United States, where we lack the same kinds of

centralized health care data, it has been reported that, in 2018, 2% of high school

students identified on surveys as “transgender” — this is 200 times greater response,

a 20,000% increase — over reports during past decades which showed a rate of only

.01%.155

         128. Along with this increase in transgender patients and identifiers has

come a radical and recent transformation of the patient population from early onset

males to rapid onset adolescent girls. Currently the majority of new patients with

sex-gender discordance are not males with a long, stable history of gender dysphoria



154
    R. Costa et al. (2015), Psychological Support, Puberty Suppression, and Psychological Func-
tioning, 12 J. Sexual Med. at 2212 (Table 2).
155
    See M. M. Johns et al., Transgender Identity and Experiences of Violence Victimization, Sub-
stance Use, Suicide Risk, and Sexual Risk Behaviors Among High School Students — 19 States
and Large Urban School Districts, 2017, 68 MMWR Morb. Mortal. Wkly. Rep. 67 (2019).

                                              74
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 78 of 138




since early childhood — as they were for decades, and under the Dutch protocols —

but instead adolescent females with no documented long-term history of gender dys-

phoria. One might say, as Dr. Lisa Littman has theorized,156 that these females ex-

perienced “rapid onset” transgender identification.

         129. This recent change in the typical patient raises questions about our un-

derstanding of the origins of transgender identity. For instance, a genetics or “im-

mutable” theory of transgender identity cannot explain the rapid expansion of new

gender dysphoria cases (a 4,000% to 20,000% increase), given that our genome is

simply not changing that fast. Nor can that theory explain the explosion of adoles-

cent females presenting with gender dysphoria. A “brain structures” theory has only

weak medical evidence, and it also cannot explain the rapid expansion of new gender

dysphoria cases. As for the theory that increased social acceptance is leading many

people who were transgender all along to identify as such to their medical providers,

this theory fails to explain why the rate of increase in males and older women tran-

sitioning has not kept pace with that for adolescent females. It also does not explain

why many adolescent females are found transitioning along with their “social peer

group clusters.”




156
    See L. Littman, Parent reports of adolescents and young adults perceived to show signs of a
rapid onset of gender dysphoria, 13 PLOS ONE e0202330 (2018); Erratum in L. Littman, Correc-
tion: Parent reports of adolescents and young adults perceived to show signs of a rapid onset of
gender dysphoria, 14 PLOS ONE e0214157 (2019).

                                              75
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 79 of 138




II.      Methodological Problems with “Affirming” Literature

         130. The published literature relied on to advocate for the use of puberty

blockers, cross-sex hormones, and gender-affirming surgeries in minors consists al-

most entirely of studies with major methodological limitations.157 As detailed next,

these include:

             Significant recruitment biases, including internet-based convenience
              sampling;
             Relatively small sample sizes for addressing a condition that is likely
              to be multifactorial;
             Short-term follow-up;
             Lack of randomization to different treatment arms;
             Failure to consider alternate hypotheses;
             Failure to include proper control groups;
             Reliance on cross sectional sampling that may identify associations, but
              cannot establish causal relationships between intervention and out-
              come;
             A high rate of patients lost to follow up in longitudinal analyses, which
              is relevant to questions of regret, desistance, and completed suicide;
             Biased interpretation of study findings with a goal of validating a priori
              conclusions rather than seeking evidence to disprove the null hypothe-
              sis; and
             Ignoring starkly contradictory research documenting the lack of effec-
              tiveness of “transitioning” procedures, the low quality of research in
              this area, and the ongoing contentions and disagreements over this
              highly controversial, experimental medical field.

         131. Some or all of these methodological and statistical flaws are present in

the following studies, which are commonly relied on by advocates of “affirming”

treatments. This list is not exhaustive but is rather presented to demonstrate the


157
   See generally P. W. Hruz (2020), Deficiencies in Scientific Evidence for Medical Management
of Gender Dysphoria, 87 Linacre Quarterly, at 34.

                                             76
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 80 of 138




serious scientific deficiencies in the published literature related to the care of indi-

viduals who experience sex-discordant gender identity.

         The Bränström Long-Term Treatment Outcome Study: The historic

Bränström study158 is a long-term treatment outcome research investigation testing

the effects of hormonal and surgical “transitioning” treatments on patients. Ulti-

mately, but only after the authors’ initial findings had come under public scrutiny,159

this study found no reliable benefits from these treatments.160 In addition, the study

suggested increased suicide attempts and anxiety disorders following the “gender

transitioning” treatments.161



158
    R. Bränström et al., Reduction in Mental Health Treatment Utilization Among Transgender
Individuals After Gender-Affirming Surgeries: A Total Population Study, 177 Am. J. Psychia-
try 727 (2020). See also Correction to Bränström and Pachankis, 177 Am. J. Psychiatry 734
(2020).
159
    N. H. Kalin, Reassessing Mental Health Treatment Utilization Reduction in Transgender Indi-
viduals After Gender-Affirming Surgeries: A Comment by the Editor on the Process, 177 Am. J.
Psychiatry 764 (2020) (writing on behalf of the Journal to announce a correction and an addendum
published as a result of additional research requested and undertaken in response to the criticism
of the Bränström study). See, e.g., A. Van Mol et al., Gender-Affirmation Surgery Conclusion
Lacks Evidence, 177 Am. J. Psychiatry 765 (2020) (Letter to the Editor); A. Van Mol et al., Cor-
rection: Transgender Surgery Provides No Mental Health Benefit, Public Discourse, Sept. 13,
2020, https://www.thepublicdiscourse.com/2020/09/71296/ (last visited Apr 11, 2023). See also
S. B. Levine, Reflections on the Clinician’s Role with Individuals Who Self‐identify as
Transgender, 50 Archs. Sex Behav. 3527, 3530 (2021).
160
    See A. van Mol et al. (2020), Gender-Affirmation Surgery Conclusion Lacks Evidence,
177 Am. J. Psychiatry at 765 (Letter to the Editor). See also N. H. Kalin (2020), Reassessing: A
Comment by the Editor on the Process, 177 Am. J. Psychiatry at 764; SEGM, Correction of a Key
Study: No Evidence of “Gender-Affirming” Surgeries Improving Mental Health,
https://segm.org/ajp_correction_2020 (Aug. 30, 2020).
161
    See, e.g., H. Anckarsäter et al., Methodological Shortcomings Undercut Statement in Support
of Gender-Affirming Surgery, 177 Am. J. Psychiatry 764 (2020) (Letter to the Editor); A. van Mol
et al., Gender-Affirmation Surgery Conclusion Lacks Evidence, 177 Am. J. Psychiatry 765 (2020)



                                               77
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 81 of 138




       Of note, significant research errors suggested that the authors had initially at-

tempted to manipulate and misreport the findings of the study.162 After publication

of the original article in October 2019, “letters containing questions on the statistical

methodology employed in the study led the [American Journal of Psychiatry] to seek

statistical consultations.”163 According to the Journal, “[t]he results of these consul-

tations were presented to the study authors,” who on request “reanalyzed the data.”164

That reanalysis led the authors to recant their initial misreporting, as “the results

demonstrated no advantage of surgery in relation to subsequent mood or anxiety




(Letter to the Editor); W. J. Malone et al., Calling Into Question Whether Gender-Affirming Sur-
gery Relieves Psychological Distress, 177 Am. J. Psychiatry 766 (2020) (Letter to the Editor); M.
Landén, The Effect of Gender-Affirming Treatment on Psychiatric Morbidity Is Still Undecided,
177 Am. J. Psychiatry 767, 767-68 (2020) (Letter to the Editor); A. Wold, Gender-Corrective Sur-
gery Promoting Mental Health in Persons With Gender Dysphoria Not Supported by Data Pre-
sented in Article, 177 Am. J. Psychiatry 768 (2020) (Letter to the Editor) (noting that “among the
individuals examined in the study, the risk of being hospitalized for a suicide attempt was 2.4 times
higher if they had undergone gender-corrective surgery than if they had not.”).
162
    See, e.g., H. Anckarsäter et al. (2020) Methodological Shortcomings, 177 Am. J. Psychiatry at
764-65); D. Curtis, Study of Transgender Patients: Conclusions Are Not Supported by Findings,
177 Am. J. Psychiatry 766 (2020); A. van Mol et al. (2020), Gender-Affirmation Surgery Conclu-
sion Lacks Evidence, 177 Am. J. Psychiatry at 765-66. See also A. Ring et al., Confounding Ef-
fects on Mental Health Observations After Sex Reassignment Surgery, 177 Am. J. Psychiatry 768,
768-69 (2020) (Letter to the Editor) (noting that “the same data [used in the Bränström study] may
be modeled in a way that leads to the opposite conclusion” of that reached by Bränström study.).
163
    Correction to Bränström and Pachankis, 177 Am. J. Psychiatry 734 (2020).
164
    Id.



                                                78
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 82 of 138




disorder-related health care visits or prescriptions or hospitalizations following sui-

cide attempts.”165 And the Bränström study at no point showed any advantages from

hormonal treatments in improving mental health outcomes.166

         Thus, the Bränström study is devoid of any solid indication that medical in-

terventions would objectively improve medical or mental health outcomes for

transgender persons. Furthermore, because neither the original study nor the subse-

quent correction provide any statistically significant support for hormone treatment,

the Bränström study has done nothing to close any of what the Cass Review has

described as existing “gaps in the evidence base for hormone treatment” of mi-

nors.167 Meanwhile, as discussed later in this report, several factors, including in-

creased caution among some care providers, are resulting in a profound collapse of

support for these experimental procedures across Europe, most notably in clinics

providing treatment for minors.168

         A 2011 Dutch study by De Vries et al.169 is often cited to support longitudi-

nal evidence of benefit from pubertal blockade. Although the study found slight


165
    Id.
166
    R. Bränström et al. (2020), Reduction in Mental Health Treatment Utilization, 177 Am. J. Psy-
chiatry at 727. See also D. Curtis, Study of Transgender Patients: Conclusions Are Not Supported
by Findings, 177 Am. J. Psychiatry 766 (2020) (Letter to the Editor) (stating that the Bränström
study “does not demonstrate that either hormonal treatment or surgery has any effect on this mor-
bidity.”).
167
    H. Cass (2022), The Cass Review — Interim Report, at 23.
168
    See, e.g., infra International Responses, ¶¶ 134 et seq.
169
    A. L. C. de Vries et al., Puberty Suppression in Adolescents With Gender Identity Disorder: A
Prospective Follow‐Up Study, 8 J. Sexual Med. 2276 (2011).

                                               79
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 83 of 138




improvements in mood and the risk of behavioral disorders with pubertal blockade

over baseline, the study included no control group, and all 70 participants received

ongoing psychological support. Thus, the authors were unable to determine the basis

of the limited observed improvement. The authors acknowledge that psychological

support or other reasons may have contributed to (or wholly caused) this observa-

tion. By the very nature of the trial, at best the study can provide a rationale for

doing further studies that could show whether “affirming” interventions provide a

benefit. The study does not (and cannot) answer the central question: whether the

administration of puberty blockers is the solution to the problem and whether alter-

native approaches that do not carry the same risks relative to purported benefits (e.g.,

psychological interventions) may have the same or superior benefits.

      Moreover, there remain questions about the extent to which the protocol used

in these early Dutch studies may be relevant to the patient population presenting

today. For decades transgender patients were mostly older adults or very young

boys. As noted, over the last few years, a tsunami of teenaged girls has flipped the

demographics of transgender patients — now up to 7 to 1 teen girls. The newly

presenting cases are vastly overrepresented by adolescent females, the majority of




                                          80
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 84 of 138




whom also have significant mental health problems and neurocognitive comorbidi-

ties such as autism-spectrum disorder or ADHD.170 Furthermore, estimates of gen-

der-dysphoria transgenderism are rocketing upwards from 1 in 10,000 to, in youth,

“as high as 9%.”171         This unexplained, radical transformation of patient de-

mographics raises questions about the applicability even of the limited existing lit-

erature on this issue, particularly as to the Dutch protocol. Dr. Thomas Steensma, a

prominent investigator of the Dutch protocol — the original model for transitioning

treatments — has recently noted that “[w]e don’t know whether studies we have

done in the past can still be applied to this time,”172 specifically because of the un-

explained surge in female adolescents reporting gender dysphoria. “Many more

children are registering, but also of a different type . . . Suddenly there are many

more girls applying who feel like a boy.”173 He concluded with the warning that




170
    See N. M. de Graaf et al., Reflections on emerging trends in clinical work with gender diverse
children and adolescents, 24 Clin. Child Psychol. and Psychiatry 353 (2019).
171
    See K. M. Kidd et al., Prevalence of Gender-Diverse Youth in an Urban School District, 147 Pe-
diatrics e2020049823 (2021).
172
    See B. Tetelepta, More research is urgently needed into transgender care for young people:
“Where does the large increase of children come from?,” Voorzij, Feb. 26, 2021, available at
https://www.voorzij.nl/more-research-is-urgently-needed-into-transgender-care-for-young-peo-
ple-where-does-the-large-increase-of-children-come-from/ (last visited Apr 11, 2023) (translation
from B. Tetelepta, Dringend meer onderzoek nodig naar transgenderzorg aan jongeren: ‘Waar
komt de grote stroom kinderen vandaan?,’ Algemeen Dagblad, Feb. 27, 2021, available at
https://www.ad.nl/nijmegen/dringend-meer-onderzoek-nodig-naar-transgenderzorg-aan-jon-
geren-waar-komt-de-grote-stroom-kinderen-vandaan~aec79d00/ (last visited Apr 11, 2023)).
173
    Id.



                                               81
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 85 of 138




“[w]e conduct structural research in the Netherlands. But the rest of the world is

blindly adopting our research.”174

         A 2014 follow-up study by De Vries et al.175 encompassed 55 of the original

70 patients; 15 were lost to follow-up or not included. It has the same limitations

that were present in assessing the original 2011 study, including a carefully selected

patient population that is not representative of the broader population, especially

now. Having a longer study does not obviate the limitations of the study design in

making a conclusion that can be applied to the gender clinics that are operating in

the United States.

         In addition to the concerns of the Dutch studies already exposed, “[t]he linch-

pin result of the Dutch studies is the reported resolution of gender dysphoria, as

measured by the Utrecht Gender Dysphoria Scale (UGDS).”176 Yet, as several re-

searchers (E. Abbruzzese et al.) recently explained, the observed “drop was an arti-

fact of switching the scale from ‘female’ to ‘male’ versions (and vice versa) before

and after treatment, prompting a problematic reversal in the scoring.”177 “The same




174
    Id.
175
    A. L. C. de Vries et al., Young Adult Psychological Outcome After Puberty Suppression and
Gender Reassignment, 134 Pediatrics 696 (2014).
176
    E. Abbruzzese et al., The Myth of “Reliable Research” in Pediatric Gender Medicine: A critical
evaluation of the Dutch Studies—and research that has followed, J. Sex & Marital Therapy, Jan.
2, 2023, at 1, 7-8.
177
    Id. at 1, 8.



                                               82
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 86 of 138




gender dysphoric individual, effectively answering the same question (albeit linguis-

tically inverted)” — e.g., “Every time someone treats me like a girl [or boy] I feel

hurt” — “results in either the maximum or the minimum ‘gender dysphoria’ score

— depending on which sexed version of the scale was used.”178 Thus, because re-

searchers used different scales of the UGDS before and after treatment, “it is impos-

sible to determine if [the result shows] a real difference in gender dysphoria between

groups or if this is an artifact of measurement error.”179 Indeed, if anything, “[t]he

fact that after gender reassignment, the UGDS scores were low on the opposite-sex

scale indicates that the subjects would have scored high on the natal sex scale, which

corresponds to a persistence in transgender identity.”180 This, of course, is the op-

posite result purportedly reached by the 2014 De Vries study.

         The 2018 paper by Wiepjes et al.181 is a retrospective review of records from

all patients of the Center of Expertise on Gender Dysphoria gender clinic in

Amsterdam from 1972-2015. While the study appears to report on the regret rates

among a large cohort of adolescents (812) and children (548),182 regret is only

reported for children and adolescents who had undergone gonadectomy once over



178
    Id. at 8.
179
    Id. at 9 (internal quotation and citation omitted).
180
    Id. at 10 (emphasis in original).
181
    C. M. Wiepjes et al., The Amsterdam Cohort of Gender Dysphoria Study (1972-2015): Trends
in Prevalence, Treatment, and Regrets, 15 J. Sexual Med. 582 (2018).
182
    Id. at 584 (Table 1).



                                            83
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 87 of 138




18 years of age.183 Of the adolescents, 41% started puberty suppression. Of those

who started GnRH agonists, only 2% stopped this intervention (meaning that 98%

of those who started puberty suppression progressed to cross-sex hormone

therapy).184 An additional 32%, having already completed puberty, started cross-sex

hormone therapy without use of a GnRH agonist.185 Classification of regret was

very stringent, requiring physician documentation of patient verbalized regret after

gonadectomy and start of sex-concordant hormones to treat the iatrogenic

hypogonadism.186 This means there are significant limitations to the conclusions

that can be drawn from this paper. There is no discussion in the paper regarding

adolescent regret of use of puberty blockers, cross-sex hormones, or mastectomies.

Importantly, 36% of patients were lost to follow up.187 This is notable given that

gonadectomy iatrogenically induces the pathologic state of primary hypogonadism.

Affected patients have a lifelong dependency for exogenously administered sex-

steroid hormones, and thus an acute need for ongoing follow-up. Their failure to

return to the physicians who provided gender-affirming interventions raises serious

questions about their outcome. It is reasonable to hypothesize that some may have


183
    Id. at 585, 587. See also id. at 582 (Abstract).
184
    Id. at 585 (“Of adolescents, 41.0% started PS, whereas only 1.9% of these adolescents stopped
PS and did not start HT (Table 1).”).
185
    Id.
186
    Id. at 583-84, 587 (with columns in Table 4 indicating the type of detransitions for each patient
listed and the specific reversal treatments undertaken for each patient listed).
187
    Id. at 589.



                                                84
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 88 of 138




experienced regret or completed suicide. Yet due to missing data, their fate remains

unknown. It is also significant that the average time to regret was 130 months.188

The authors themselves acknowledge that it may be too early to predict regret in

patients who started hormone therapy in the past 10 years.189

         The 2018 Olson-Kennedy et al. paper190 presents the results of a survey of

biologically female patients with male gender identity at the lead author’s institution

using a novel rating system for “chest dysphoria” created by the study authors.191

There were an equal number (68) of nonsurgical and post-surgical subjects sur-

veyed.192 Those who had undergone bilateral mastectomies were reported to have

less chest dysphoria than those who did not receive this intervention.193 Limitations

of this study include convenience sampling of nonsurgical study subjects with high

potential for selection bias, cross-sectional design, lack of validation of the primary

outcome measure, and short follow-up time (about 2 years). Test validation is par-

ticularly relevant in assessing adolescent questionnaires due to a variety of cognitive




188
    Id. at 589.
189
    Id. at 589.
190
    J. Olson-Kennedy et al., Chest Reconstruction and Chest Dysphoria in Transmasculine Minors
and Young Adults: Comparisons of Nonsurgical and Postsurgical Cohorts, 172 JAMA Pediat-
rics 431 (2018).
191
    Id. at 432.
192
    Id. at 431.
193
    Id. at 431 (Abstract).



                                             85
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 89 of 138




and situational factors in this population.194 Rigorous validation methods have been

previously used in several other established questionnaires addressing adolescent

self-perception.195 As previously noted, this study cannot provide information about

a causal relationship between the intervention and outcomes observed.

         A 2019 study by Allen et al.196 considered suicidality after cross-sex hor-

mones. It was limited by a very small patient population (47), had no control group,

had a short follow-up period (mean < 1 year), and again ignored that patients receiv-

ing the interventions also received psychological support.

         A 2019-2020 study by Turban et al. in JAMA Psychiatry197 aimed to con-

sider “recalled exposure to gender identity conversion efforts [GICE] (ie, psycho-

logical interventions that attempt to change one’s gender identity from transgender

to cisgender) associated with adverse mental health outcomes in adulthood.”198

However, this paper has been repeatedly and pointedly criticized for a number of




194
    See N. D. Brener et al., Assessment of factors affecting the validity of self-reported health-risk
behavior among adolescents: evidence from the scientific literature, 33 J. Adolesc. Health 436
(2003).
195
    See N. Palenzuela-Luis et al., Questionnaires Assessing Adolescents’ Self-Concept, Self-Per-
ception, Physical Activity and Lifestyle: A Systematic Review, 9 Children 91 (2022).
196
    L. R. Allen et al., Well-being and suicidality among transgender youth after gender-affirming
hormones, 7 Clin. Practice in Pediatric Psychol. 302 (2019).
197
    J. L. Turban et al., Association Between Recalled Exposure to Gender Identity Conversion
Efforts and Psychological Distress and Suicide Attempts Among Transgender Adults, 77 JAMA
Psychiatry 68 (2020) (originally posted online on September 11, 2019).
198
    Id. at 68.



                                                 86
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 90 of 138




improper extrapolations and serious methodological defects,199 several of which

stem from its reliance on flawed data from the 2015 U.S. Transgender Survey

(USTS).200

         The USTS was an anonymous online survey conducted in the summer of

2015201 and “is the largest survey examining the experiences of transgender people

in the United States, with 27,715 respondents.”202 Anonymous surveys are not rig-

orous sources of evidence, and the data from this survey are compromised by nu-

merous biases and irregularities. The 2015 USTS Report and Executive Summary




199
    See, e.g., D’Angelo et al. (2021), One Size Does Not Fit All, 50 Archs. Sex. Behav., at 7; R.
Byng et al., Misinterpretation of the findings of this study may limit safe, ethical treatment options
for gender-questioning and gender-diverse people, Comment on J. L. Turban et al., Association
Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and
Suicide Attempts Among Transgender Adults, 77 JAMA Psychiatry 68 (2020), Comment posted
on Oct. 8, 2019, available at https://jamanetwork.com/journals/jamapsychiatry/fullarti-
cle/2749479; H. Horvath, A deeply flawed analysis, Comment on J. L. Turban et al., Association
Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and
Suicide Attempts Among Transgender Adults, 77 JAMA Psychiatry 68 (2020), Comment posted
on Oct. 6, 2019, available at https://jamanetwork.com/journals/jamapsychiatry/fullarti-
cle/2749479; J. Mason, Not all therapy is conversion therapy, Comment on J. L. Turban et al.,
Association Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological
Distress and Suicide Attempts Among Transgender Adults, 77 JAMA Psychiatry 68 (2020), Com-
ment posted on Sept. 27, 2019, available at https://jamanetwork.com/journals/jamapsychia-
try/fullarticle/2749479. These three Comments on Turban’s article at JAMA Psychiatry, the com-
ments by Byng et al., H. Horvath, and J. Mason, shall collectively be referred to as “Three Com-
ments on J. L. Turban, Associations (2019-2020), at 77 JAMA Psychiatry 68.”
200
    2015 U.S. Transgender Survey Report, 2022 U.S. Trans Survey, https://www.ustranssur-
vey.org/reports (last visited Apr 25, 2023).
201
    S. E. James et al., The Report of the 2015 U.S. Transgender Survey, 4, Washington, DC: Na-
tional Center for Transgender Equality (2016), available at https://transequality.org/sites/de-
fault/files/docs/usts/USTS-Full-Report-Dec17.pdf (last visited Apr. 25, 2023) (“USTS 2015 Re-
port”).
202
    Id.



                                                 87
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 91 of 138




were published by the National Coalition for Transgender Equality (NCTE).203 Sev-

eral authors of the USTS Report have been actively involved in policy work and

legal advocacy at both the state and federal level, and in legislatures and courts.204

More broadly, the USTS is currently supported by a coalition including several trans

advocacy groups that, like the NCTE, are active in the realm of public policy.205 In

2022, the USTS conducted another survey in partnership with several other trans

advocacy organizations, and results are expected to be released later in 2023.206 The

current homepage for the USTS describes the 2022 survey as “the largest survey of

trans people, by trans people, in the United States.”207

         The Turban et al. 2019-2020 JAMA Psychiatry study relying on the USTS

survey tool has been criticized on account of several limitations and weaknesses of




203
    S. E. James et al., USTS 2015 Report; S. E. James et al., Executive Summary of the Report of
the 2015 U.S. Transgender Survey, 16, Washington, DC: National Center for Transgender Equal-
ity (2016), available at https://transequality.org/sites/default/files/docs/usts/USTS-Executive-
Summary-Dec17.pdf (last visited Apr. 25, 2023).
204
    S.E. James et al. (2015), USTS 2015 Report, at 241-42.
205
    See 2022 U.S. Trans Survey, USTS Homepage (featuring logos from and hyperlinks to BTAC,
the Black Trans Advocacy Coalition; the TransLatin@ Coalition; and NQAPIA, the National
Queer Asian Pacific Islander Alliance).
206
    2022 U.S. Trans Survey, 2022 U.S. Trans Survey, https://www.ustranssurvey.org (last visited
Apr 25, 2023) (USTS Homepage); FAQ’s, 2022 U.S. Trans Survey, https://www.ustranssur-
vey.org/faq (last visited Apr 28, 2023) (Who Conducts the USTS?).
207
    Id.



                                              88
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 92 of 138




that survey tool — and resulting data — such as convenience sampling208 and re-

cruitment of patients through transgender advocacy organizations.209 Furthermore,

the USTS “sampling method’s inadequacy”210 renders it highly unlikely that the sur-

vey tool (and thus the Turban 2019-2020 study data) captures or adequately accounts

for populations integral to this study and its conclusions, such as “the population

whose earlier gender dysphoria was alleviated through cognitive behavioral therapy

or other standard approaches,”211 or “individuals exposed to GICE who subsequently

adopted a gender identity concordant with their biological sex.”212 Another crucial

defect is the failure of Turban et al. to “control for comorbid psychiatric illness, the

greatest single predictor of suicidality.”213

         In their comment, Byng et al. concluded:

         [T]he authors underplay the serious methodological weaknesses, par-
         ticularly the likely confounding effects of co-existing mental health



208
    See, e.g., Three Comments on J. L. Turban, Associations (2019-2020), at 77 JAMA Psychiatry
68.
209
    Three Comments on J. L. Turban, Associations (2019-2020), at 77 JAMA Psychiatry 68.
210
    H. Horvath, A deeply flawed analysis, Comment on J. L. Turban et al. (2019-2020), 77 JAMA
Psychiatry 68.
211
    Id.
212
    R. Byng et al., Misinterpretation of the findings, Comment on J.T. Turban et al. (2019-2020),
77 JAMA Psychiatry at 68.
213
    R. Byng et al., Misinterpretation of the findings, Comment on J.T. Turban et al. (2019-2020),
77 JAMA Psychiatry at 68. See also J. Mason, Not all therapy is conversion therapy, Comment
on J. L. Turban et al. (2019-2020), 77 JAMA Psychiatry 68 (“Turban et al allowed a number of
study limitations — including convenience sampling and failure to control for mental illness, a
key predictor of suicidality — which should make any savvy reader wary of accepting the study
conclusions about the harms of therapy aimed at alleviating GD.”).



                                               89
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 93 of 138




         problems. They then take this association and in the abstract and con-
         clusion seek to imply causation. Hence, the findings could mislead
         frontline clinicians and public policymakers alike. 214

         D’Angelo et al.,215 in their response to the Turban et al. 2019-2020 JAMA

Psychiatry study, highlighted further limitations of the USTS survey tool.216 These

include demand bias (i.e., the good subject effect217), a high number of respondents

who reported having not transitioned medically or socially (and reported no desire

to do so in the future), and several data irregularities.218 One notable data irregularity

was that a high number of USTS respondents reported that their age was exactly 18

years.219 Another was that “information about treatments received does not appear

to be accurate, as a number of [USTS] respondents reported the initiation of puberty

blockers after the age of 18 years, which is highly improbable.”220 These irregular-

ities raise serious questions about the reliability of the USTS data and therefore the

reliability of conclusions based on that data.221 Because the 2019-2020 Turban study


214
    R. Byng et al., Misinterpretation of the findings, Comment on J.T. Turban et al. (2019-2020),
77 JAMA Psychiatry at 68. See also H. Horvath, A deeply flawed analysis, Comment on J.T.
Turban et al. (2019-2020), 77 JAMA Psychiatry at 68 (“It is surprising that so eminent a scholar
as Dr. Turban did not perceive the methodological errors to which he was evidently susceptible in
preparing his recent analysis of suicidality in transgender persons.”).
215
    Id.
216
    Id. at 7. See J. L. Turban et al., Association Between Recalled Exposure to Gender Identity
Conversion Efforts and Psychological Distress and Suicide Attempts Among Transgender Adults,
77 JAMA Psychiatry 68 (2020).
217
    A. L. Nichols et al., The Good-Subject Effect: Investigating Participant Demand Characteris-
tics, 135 J. Gen. Psychol. 151 (2008).
218
    R. D’Angelo et al. (2021), One Size Does Not Fit All, 50 Archs. Sex. Behav., at 8.
219
    Id.
220
    Id. at 8 (internal citation omitted).
221
    See generally id. at 7-16.

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      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 94 of 138




in JAMA Psychiatry is founded on a data set from an anonymous survey replete with

flaws such as bias and convenience sampling, and because the study fails to control

for multiple population gaps in the survey data and multiple key variables (such as

co-morbid psychological illness), its conclusions are unreliable and potentially mis-

leading.

         Additional flaws and limitations of the USTS 2015 Survey data are set forth

below in this report’s summaries of the Turban et al. 2020 Pediatrics study, the

Almazan et al. 2021 study, and the 2022 Turban et al. study, all papers which relied

substantially on the USTS data.222

         Another 2020 study by Turban et al. in Pediatrics223 is often cited as proof

that pubertal blockade prevents suicide in transgender youth. But this study also

used the same unreliable, biased sampling methodology, the 2015 USTS.224 As

stated in the paper, the authors considered “a cross-sectional online survey of 20,619




222
    See infra discussion of the 2022 Turban et al. study. Also, further caution is warranted in
evaluating the literature as the flawed data from the 2015 USTS may appear in other studies, in-
cluding studies that have yet to be published. Upon request, the USTS makes the raw data from
the 2015 survey available to researchers through the Inter-University Consortium for Political and
Social Research (ICPSR). See Data Requests, 2022 U.S. Trans Survey, https://www.ustranssur-
vey.org/data-requests (last visited Apr 25, 2023). See also ICPSR, 2015 U.S. Transgender Survey
(USTS)          (ICPSR         37229),       Version        Date:      May        22,       2019,
https://www.icpsr.umich.edu/web/RCMD/studies/37229 (last visited Apr. 29, 2023).
223
    J. L. Turban et al., Pubertal Suppression for Transgender Youth and Risk of Suicidal Ideation,
145 Pediatrics e20191725 (2020). See also Erratum for TURBAN 2019-1725, 147 Pediat-
rics e2020049767 (2021).
224
    Id. at *2-*3 and n.6.



                                               91
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 95 of 138




transgender adults aged 18 to 36 years” from the 2015 U.S. Transgender Survey.225

In addition to the defects in the 2015 USTS anonymous online survey discussed

above, there is no evidence of study subject identities, no way to assess for potential

false subjects, and no medical diagnosis for entry into the survey. Also, the patient

sample was compromised by ascertainment bias.226 It is impossible for deceased

persons, including those who have succumbed to suicide, to respond to an online

survey necessary for their inclusion into the data set. No causation can be deter-

mined from this retrospective, cross-sectional design. Furthermore, the study appar-

ently failed to even assess individuals who may have desisted or regretted transi-

tions.227 Thus, the study “does not include outcomes for people who may have ini-

tiated pubertal suppression and subsequently no longer identify as transgender.”228

         Turban’s misleading claim of lower suicidal ideation for treated patients is

based upon “lifetime suicidality.”229 It fails to recognize or acknowledge that the

decision to provide puberty blockers was likely influenced by the mental health of




225
    Id. at *1, *2-*3.
226
     P. W. Hruz, Suicidality in Gender Dysphoric Youth Offered Pubertal Blockade Remains
Alarmingly High, Comment on Comment on J. L. Turban, Pubertal Suppression for Transgender
Youth and Risk of Suicidal Ideation, 145 Pediatrics e20191725, Comment published on Jan. 26,
2020, available at https://publications.aap.org/pediatrics/article/145/2/e20191725/68259/Pubertal-
Suppression-for-Transgender-Youth-and?autologincheck=redirected (last visited April 24, 2023).
227
    J. L. Turban et al. (2020), Pubertal Suppression, 145 Pediatrics e20191725, at *1-*8.
228
    Id. at *7.
229
    Id. at *4.



                                               92
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 96 of 138




the subjects at the time of presentation.230 Specifically, the most seriously mentally

ill patients would have been denied puberty blockers.231 The study can only be un-

derstood in light of these limitations and confounding issues.

         According to the study, those who received treatment with pubertal suppres-

sion, when compared with those who wanted pubertal suppression but did not re-

ceive it, had lower odds of lifetime suicidal ideation (adjusted odds ratio = 0.3; 95%

confidence interval = 0.2-0.6).232 In Table 3 of the paper, under “Suicidality (past

12 months)” reductions for suppressed group versus non-suppressed were seen for

ideation (50.6% v 64.8%) and “ideation with plan” (55.6% v 58.2%).233 However,

it is important to note that differences in suicidal “ideation with plan and suicide

attempt” and “attempt resulting for inpatient care” did not reach statistical signifi-

cance.234 When discussing the results of their study, the authors fail to mention this

lack of statistical significance in two of the most serious measures and, instead, ref-




230
    M. Biggs, Comment on J. L. Turban, Pubertal Suppression for Transgender Youth and Risk of
Suicidal Ideation, 145 Pediatrics e20191725, Comment published on Jan. 30, 2020, available at
https://publications.aap.org/pediatrics/article/145/2/e20191725/68259/Pubertal-Suppression-for-
Transgender-Youth-and?autologincheck=redirected (last visited April 24, 2023).
231
    Id.
232
    J. L. Turban et al. (2020), Pubertal Suppression, 145 Pediatrics e20191725, at *1.
233
    Id. at *5.
234
    Id. at *5 and Table 2 (indicated by lack of an asterisks next to the P column for the Univariate
Analyses). See also use of the asterisks in Table 1, at *4.



                                                93
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 97 of 138




erence only suicidal ideation. It would be reasonable to be concerned from an ob-

servation of over 40% attempted suicide in the treated group that the intervention

was unsuccessful in improving health.235

         Thus, much like the previously discussed Turban et al. 2019-2020 JAMA Psy-

chiatry study, this Turban et al. 2020 Pediatrics study is severely compromised by

unsound methodology, flawed and biased data from the 2015 USTS, and improper

or weak extrapolations.

         A 2020 study by Van der Miesen et al.236 was a cross-sectional Dutch study

that measured some patients who received puberty blockers and some who did not.

The study had three populations of subjects: One was patients presenting to the gen-

der clinic who had not received any intervention, the second was patients who had

received puberty blocker, and the third was adolescents from the general popula-

tion.237 Because of this study’s cross-sectional nature, it cannot establish a causal



235
    See generally M. Biggs, Comment on J. L. Turban, Pubertal Suppression for Transgender Youth
and Risk of Suicidal Ideation, 145 Pediatrics e20191725, Comment published on Jan. 30, 2020,
available at https://publications.aap.org/pediatrics/article/145/2/e20191725/68259/Pubertal-Sup-
pression-for-Transgender-Youth-and?autologincheck=redirected (last visited April 24, 2023), and
the multiple Letters to the Editor that criticized the multiple methodological errors in this study,
https://pediatrics.aappublications.org/content/145/2/e20191725/tab-e-letters#re-pubertal-suppres-
sion-for-transgender-youth-and-risk-of-suicidal-ideation. See also M. Biggs, Puberty Blockers
and Suicidality in Adolescents Suffering from Gender Dysphoria, 49 Archs. Sex. Behav. 2227
(2020).
236
    A. I. R. van der Miesen et al., Psychological Functioning in Transgender Adolescents Before
and After Gender-Affirmative Care Compared With Cisgender General Population Peers,
66 J. Adolesc. Health 699 (2020).
237
    Id. at 700.



                                                94
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 98 of 138




relationship between intervention and effect. It also represents a non-probability

sample with potential for significant biases in subject recruitment. In addition, the

subjects assessed before and after treatment are different populations. Among the

differences between these groups is patient age (mean of 14.5 and 16.8 years before

and after treatment, respectively).238 This two-year age difference is important as

developmental progress during adolescence is known to influence psychological

well-being.239 There was also the same limitation noted in the 2011 de Vries study,

that the treated population also received psychological support.240

         A 2021 study by Bustos et al.241 attempts to provide a systematic review of

27 observational or interventional studies that report on regret or detransition fol-

lowing gender-transition surgeries. A total of 7,928 subjects were included in their

meta-analysis.242 The authors concluded that only 1% or less of those who had gen-

der-transition surgeries expressed regret.243 It is important to understand the serious



238
    Id.
239
     J. He et al., Meta-analysis of gender differences in body appreciation, 33 Body Image 90
(2020).
240
    A. I. R. van der Miesen et al. (2020), Psychological Functioning, 66 J. Adolesc. Health, at 703.
241
    V. P. Bustos et al., Regret after Gender-affirmation Surgery: A Systematic Review and Meta-
analysis of Prevalence, 9 Plastic and Reconstructive Surg. – Global Open e3477 (2021); Regret
after Gender-affirmation Surgery: A Systematic Review and Meta-analysis of Prevalence—Erra-
tum, 10 Plastic and Reconstructive Surg. – Global Open e4340 (2022) (“The systematic review
was re-conducted, and the meta-analysis was re-run with the updated numbers with no significant
or major changes. The updated tables and figures are included below.”).0
242
    V. P. Bustos et al. (2021), Regret after Gender-affirmation Surgery, 9 Plastic and Reconstruc-
tive Surg. – Global Open e3477, at *1.
243
    Id.



                                                95
      Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 99 of 138




methodological limitations and high risk of bias contained within this study’s anal-

ysis.244 This includes failure to include major relevant studies addressing this ques-

tion,245 inaccurate analysis within one of the studies considered,246 and the general

lack of controlled studies, incomplete and generally short-term follow-up, large

numbers of lost subjects, and lack of valid assessment measures in the published

literature addressing this question.247 As noted by Expósito-Campos and D’Angelo

(2021), moderate to high risk of bias was present in 23 of the 27 studies included in

the analysis.248 Furthermore, 97% of subjects analyzed were found within studies

deemed to be of fair to poor scientific quality.249 Thus, this study cannot be used as

strong support for the contention that regret is rare.

         The 2021 study by Narayan et al.250 examines anonymous survey results

from 154 surgeons affiliated with WPATH. The response rate for this survey was




244
    See P. Expósito-Campos et al., Letter to the Editor: Regret after Gender-affirmation Surgery:
A Systematic Review and Meta-analysis of Prevalence, 9 Plastic and Reconstructive Surg. –
Global Open e3951 (2021).
245
    Id. See, e.g., C. Dhejne et al., An Analysis of All Applications for Sex Reassignment Surgery
in Sweden, 1960-2010: Prevalence, Incidence, and Regrets, 43 Archs. Sex. Behav. 1535 (2014).
246
    C. M. Wiepjes et al., The Amsterdam Cohort of Gender Dysphoria Study (1972-2015): Trends
in Prevalence, Treatment, and Regrets, 15 J. Sexual Med. 582 (2018).
247
    P. Expósito-Campos et al. (2021), Letter to the Editor regarding Bustos et al., Regret after
Gender-affirmation Surgery, (2021), 9 Plastic and Reconstructive Surg., at *1.
248
    Id.
249
    Id.
250
    S. K. Narayan et al., Guiding the conversation—types of regret after gender-affirming surgery
and their associated etiologies, 9 Annals of Translational Med. 605 (2021).



                                               96
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 100 of 138




30%.251 Of the respondents, 57% had encountered patients with surgical regret.252

It is important to recognize that this study was specifically directed toward patients

who had undergone surgical transition. Acknowledged biases of this study include

selection bias, recall bias, and response bias.253 This type of study cannot accurately

identify the prevalence in the transgender population as a whole, and is particularly

limited in the ability to assess potential for regret in the pediatric population.

      The 2021 Almazan et al. study is “a secondary analysis of data from the 2015

US Transgender Survey” (USTS).254 As a secondary analysis that is entirely reliant

on the highly flawed and bias 2015 USTS data set, this study is subject to the result-

ing deficiencies already discussed above in the summaries of the 2019-2020 Turban

et al. JAMA Psychiatry study and the 2020 Turban et al. Pediatrics study.

      In addition, the Almazan study itself has come under even more direct cri-

tique. In a Comment in response to the study, D. Curtis noted that the two groups

the study compared are too dissimilar to one another to draw meaningful conclusions




251
    Id.
252
    Id.
253
    Id. at 9.
254
    A. N. Almazan et al., Association Between Gender-Affirming Surgeries and Mental Health
Outcomes, 156 JAMA Surg. 611 (2021).



                                           97
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 101 of 138




and that the authors failed to adequately highlight the magnitude of several differ-

ences.255 Curtis lists a number of these differences — including significant differ-

ences in age, education (degree-status), employment status, gender identification,

household income, and sexual orientation. — and then concludes:

       The two groups are so radically different that we really cannot assume
       that the multivariate analyses carried out allow us to conclude that dif-
       ferences in psychopathology are likely the result of surgical interven-
       tion. . . . We cannot agree that the results provide strong evidence that
       gender-affirming surgery is causally associated with improved mental
       health outcomes.256

In short, the Almazan study is discredited by both unreliable data and improper com-

parisons.

       The 2022 Van der Loos study257 is a Dutch cohort study that investigates the

continuation rate of gender affirming interventions in people who began puberty

blockers and gender affirming hormones during adolescence. The authors claim that

the study provides evidence against desistance after receiving gender-affirming hor-

mones. While the paper gives the impression that subjects represent a period of




255
    D. Curtis, Unrecognized confounding may explain differences in mental health outcomes, Com-
ment on A. N. Almazan et al., Association Between Gender-Affirming Surgeries and Mental
Health Outcomes, 156 JAMA Surg. 611 (2021), available at https://jamanetwork.com/journals/ja-
masurgery/fullarticle/2779429.
256
    Id.
257
    M. A. T. C. van der Loos et al. (2022), Continuation of gender-affirming hormones in
transgender people starting puberty suppression in adolescence, 6 Lancet Child & Adolesc. Health
at 869-75.



                                              98
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 102 of 138




study extending from 1972 to 2018, the majority of subjects recently started hor-

mone interventions. The length of time for follow-up (mean of 3.5 years for males

and 2.3 years for females) and the average age at follow-up (20.2 years for males

and 19.3 years for females) are inadequate to support the authors’ claim. Notably,

research from these same investigators has suggested that the average time to de-

transition is over 10 years.258 Thus, it would be necessary for the study to assess

patients at least a decade after starting gender-affirming hormones to make any

meaningful conclusions on desistance. Furthermore, as a retrospective cohort study

without a control group, the study design cannot determine the effect of gender af-

firming therapy on whether the intervention influences the rate of desistance that

would have occurred without the provision of gender-affirming hormones.

       The 2022 Nos et al. study259 is a retrospective cohort study that reports on the

likelihood of starting on gender-affirming hormones (GAH) based upon whether or

not subjects were treated with puberty blockers. While the title and abstract give the

impression that puberty blocker use is not linked to subsequent GAH, the data fail

to support this conclusion. Since nearly all of the patients in this study who did not

receive GnRHa were given GAH, it is not possible to determine whether GnRHa



258
    C. M. Wiepjes et al. (2018), The Amsterdam Cohort of Gender Dysphoria Study (1972-2015),
15 J. Sexual Med., at 582-90.
259
    A. L. Nos et al., Association of Gonadotropin-Releasing Hormone Analogue Use With Subse-
quent Use of Gender-Affirming Hormones Among Transgender Adolescents, 5 JAMA Netw.
Open e2239758 (2022).

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  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 103 of 138




could increase this outcome. The comparison groups differed by age at time of ini-

tial presentation (age 10-13 years versus 14-17 years). GnRHa use was higher

among the younger patients owing to the fact that they had not completed puberty at

the time of first visit. A lag in progression to GAH use in this group is heavily

influenced by the difference in age at time of initial presentation. The older group

was eligible to start GAH at the time of study entry while those in the younger group

were not. When adjusted for age, the rates of progression to GAH use is nearly

identical. Importantly, among the patients who received GnRHa, 94% (64 out of

70) went on to take gender affirming hormones. Thus, the study further confirms

that, rather than serving as a “pause button” for gender dysphoric adolescents,

GnRHa use is an intervention that will lead to progression to gender affirming hor-

mones.

      The 2022 Green at al. study260 purported to measure suicide attempts and

access to cross-sex hormones. Though this study had a large cohort of patients,261 it

suffered many biases in patient recruitment — which was done over the Internet262

and provided a cross-sectional analysis263 which can, at best, demonstrate correlation

but not causation. Similar to other studies, it did not assess the effect of psychiatric


260
     A. E. Green et al., Association of Gender-Affirming Hormone Therapy With Depression,
Thoughts of Suicide, and Attempted Suicide Among Transgender and Nonbinary Youth, 70 J. Ad-
olesc. Health 643 (2022).
261
    Id. at 644.
262
    Id.
263
    Id. at 647.

                                           100
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 104 of 138




medications or psychotherapy on outcomes. It also failed to include variables to

assess at what age youth began puberty blockers or the duration which they had

received gender-affirming hormones.

       The 2022 Turban et al. study264 is a retrospective cross-sectional investiga-

tion to assess whether there is an association between adolescent access to gender-

affirming hormones and mental health. By nature of its retrospective cross-sectional

design, the study is not able to make any conclusions regarding a causal relationship

between GAH access and mental health. Like the Almazan et al. study and the two

prior studies from Turban discussed above, this 2022 Turban study rests entirely on

data from the USTS265 and therefore suffers from similar defects.266 Caution is war-

ranted in evaluating any and all studies that either use or conduct further analysis of

the USTS data because those studies would naturally be subject to any limitations,

flaws, biases, irregularities, or anomalies in this source data.

       The authors of the Turban 2022 study claim that there is an association be-

tween getting gender-affirming hormones and favorable mental health outcomes

compared to those who desired but did not receive this intervention.267 However,


264
    J. L. Turban et al., Access to gender-affirming hormones during adolescence and mental health
outcomes among transgender adults, 17 PLOS ONE e0261039 (2022).
265
    Id. at *3.
266
    See supra discussion of Alamazan et al., USTS, R. D’Angelo et al, and D. Curtis comment on
Almazan et al.
267
    J. L. Turban et al. (2022), Access to gender-affirming hormones, 17 PLOS ONE e0261039, at
*1, *1.



                                              101
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 105 of 138




since the methodology used is similar to the author’s 2020 study on the effects of

access to puberty blockers on lifetime suicidality, already discussed above, and used

the same 2015 U.S. Transgender Survey (USTS), it is subject to all of the associated

limitations and biases.268         Participants in the USTS were recruited through

transgender advocacy organizations and subjects were asked to “pledge” to promote

the survey among friends and family.269 Thus, there are serious concerns of selection

bias.270 It also suffers from recall bias271 and an inability to verify the veracity of the

claims of treatments given to the study respondents.

       Review of the data contained within the paper leads to conclusions that are far

different than those stated by the study authors regarding mental health of the study

participants. While the odds ratio for past-year suicidal ideation was statistically

different between those who did and those who did not get GAH, there was no dif-

ference in those who had a suicide plan, actually attempted suicide, or were hospi-

talized for a suicide attempt.272 This is important since the rationale for accepting

the attendant risks of gender-affirming hormones is to prevent suicide. As pointed



268
    R. D’Angelo et al. (2021), One Size Does Not Fit All, 50 Archs. Sex. Behav. at 7-16.
269
    Id. at 8.
270
    S. Tyrer et al., Sampling in epidemiological research: issues, hazards and pitfalls, 40 BJPsych
Bull. 57 (2016).
271
    See generally S. S. Coughlin, Recall bias in epidemiologic studies, 43 J. Clin. Epidemiol. 87
(1990).
272
    J. L. Turban et al. (2022), Access to gender-affirming hormones, 17 PLOS ONE e0261039, at
*5-*8 (“We detected no difference for other mental health variables measured.”).



                                               102
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 106 of 138




out by Michael Biggs in a commentary on this article,273 the data presented in this

study negate the purported significance of effects of puberty blocker access on men-

tal health as reported in Turban’s 2020 Pediatrics article. As with many of the other

studies considered in this report, the Turban et al. 2022 study is also discredited both

by deficient data-sampling techniques and by flawed reasoning and unsound meth-

odology overall.

       The 2022 Tordoff study274 is a prospective observational cohort study that

assessed the mental health of patients presenting to the Seattle Children’s gender

clinic over a one-year period of follow-up. The authors claimed that access to

gender-affirming care had significantly improved mental health with lower odds ra-

tios of depression and suicidality. This purported finding was widely publicized by

the University of Washington and was featured on several news media sites.275 A


273
    M. Biggs, Estrogen is associated with greater suicidality among transgender males, and puberty
suppression is not associated with better mental health outcomes for either sex, Comment on J. L.
Turban et al., Access to gender-affirming hormones during adolescence and mental health out-
comes among transgender adults, 17 PLOS ONE e0261039 (2022), Comment posted on Jan. 19,
2022, available at https://journals.plos.org/plosone/article/comment?id=10.1371/annota-
tion/dcc6a58e-592a-49d4-9b65-ff65df2aa8f6 (“Conversely, a previous article by Turban et al.
claimed to find a positive association between puberty suppression (using a Gonadotropin-Releas-
ing Hormone agonist) and mental health--but this did not control for cross-sex hormones.” (citing
J. L. Turban et al. 2020, Pubertal suppression, 145 Pediatrics e20191725)).
274
    D. M. Tordoff et al., Mental Health Outcomes in Transgender and Nonbinary Youths Receiving
Gender-Affirming Care, 5 JAMA Netw. Open e220978 (2022). For errata, see Data Errors in eTa-
bles 2 and 3, 5 JAMA Netw. Open e2229031 (2022).
275
    See, e.g., Teens who received gender-affirming care had 60% lower odds of depression, UW
study finds, king5.com, Published Mar. 12, 2022, Updated Sept. 7, 2022,
https://www.king5.com/article/news/health/gender-affirming-care-reduces-depression-univer-
sity-of-washington-study-transgender-nonbinary/281-bcfece1b-a7cb-4c95-80d0-3f02c597d783



                                              103
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 107 of 138




detailed critique of the paper’s data and flawed conclusions has been posted

online.276 Contrary to the authors’ claims, data contained in the paper did not show

improvement in mental health over the one-year study period. At entry into the

study, 57% of the subjects who reported receiving treatment with puberty blockers

or gender-affirming hormones (PB/GAH) had moderate to severe depression.277 At

the end of the study, 56% of the subjects who reported receiving PB/GAH had mod-

erate to severe depression.278 Rates for moderate to severe anxiety were 57% and

51% at baseline and 12 months, respectively, for subjects who reported receiving

PB/GAH.279 Self-harm or suicidal thoughts were 43% and 37% at baseline and 12

months, respectively for subjects who reported receiving PB/GAH.280 These are

alarmingly high numbers for an intervention that is touted to be lifesaving. J. Singal

notes that “[a]mong the kids who went on hormones, there isn’t genuine statistical




(last visited Apr 30, 2023); Medical treatments cut risks for depression, suicide among transgender
youth, UPI, https://www.upi.com/Health_News/2022/03/01/medical-treatments-transgender-
youth/3211646078081/ (last visited Apr 30, 2023).
276
    See J. Singal, Researchers Found Puberty Blockers And Hormones Didn’t Improve Trans Kids’
Mental Health At Their Clinic. Then They Published A Study Claiming The Opposite. (Up-
dated), Singal-Minded (Apr. 6, 2022), https://jessesingal.substack.com/p/researchers-found-pu-
berty-blockers (last visited Apr 13, 2023). See also Jesse Singal, Authors, Macmillan,
https://us.macmillan.com/author/jessesingal (last visited Apr 30, 2023).
277
    D. M. Tordoff et al. (2022), Mental Health Outcomes, 5 JAMA Netw. Open e220978, at Online
Supplementary Materials (Tordoff Supplement) and eTable 3 (at *4).
278
    Id.
279
    Id.
280
    Id.



                                               104
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 108 of 138




improvement here from baseline to the final wave of data collection.281 Singal

contacted one of the authors to ask about the data in eTable 3 and to confirm that

there was, in fact, no improvement within the group of participants that had received

puberty-blocking or hormonal interventions. Singal writes:

       [The authors] reference “improvements” twice . . . but offer no statisti-
       cal demonstration anywhere in the paper or the supplemental material.
       I wanted to double-check this to be sure, so I reached out to one of the
       study authors. They wanted to stay on background, but they confirmed
       to me that there was no improvement over time among the kids who
       went on hormones or blockers.282

The reported statistical difference in odds ratios were comparisons between those

who started on puberty blockers and cross-sex hormones and those who did not re-

ceive hormones. Importantly, there was a marked difference in the number of drop-

out subjects in the treated and non-treated groups (17.4% versus 80%, respec-

tively).283 It is reasonable to speculate that the small number of subjects who re-

mained in the study but did not receive hormones had significant co-morbidities that


281
    J. Singal (2022), Research Found Puberty Blockers And Hormones Didn’t Improve Trans Kids’
Mental Health, https://jessesingal.substack.com/p/researchers-found-puberty-blockers (last visited
Apr 30, 2023).
282
    J. Singal (2022), Research Found Puberty Blockers And Hormones Didn’t Improve Trans Kids’
Mental Health, https://jessesingal.substack.com/p/researchers-found-puberty-blockers (last visited
Apr 30, 2023) (linking at the phrase “on background” to J. Bender et al., Levels of Attribution, in
J. Bender et al., Writing & Reporting for the Media, 11th ed., Oxford University Press (2016),
available       at    https://global.oup.com/us/companion.websites/9780190200886/student/chap-
ter10/gline/level/#:~:text=%E2%80%9COn%20background%2C%E2%80%9D%20
which%20is,the%20source%20by%20her%20position. (last visited May 1, 2023)).
283
    D. M. Tordoff et al. (2022), Mental Health Outcomes, 5 JAMA Netw. Open e220978, at 1, and
Tordoff Supplement at eTable2 (*4), eTable3 (*4). See also J. Singal (2022), Research Found
Puberty Blockers And Hormones Didn’t Improve Trans Kids’ Mental Health, at nn.3-4.



                                               105
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 109 of 138




prevented them from accessing this intervention. In any event, the actual data from

this study demonstrates that access to puberty blockers and gender affirming hor-

mones did not improve mental health over the first year of treatment. This is drasti-

cally different from what the authors and the media claimed.

       The 2023 Chen et al. study284 is a longitudinal observational study of patients

receiving care at four gender centers in the United States. The primary conclusion

made by the authors is that “GAH improved appearance congruence and psychoso-

cial functioning.”285 However, there are major limitations and weaknesses in the

data that limit the conclusions that can be made. The most glaring problem is that

the study was observational and did not include a control group. Thus, there is no

ability to draw causal conclusions. At best, the authors can find associations. A

revealing critique of the paper by De Vries and Hannema that was published along-

side this article exposes some of these concerns.286 Akin to many of the other papers

in this field, there is no way to determine whether any of the changes were contrib-

uted by or due solely to psychiatric interventions.287 It is also notable that even

though the study was designed to recruit only subjects with good mental health at



284
    D. Chen et al., Psychosocial Functioning in Transgender Youth after 2 Years of Hormones,
388 N. Engl. J. Med. 240 (2023).
285
    Id. at 240.
286
    A. L. C. De Vries et al., Growing Evidence and Remaining Questions in Adolescent
Transgender Care, 388 N. Engl. J. Med. 275, (2023).
287
    Id. at 276.



                                           106
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 110 of 138




baseline, 48 of the 307288 study subjects (15.6%) were described as having severe or

moderate depression at this time point.289 At the end of the two-year follow-up, 30

of the 219 remaining subjects (13.7%) were reported to have major depression. Fur-

thermore, two patients committed suicide during the two-year observation period,

“one after 6 months of follow-up and the other after 12 months of follow-up.”290

This is an outcome that in most other situations would lead to a halt in study and

detailed inquiry by an institutional review board.291 The paper claims to present two-

year follow-up data in this cohort. However, only about half of the study participants

were assessed at all five of the study time points,292 and 30% did not have 24-month

data collected.293 Even if one accepted the follow-up period, this is likely not long

enough to make firm conclusions about long-term efficacy. Several key outcomes




288
    While 315 participants enrolled in the Chen study, only 307 participants remained at the con-
clusion of the study. D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 243.
289
    Id. at 243.
290
    Id. at 243.
291
    NIH Guide: Guidance on Reporting Adverse Events to Institutional Review Boards for NIH-
Supported Multicenter Clinical Trials, NOT-99-107, June 11, 1999, available at
https://grants.nih.gov/grants/guide/notice-files/NOT99-107.html (last visited Apr 13, 2023) (also
accessible through NIH Funding Opportunities and Notices for The Week Ending 06-11-99, avail-
able at https://grants.nih.gov/grants/guide/WeeklyIndex.cfm?WeekEnding=06-11-99 (last visited
Apr 13, 2023)). See also NIH Grant Policy Statement, § 4.1.15.6 Data and Safety Monitoring
(U.S. Department of Health and Human Services, National Institutes of Health, December 2022)
available at https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf (last visited April 13, 2022)
(setting planning standards for reporting of adverse events to institutional review boards in NIH
grant-funded clinical trials).
292
    D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 240.
293
    D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 240, Supplementary
Appendix at 8 (Table S2. Coverage for Key Variables).



                                               107
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 111 of 138




that according to the original study protocol were to be measured (gender dysphoria,

trauma symptoms, self-injury, suicidality, body esteem, and quality of life) are not

reported in this paper.294 The reason for these omissions is not apparent in the pub-

lished manuscript. The study authors failed to report on robust measures of psycho-

logical well-being such as the number on antidepressants and other psychotropic

medications.295 The study effects for many of the measures reported was very mod-

est at best and, even when statistically significant, do not have any meaningful clin-

ical significance. For example, the depression scores showed little change over two

years in the highest severity group.296 There is also significant heterogeneity in re-

sponses with some subjects showing improvement, some no change, and others

worsening.297 Consequently, these data do not alleviate the serious concerns raised

regarding the safety and efficacy of gender-affirming medical interventions.

       132. Many conclusions in the above studies are drawn or characterized in

fundamentally unscientific ways without apparent regard to the scientific process of

disproving a null hypothesis. Instead, these studies — along with the comments,

responses, and professional criticism they have received — suggest that the authors

began with a conclusion and then looked for data to support that conclusion. That


294
    D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 240-50.
295
    Id.
296
    D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 240, Supplementary
Appendix at 13 (Table S6. Proportions of Youth Scoring in the Clinical Range for Depression and
Anxiety at Each Timepoint).
297
    D. Chen et al. (2023), Psychosocial Functioning, 388 N. Engl. J. Med. at 240-50.

                                             108
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 112 of 138




is a vastly unsound way of doing science, and patients will not be aware of these

methodological limitations and distortions when informed of these purported

conclusions.

       133. There remains a significant and unmet need to improve our understand-

ing of the biological, psychological, and environmental basis for the manifestation

of patient reports of discordance of gender identity and biological sex in affected

individuals, as well as the long-term effects of “affirming” interventions.298 In par-

ticular, there is a concerning lack of randomized controlled trials or adequately con-

trolled longitudinal studies comparing outcomes of youth with gender dysphoria

who received psychological support, were encouraged to socially transition, or were

put on medical interventions, and how these differential treatments affect the usual

and natural progression to resolution of gender dysphoria and other variables. Such

studies can be ethically designed and executed with provisions for other dignity-

affirming measures to all treatment groups.299 But they have not been performed in

the existing literature, leaving that literature in a state insufficient to enable sound

conclusions about the efficacy of “affirming” treatments.




298
    J. Olson-Kennedy et al., Research priorities for gender nonconforming/transgender youth: gen-
der identity development and biopsychosocial outcomes, 23 Current Op. in Endocrinol., Diabetes
& Obesity 172, 172-79 (2016).
299
    See generally J. Sugarman, Ethics in the Design and Conduct of Clinical Trials, 24 Epidemio-
logic Reviews 54, 54-58 (2002).

                                              109
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 113 of 138




                          INTERNATIONAL RESPONSES

       134. Recognizing the paucity of evidence supporting “affirming” treatments,

along with the proven risks of those treatments, other countries are increasingly lim-

iting use of those treatments.

       135. Finland: The National Science Review in Finland carefully examined

all relevant science and suspended transition treatments for minors under age 16.300

The review determined that “[t]he first-line treatment for gender dysphoria is psy-

chosocial support and, as necessary, psychotherapy and treatment of possible comor-

bid psychiatric disorders.”301 According to the review, “[c]ross-sex identification in

childhood, even in extreme cases, generally disappears during puberty.”302 The re-

view also found: “Potential risks of GnRH therapy include disruption in bone min-

eralization and the as yet unknown effects on the central nervous system”;303 “there

are no medical treatment[s] [for transitioning] that can be considered evidence-

based”;304 and, “[t]he reliability of the existing studies with no control groups is




300
    See 2020 Recommendation of the Council for Choices in Health Care in Finland (PALKO /
COHERE Finland) Medical Treatment Methods for Dysphoria Related to Gender Variance in Mi-
nors, Palveluvalikoima, Nov. 6, 2020, available at https://segm.org/sites/default/files/Finn-
ish_Guidelines_2020_Minors_Unofficial%20Translation.pdf. See also Recommendations -
Choices in health care, Palveluvalikoimaneuvosto, https://palveluvalikoima.fi/en/recommenda-
tions (last visited Apr 13, 2023).
301
    PALKO / COHERE Finland, Recommendation, Nov. 6, 2020 (unofficial translation), at 5.
302
    Id.
303
    Id. at 6.
304
    Id.



                                            110
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 114 of 138




highly uncertain.”305 Thus, “because of this uncertainty, no decisions should be

made that can permanently alter a still-maturing minor’s mental and physical devel-

opment,”306 and “[n]o gender confirmation surgeries are performed on minors.”307

“Since reduction of psychiatric symptoms cannot be achieved with hormonal and

surgical interventions, it is not a valid justification for gender reassignment. A

young person’s identity and personality development must be stable so that they can

genuinely face and discuss their gender dysphoria, the significance of their own feel-

ings, and the need for various treatment options. For children and adolescents, these

factors are key reasons for postponing any interventions until adulthood. . . . In light

of available evidence, gender reassignment of minors is an experimental practice.”308

       136. Sweden: The world-renowned Karolinska Hospital reviewed the cur-

rent research and suspended pediatric gender transitions for patients under 16 outside

of experimental, monitored clinical trials settings as of May 2021.309 Treatment will


305
    Id. at 7.
306
    Id.
307
    Id.
308
    Id. at 7-8.
309
    Karolinska Universitetssjukhuset — Astrid Lindgrens Barnsjukhus, English, unofficial trans-
lation, Guideline Regarding Hormonal Treatment of Minors with Gender Dysphoria at Tema Barn
- Astrid Lindgren Children’s Hospital (ALB), K2021-4144, Apr. 2021, at 2, available at
https://segm.org/sites/default/files/Karolinska%20Guideline%20K2021-
4144%20April%202021%20%28English%2C%20unofficial%20translation%29.pdf; Karolinska
Universitetssjukhuset — Astrid Lindgrens Barnsjukhus, English, unofficial translation, Policy
Change Regarding Hormonal Treatment of Minors with Gender Dysphoria at Tema Barn - Astrid
Lindgren Children’s Hospital, K2021-3343, Mar. 2021, at 1-2, available at
https://segm.org/sites/default/files/Karolinska%20Policy%20Change%20K2021-
3343%20March%202021%20%28English%2C%20unofficial%20translation%29.pdf. See also



                                             111
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 115 of 138




focus on psychotherapy and assessment.310 The “Dutch protocol” for treating

gender-dysphoric minors has been discontinued over concerns of medical harm and

uncertain benefits.311

       Moreover, in a national policy review, a report commissioned by the Swedish

government concluded that:

        We have not found any scientific studies which explains the increase
         in incidence in children and adolescents who seek the heath care be-
         cause of gender dysphoria.

        We have not found any studies on changes in prevalence of gender
         dysphoria over calendar time, nor any studies on factors that can
         affect the societal acceptance of seeking for gender dysphoria.

        There are few studies on gender affirming surgery in general in chil-
         dren and adolescents and only single studies on gender affirming
         genital surgery.

        Studies on long-term effects of gender affirming treatment in chil-
         dren and adolescents are few, especially for the groups that have
         appeared during the recent decennium. . . .


Karolinska Universitetssjukhuset — Astrid Lindgrens Barnsjukhus, Riktlinje gällande hormonell
behandling till minderariga patienter med könsdysfori inom Tema Barn, K2021-4144, Apr. 2021,
available        at       https://segm.org/sites/default/files/Karolinska%20Riktlinje%20K2021-
4144%20April%202021%20%28Swedish%29.pdf (Swedish-language document); Karolinska
Universitetssjukhuset — Astrid Lindgrens Barnsjukhus, Policyförändring gällande hormonell
behandling till minderariga patienter med könsdysfori inom Tema Barn - Astrid Lindgrens
Barnsjukhus, K2021-3343, Mar. 2021, available at https://segm.org/sites/default/files/Karolin-
ska%20Policyförändring%20K2021-3343%20March%202021%20%28Swedish%29.pdf (Swe-
dish-language document).
310
    See Society for Evidence-Based Medicine, Sweden’s Karolinska Ends All Use of Puberty
Blockers and Cross-Sex Hormones for Minors Outside of Clinical Studies, SEGM.org, May 5,
2021, https://segm.org/Sweden_ends_use_of_Dutch_protocol ((featuring links to PDF copies of
the Karolinska Policy and Guidelines documents, along with unofficial English translations, at the
bottom of the page).
311
    Id.



                                              112
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 116 of 138




        . . . No relevant randomized controlled trials in children and adoles-
         cents were found.312

       From these findings, the Swedish National Board of Heath in December of

2022 issued updated guidelines for the care of adolescents and children with gender

dysphoria.313 This medical board concluded that “the risks of puberty blockers and

gender-affirming treatment are likely to outweigh the expected benefits of these

treatments.”314 Noting that there is uncertainty about the cause for the rapid rise in

number of people being diagnosed with gender dysphoria, documented evidence of

detransitioning young adults with uncertainty regarding the prevalence of this out-

come, and lack of uniformity in experience-based knowledge among providers,




312
    See Sweden Policy Review, Gender dysphoria in children and adolescents: an inventory of the
literature, SBU Policy Support no 307, 2019, https://www.sbu.se/307e.
313
    Socialstyrelsen —The National Board of Health and Welfare, Vård av barn och ungdomar med
könsdysfori Nationellt kunskapsstöd med rekommendationer till profession och beslutsfat-
tare (2022), https://www.socialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kun-
skapsstod/2022-12-8302.pdf (full report in Swedish, PDF format). See also Uppdaterat kun-
skapsstöd för vård vid könsdysfori hos unga, Socialstyrelsen (2022), https://www.socialstyrel-
sen.se/om-socialstyrelsen/pressrum/press/uppdaterat-kunskapsstod-for-vard-vid-konsdysfori-
hos-unga/ (last visited Apr 14, 2023) (announcing and publishing the full Swedish report); So-
cialstyrelsen —The National Board of Health and Welfare, Care of children and adolescents with
gender dysphoria Summary of national guidelines, December 2022, https://www.socialstyrel-
sen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2023-1-8330.pdf (English-
language Summary from Socialstyrelsen).
314
    Socialstyrelsen —The National Board of Health and Welfare, Care of children and adolescents
with gender dysphoria Summary of national guidelines, December 2022, at 3, https://www.so-
cialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2023-1-8330.pdf
(English-language Summary from Socialstyrelsen). See also J. Block (2023), Gender dysphoria
in young people is rising-and so is professional disagreement, 380 BMJ 382, at *2, *3.



                                             113
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 117 of 138




GnRH analogues, gender-affirming hormones and mastectomy should be provided

only in exceptional cases and ideally as part of an experimental trial.315

       The results of the Swedish systematic review of the current published

literature related to hormone treatment of gender dysphoric youth that served as the

basis for this policy change were published on April 17, 2023 in the peer-reviewed

journal Acta Paediatrica.316 The authors of this systematic review identified 9,934

abstracts related to hormone administration to childen with gender dysphoria among

the English language literature as of November 9, 2022.317 The authors crafted a

series of exclusion criteria to ensure that only an appropriate, relevant sample

remained for analysis.318 From the 9,934 abstracts, 36 studies passed through to the

final stage of the winnowing process.319 Twelve of these studies were assessed to

have a high risk of bias and were therefore excluded from analysis, leaving 24 studies

that met the rigorous inclusion criteria.320 These remaining 24 studies were assessed

for findings relevant to the inclusion criteria. This included 21 studies in which

adolescents were given GnRH analogues (i.e., puberty blockers) and 3 studies where


315
    Id. at 3-4.
316
    J. F. Ludvigsson et al., A systematic review of hormone treatment for children with gender
dysphoria and recommendations for research, Acta Paediatrica, Apr. 17, 2023, available at
https://onlinelibrary.wiley.com/doi/10.1111/apa.16791 (Early View: Online Version of Record
before inclusion in an issue).
317
    Id. at *2-*3.
318
    Id. at *1-*3, *4.
319
    Id. at *3, *4.
320
    Id. at *3, *4.



                                              114
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 118 of 138




cross-sex hormones were administered without prior GnRHa treatment.321 Among

the studies, the authors did not find any randomized controlled trials addressing the

psychosocial effects, bone health, body composition and metabolism, or persistence

in children with gender dyshporia undergoing treatment with GnRHa medications.322

The authors of this study found serious methodological weaknesses in each of the

the three longitudinal observational studies assessed.323 These weaknesses included

small sample size and high attrition rates.324 And these deficiencies prevented any

verifiable conclusions regarding the long-term effects of hormone therapy on

psychological health from being drawn.325 Moreover, GnRHa therapy was found to

delay bone maturation and bone mineral density gain, a delay that was only partially

recovered by cross-sex hormone administration when studied at age 22 years.326

Among the key findings of this published peer-reviewed study were that the long

long-term effects of hormone therapy on psychosocial health are unknown, GnRHa

treatment delays bone maturation and gain in bone mineral density, and GnRHa



321
    Id. at *1.
322
    Id. at *1, *9, See also, id. at *10 (stating generally that “randomized controlled trials are lack-
ing in gender dysphoria research”).
323
    Id. at *9-*10.
324
    Id. at *9-*10.
325
    See, e.g., id. at *4 (“Because these studies were hampered by small number of participants
and substantial risk of selection bias, the long-term effects of hormone treatment on psychosocial
health could not be evaluated. Of note, [these] studies do not allow separation of potential ef-
fects of psychological intervention independent of hormonal effects.”). See also id. at *8 and Ta-
ble 2.
326
    Id. at *1, *8-*9 and Table 3, *12.



                                                 115
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 119 of 138




treatment in children with gender dysphoria should be considered experimental

treatment of individual cases rather than standard procedure.327

       137. United Kingdom: The British official medical review office, National

Institute of Health and Care Excellence (NICE), published reports on the use of both

puberty blockers and hormones for transitioning purposes.328 The assessment of the

evidence into the drugs was commissioned by the National Health Service England

(NHS). The review found that the evidence for using puberty-blocking drugs to treat

young people struggling with their gender identity is “very low certainty.”329 The

review on GnRH analogues found only “small, uncontrolled observational studies,

which are subject to bias and confounding, and all the results are of very low cer-

tainty using modified GRADE. They all reported physical and mental health comor-

bidities and concomitant treatments very poorly.”330

       NICE also reviewed the evidence base for cross-sex hormones.331 This review

found the evidence of clinical effectiveness and safety of cross-sex hormones was


327
    Id. at *2 (Key Notes), *8 and Table 2 (columns for ‘Certainty of evidence” and Deduction in
GRADE), *9 and Table 3 (columns for “Certainty of evidence” and Deduction in GRADE), and
*10 and Table 4 (columns for “Certainty of evidence and Deduction in GRADE).
328
    Nice Evidence Reviews — Cass Review, https://cass.independent-review.uk/nice-evidence-re-
views/ (last visited Apr. 29, 2023).
329
    NICE, Evidence review: Gonadotrophin releasing hormone analogues for children and adoles-
cents with gender dysphoria, (Oct. 2020), https://cass.independent-review.uk/wp-content/up-
loads/2022/09/20220726_Evidence-review_GnRH-analogues_For-upload_Final.pdf.
330
    Id. at 11-12.
331
    NICE, Evidence review: Gender-affirming hormones for children and adolescents with gender
dysphoria,          (Oct.        2020),        https://cass.independent-review.uk/wp-content/up-
loads/2022/09/20220726_Evidence-review_Gender-affirming-hormones_For-upload_Final.pdf.



                                             116
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 120 of 138




also of “very low” quality.332 The review concluded: “Any potential benefits of gen-

der-affirming hormones must be weighed against the largely unknown long-term

safety profile of these treatments in children and adolescents with gender dyspho-

ria.”333

           A recent independent review of gender identity services in the United

Kingdom, by Dr. Hilary Cass, concluded that “Evidence on the appropriate manage-

ment of children and young people with gender incongruence and dysphoria is in-

conclusive both nationally and internationally.”334 In summarizing a few of the key

points and context from the Interim Report, the Cass Review stated, “There is lack

of consensus and open discussion about the nature of gender dysphoria and therefore

about the appropriate clinical response.”335

           Following the Cass Review, the NHS ordered the closure of the Tavistock clinic,

the UK’s only dedicated gender identity clinic for children and young people.336 As the

BBC summarized, the Cass Review found that “the current model of care was leaving

young people ‘at considerable risk’ of poor mental health and distress, and having one




332
    See, e.g., id. at 7, 47.
333
    Id. at 14.
334
    H. Cass (2022), The Cass Review — Interim Report, at 18.
335
    The Cass Review, Interim report — Cass Review, Publications, https://cass.independent-re-
view.uk/publications/interim-report/ (last visited Apr 14, 2023) (announcing the submission of the
Interim Report to NHS and summarizing some key findings).
336
    J. Andersson et al., NHS to close Tavistock child gender identity clinic, BBC News, Jul. 28,
2022, https://www.bbc.com/news/uk-62335665.



                                              117
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 121 of 138




clinic was not ‘a safe or viable long-term option.’”337 The Tavistock will be replaced by a

new regional hospital-based service where related services for mental health and autism

can be provided by clinicians who have expertise in safeguarding and supporting chil-

dren.338 Thus, gender-related distress will be addressed “within a broader child and ado-

lescent health context.”339

       This new model is in sharp contrast to recommendations made by WPATH in

SOC-8. (Indeed, WPATH criticizes the UK’s recent approach.340) Differences in

approach include the prioritization of parent versus child expectations for care,

recommendations against social affirmation of pre-pubertal youth, the provision of

puberty blockers within the experimental setting, initial focus on exploration and

treatment of mental health problems, and use of psychological support as a primary

intervention.341



337
    Id.
338
    Letter from Dr. Hilary Cass, Chair, Independent Review of Gender Identity Services for Chil-
dren and Young People, to John Stewart, National Director Specialised Commissioning, NHS
England, (Jul. 19, 2022), at 2, https://cass.independent-review.uk/wp-content/up-
loads/2022/07/Cass-Review-Letter-to-NHSE_19-July-2022.pdf.
339
    Id.
340
    WPATH, WPATH, ASIAPATH, EPATH, PATHA, and USPATH Response to NHS England
in the United Kingdom (UK) Statement regarding the Interim Service Specification for the Spe-
cialist Service for Children and Young People with Gender Dysphoria (Phase 1 Providers) by NHS
England,      (2022),      https://www.wpath.org/media/cms/Documents/Public%20Policies/2022/
25.11.22%20AUSPATH%20Statement%20reworked%20for%20WPATH%20Fi-
nal%20ASIAPATH.EPATH.PATHA.USPATH.pdf?_t=1669428978#:~:text=the%20special-
ist%20service.-
,WPATH%2C%20ASIAPATH%2C%20EPATH%2C%20PATHA%2C%20and%20USPATH%
20believe%20that,to%20puberty%20suppression%20and%20gender%2D.
341
    See generally, E. Coleman et al. (2022), SOC-8, 23 Int’l. J. Transgender Health, at 51-5258; H.
Cass (2022), The Cass Review – Interim Report.

                                               118
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 122 of 138




                                 CONCLUSIONS

      138. There are no long-term, peer-reviewed, published, reliable, and valid

research studies documenting the reliability and validity of assessing gender identity

by relying solely upon the expressed desires of a patient.

      139. There are no long-term, peer-reviewed, published, reliable, and valid

research studies documenting any valid and reliable biological, medical, surgical,

radiological, psychological, or other objective assessment of gender identity or gen-

der dysphoria.

      140. A large percentage of children (over 80% in some studies) who ques-

tioned their gender identity will, if not affirmed in a sex-discordant gender identity,

develop an acceptance of their natal (biological) sex.

      141. A currently unknown percentage and number of patients reporting gen-

der dysphoria suffer from mental illness(es) that complicate and may distort their

judgments and perceptions of gender identity.

      142. A currently unknown percentage and number of patients reporting gen-

der dysphoria may be manipulated by a social contagion and social pressure

processes, including peer group, social media, YouTube role modeling, and parental

pressures.




                                         119
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 123 of 138




       143. There are no long-term, peer-reviewed, published, reliable, and valid

research studies documenting the number or percentage of patients receiving gender

affirming medical interventions who are helped by such procedures.

       144. There are no long-term, peer-reviewed, published, reliable, and valid

research studies documenting the number or percentage of patients receiving gender-

affirming medical interventions who are injured or harmed by such procedures.

       145. “Affirming” treatments have no known, peer-reviewed, and published

error rates.

       146. The gender-affirming approach has limited, very weak scientific sup-

port for short-term alleviation of dysphoria and no long-term outcomes data demon-

strating superiority over the other approaches.

       147. Because of the major methodological limitations and weaknesses of the

extant published literature in the field of gender dysphoria, one cannot make a con-

clusion that “affirming” treatments are justified as a safe and effective long-term

solution to gender dysphoria in consideration of the significant risks and unsubstan-

tiated long-term benefits.

       148. With the limited and poor-quality data currently available about the

purported efficacy of blocking normally timed puberty, administering cross-sex hor-

mones, and gender-affirming surgeries in alleviating psychological morbidity for

youth who experience sex-discordant gender identity and the serious medical risks


                                        120
  Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 124 of 138




associated with these interventions, it cannot be concluded that this approach is

“medically necessary.”         Use of such medical interventions remains a largely

experimental approach.

       149. Experimentation on gender-discordant youths is especially likely to

cause harm to patients from historically marginalized communities. That is because

children in such communities are disproportionally affected by gender discordance.

These include:

                children with a history of psychiatric illness;342

                children of color;343

                children with mental developmental disabilities;344

                children on the autistic spectrum;345 and

                children residing in foster care homes and adopted children.346

       150. Patients suffering from gender dysphoria or related issues have a right

to be protected from experimental, potentially harmful treatments lacking reliable,



342
    See, e.g., R. Kaltiala-Heino et al., Two years of gender identity service for minors: overrepre-
sentation of natal girls with severe problems in adolescent development, 9 Child Adolesc. Psychi-
atry Mental Health 9 (2015).
343
    See, e.g., G. N. Rider et al., Health and Care Utilization of Transgender and Gender Noncon-
forming Youth: A Population-Based Study, 141 Pediatrics e20171683 (2018).
344
    See, e.g., C. Bedard et al., Gender Identity and Sexual Orientation in People with Developmen-
tal Disabilities, 28 Sexuality and Disability 165 (2010).
345
    See, e.g., A. L. C. De Vries et al., Autism Spectrum Disorders in Gender Dysphoric Children
and Adolescents, 40 J. Autism Dev. Disord. 930 (2010).
346
    See, e.g., D. E. Shumer et al., Overrepresentation of Adopted Adolescents at a Hospital-Based
Gender Dysphoria Clinic, 2 Transgender Health 76 (2017).

                                               121
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 125 of 138




valid, peer-reviewed, published, long-term scientific evidence of safety and effec-

tiveness.

      151. The treatment protocols and recommendations of politically influenced,

non-science associations like WPATH and the American Academy of Pediatrics that

engage in consensus-seeking methodologies by vote rather than science are not

based on competent, credible, methodologically sound science, and have no known

or published error rate.

      152. The committee that developed the Endocrine Society gender-dysphoria

guidelines relied on low-quality scientific evidence in making strong treatment rec-

ommendations and failed to adequately review the scientific evidence pertaining to

long-term risk of medical interventions to affirm sex-discordant gender identity

      153. Administering hormones to a child whose gender dysphoria is highly

likely to resolve is risky, unscientific, and unethical. Iatrogenic damages from these

interventions, including infertility, stunted growth, increased heart attack risk, and

many more, are often irreversible.

      154. Because of these concerns about the safety, efficacy, and scientific va-

lidity of controversial, unproven, and experimental treatment paradigms, I have not

personally engaged in the delivery of gender-affirming medical interventions to chil-

dren with gender dysphoria. Given the unproven long-term benefits and the well-

documented risks and harms of “transitioning” children, I decline to participate in


                                         122
 Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 126 of 138




such experimental treatments until the science has proven that the relative risks and

benefits of this approach warrant such procedures.

      155. My decision is strengthened by the knowledge that the vast majority of

children who report gender dysphoria will, if not affirmed in their sex-discordant

gender identity grow out of the problem — a natural coping-developmental process

— and willingly accept their biological sex. Since there are no reliable assessment

methods for identifying the small percentage of children with persisting sex-gender

identity discordance from the vast majority who will accept their biological sex, and

since puberty blocking treatments, hormone transition treatments, and surgical tran-

sition treatments are all known to have potentially life-long devastating, negative

effects on patients, I and many colleagues view it as unethical to treat children with

an unknown future by using experimental, aggressive, and intrusive gender affirm-

ing medical interventions.



Dated: May 19, 2023

                                                     Paul W. Hruz, MD, PhD




                                         123
          Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 127 of 138


                                           Curriculum Vitae
Date: 3/19/2023
Name: Paul W. Hruz, M.D., Ph.D.
Contact Information

Office:         Phone: 314-286-2797
                Fax: 314-286-2892

Mail:           Washington University in St. Louis
                School of Medicine
                Department of Pediatrics
                Endocrinology and Diabetes
                660 South Euclid Avenue
                St Louis MO 63110

Email:          Office: hruz_p@wustl.edu

Present Position

Associate Professor of Pediatrics, Endocrinology and Diabetes
Associate Professor of Pediatrics, Cell Biology & Physiology

Education

1987            BS, Chemistry, Marquette University, Milwaukee, WI
1993            PhD, Biochemistry, Medical College of Wisconsin, Milwaukee, WI
                Elucidation of Structural, Mechanistic, and Regulatory Elements in 3-Hydroxy-3-
                Methlyglutaryl-Coenzyme A Lyase, Henry Miziorko
1994            MD, Medicine, Medical College of Wisconsin, Milwaukee, WI
1994 - 1997     Pediatric Residency, University of Washington, Seattle, Washington
1997 - 2000     Pediatric Endocrinology Fellowship, Washington University, Saint Louis, MO
2017            Certification in Healthcare Ethics, National Catholic Bioethics Center, Philadelphia, PA

Academic Positions / Employment

1996 - 1997     Locum Tenens Physician, Group Health of Puget Sound Eastside Hospital, Group Health of
                Puget Sound Eastside Hospital, Seattle , WA
2000 - 2003     Instructor in Pediatrics, Endocrinology and Diabetes, Washington University in St. Louis, St.
                Louis, MO
2003 - 2011     Assistant Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
                Louis, St. Louis, MO
2004 - 2011     Assistant Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
                Louis, St. Louis, MO
2011 - Pres     Associate Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
                Louis, St. Louis, MO
           Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 128 of 138

2011 - Pres      Associate Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
                 Louis, St. Louis, MO
2012 - 2017      Division Chief, Endocrinology and Diabetes, Washington University in St. Louis, St. Louis,
                 MO

Clinical Title and Responsibilities

                 General Pediatrician, General Pediatric Ward Attending: 2-4 weeks per year, St. Louis
                 Children's Hospital
2000 - Pres      Pediatric Endocrinologist, Endocrinology Night Telephone Consult Service: Average of 2-6
                 weeks/per year, St. Louis Children's Hospital
2000 - Pres      Pediatric Endocrinologist, Inpatient Endocrinology Consult Service: 3-6 weeks per year, St.
                 Louis Children's Hospital
2000 - Pres      Pediatric Endocrinologist, Outpatient Endocrinology Clinic: Approximately 150 patient visits
                 per month, St. Louis Children's Hospital

Teaching Title and Responsibilities

2009 - Pres      Lecturer, Markey Course-Diabetes Module
2008 – 2016      Fellowship Program Director- Pediatric Endocrinology and Diabetes
2020 - 2020      Facilitator, Reading Elective-Interdisciplinary/Miscellaneous Course #M80-800, Washington
                 University School of Medicine
2019 – Pres      Associate Fellowship Program Director- Pediatric Endocrinology and Diabetes

University, School of Medicine and Hospital Appointments and Committees

University
2012 - 2020      Disorders of Sexual Development Multidisciplinary Care Program

School of Medicine
2013 - 2020      Molecular Cell Biology Graduate Student Admissions Committee
2014 - Pres      Research Consultant, ICTS Research Forum - Child Health

Hospital
2000 - Pres      Attending Physician, St. Louis Children's Hospital

Medical Licensure and Certifications

1997 - Pres      Board Certified in General Pediatrics
2000 - Pres      MO Stae License #2000155004
2001 - Pres      Board Certified in Pediatric Endocrinology & Metabolism

Honors and Awards

1987             National Institute of Chemists Research and Recognition Award
1987             Phi Beta Kappa
1987             Phi Lambda Upsilon (Honorary Chemical Society)
1988             American Heart Association Predoctoral Fellowship Award
        Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 129 of 138

1994               Alpha Omega Alpha
1994               Armond J. Quick Award for Excellence in Biochemistry
1994               NIDDK/Diabetes Branch Most Outstanding Resident
1998               Pfizer Postdoctoral Fellowship Award
2002               Scholar, Child Health Research Center of Excellence in Developmental Biology at
                   Washington University
2013               Julio V Santiago, M.D. Scholar in Pediatrics
2017               Redemptor Hominis Award for Outstanding Contributions to the Study of Bioethics
2018               Eli Lilly Outstanding Contribution to Drug Discovery: Emerging Biology Award
2018               Scholar-Innovator Award, Harrington Discovery Institute
2021               Linacre Award

Editorial Responsibilities

Editorial Ad Hoc Reviews
                   AIDS
                   AIDS Research and Human Retroviruses
                   American Journal of Pathology
                   American Journal of Physiology
                   British Journal of Pharmacology
                   Circulation Research
                   Clinical Pharmacology & Therapeutics
                   Comparative Biochemistry and Physiology
                   Diabetes
                   Experimental Biology and Medicine
                   Future Virology
                   Journal of Antimicrobial Chemotherapy
                   Journal of Clinical Endocrinology & Metabolism
                   Journal of Molecular and Cellular Cardiology
                   Obesity Research
2000 - Pres        Journal of Biological Chemistry
2013 - Pres        PlosOne
2016 - Pres        Scientific Reports
2018 - Pres        Nutrients

Editorial Boards
2014 - 2015        Endocrinology and Metabolism Clinics of North America

National Panels, Committees

2017 - Pres        Consultant, Catholic Health Association
2021 - Pres        Consulting Fellow, National Catholic Bioethics Center

National Boards
       Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 130 of 138

2020 - Pres    WU ICTS Clinical and Translational Research Funding Program (CTRFP) Review
               Committee

Professional Societies and Organizations
American Diabetes Association
Endocrine Society
Pediatric Endocrine Society

Major Invited Professorships and Lectures

2002           Pediatric Grand Rounds, St. Louis Children's Hospital, St Louis, MO
2004           National Disease Research Interchange, Human Islet Cell Research Conference, Philadelphia,
               PA
2004           NIDA-NIH Sponsored National Meeting on Hormones, Drug Abuse and Infections, Bethesda,
               MD
2005           Endocrine Grand Rounds, University of Indiana, Indianapolis, IN
2005           The Collaborative Institute of Virology, Complications Committee Meeting, Boston, MA
2006           Metabolic Syndrome Advisory Board Meeting, Bristol-Meyers Squibb, Pennington, NJ
2007           American Heart Association and American Academy of HIV Medicine State of the Science
               Conference: Initiative to Decrease Cardiovascular Risk and Increase Quality of Care for
               Patients Living with HIV/AIDS, Chicago, IL
2007           Minority Access to Research Careers Seminar, University of Arizona, Tucson, AZ
2007           MSTP Annual Visiting Alumnus Lecture, Medical College of Wisconsin , Milwaukee, WI
2007           Pediatric Grand Rounds, St Louis Children’s Hospital, St Louis, MO
2008           Division of Endocrinology, Diabetes and Nutrition Grand Rounds, Boston University,
               Boston, MA
2009           Pediatric Grand Rounds, St Louis Children's Hospital, St. Louis, MO
2010           American Diabetes Association Scientific Sessions, Symposium Lecture Orlando, FL
2010           School of Biological Sciences Conference Series, University of Missouri Kansas City, Kansas
               City, MO
2011           Life Cycle Management Advisory Board Meeting, Bristol-Myers Squibb,, Chicago, IL
2013           Pediatric Grand Rounds, St Louis Children's Hospital, ST LOUIS, MO
2013           Clinical Practice Update Lecture, St Louis Children's Hospital, St Louis, MO
2014           Pediatric Academic Societies Meeting,, Vancouver, Canada
2014           American Diabetes Association 74th Scientific Sessions, , San Francisco, CA
2017           Division of Pediatric Endocrinology Metabolism Rounds, University of Michigan, Ann
               Arbor, MI
2017           Catholic Medical Association National Conference, Denver, CO
2018           Obstetrics, Gynecology & Women's Health Grand Rounds, Saint Louis University, St. Louis,
               MO
2018           Medical Grand Rounds, Sindicato Médico del Uruguay, Montevideo, Uraquay
2018           Internal Medicine Grand Rounds, Texas Tech , Lubbock, TX
2019           Veritas Center for Ethics in Public Life Conference, Franciscan University, Steubenville, OH
2019           MaterCare International Conference, Rome, Italy
2019           Child Health Policy Forum, Notre Dame University, South Bend , IN
       Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 131 of 138

2021          Obstetrics & Gynecology Grand Rounds, University of Tennessee, Knoxville , TN
2022          The World Federation of Catholic Medical Associations (FIAMC), Rome, Italy

Consulting Relationships and Board Memberships

1996 - 2012   Consultant, Bristol Myers Squibb
1997 - 2012   Consultant, Gilead Sciences

Research Support

Completed Governmental Support
2001 - 2006   K-08 A149747, NIH
              Mechanism of GLUT4 Inhibition by HIV Protease Inhibitors
              Role: Principal Investigator
2007 - 2012   R01
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $800,000.00
2009 - 2011   R01 Student Supp
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $25,128.00
2009 - 2014   R01
              Direct Effects of Antiretroviral Therapy on Cardiac Energy Homeostasis
              Role: Principal Investigator
              Total cost: $1,250,000.00
2017 - 2019   R-21 1R21AI130584 , National Institutes of Health
              SELECTIVE INHIBITION OF THE P. FALCIPARUM GLUCOSE TRANSPORTER PFHT
              Role: Principal Investigator
              Total cost: $228,750.00

Completed Non-Governmental Support
2015          Novel HIV Protease Inhibitors and GLUT4
              Role: Principal Investigator
2008 - 2011   II
              Insulin Resistance and Myocardial Glucose Metabolism in Pediatric Heart Failure
              Role: Co-Investigator
              PI: Hruz
              Total cost: $249,999.00
2009 - 2012   Research Program
              Regulation of GLUT4 Intrinsic Activity
              Role: Principal Investigator
              Total cost: $268,262.00
2010 - 2011   Protective Effect of Saxagliptin on a Progressive Deterioration of Cardiovascular Function
              Role: Principal Investigator
2012 - 2015   II
              Solution-State NMR Structure and Dynamics of Facilitative Glucose Transport Proteins
              Role: Principal Investigator
              Total cost: $375,000.00
       Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 132 of 138

2017 - 2020    Prevention And Treatment Of Hepatic Steatosis Through Selective Targeting Of GLUT8
               Role: Co-Principal Investigator
               PI: DeBosch
               Total cost: $450,000.00
2017 - 2021    Matching Micro Grant
               Novel Treatment of Fatty Liver Disease (CDD/LEAP)
               Role: Principal Investigator
               Total cost: $68,500.00
2018 - 2021    LEAP Innovator Challenge
               Novel Treatment of Fatty Liver Disease
               Role: Principal Investigator
               Total cost: $68,500.00
2019 - 2021    Scholar-Innovator Award HDI2019-SI-4555 , Harrington Foundation
               Novel Treatment of Non-Alcoholic Fatty Liver Disease
               Role: Principal Investigator
               Total cost: $379,000.00

Current Governmental Support
2021 - 2025    R-01 DK126622 (Co-investigator), 8/25/2021-7/31/2025, NIH-NIDDK, , NIH
               Leveraging glucose transport and the adaptive fasting response to modulate hepatic
               metabolism
               Role: Co-Investigator
               PI: DeBosch

Trainee/Mentee/Sponsorship Record

2002 - 2002    Nishant Raj- Undergraduate Student, Other
               Study area: Researcher
2002 - 2010    Joseph Koster, PhD, Postdoctoral Fellow
               Study area: Researcher
2003 - 2004    Johann Hertel, Medical Student
               Study area: Research
               Present position: Assistant Professor, University of North Carolina, Chapel Hill, NC
2003 - 2003    John Paul Shen, Medical Student
               Study area: Research
2004 - 2005    Carl Cassel- High School Student, Other
               Study area: Research
2004 - 2004    Christopher Hawkins- Undergraduate Student, Other
               Study area: Researcher
2004 - 2004    Kaiming Wu- High School Student, Other
               Study area: Research
2005 - 2005    Helena Johnson, Graduate Student
2005 - 2005    Jeremy Etzkorn, Medical Student
               Study area: Researcher
2005 - 2005    Dominic Doran, DSc, Postdoctoral Fellow
               Study area: HIV Protease Inhibitor Effects on Exercize Tolerance
2006 - 2006    Ramon Jin, Graduate Student
               Study area: Research
       Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 133 of 138

2006 - 2006   Taekyung Kim, Graduate Student
              Study area: Research
2007 - 2007   Jan Freiss- Undergraduate Student, Other
              Study area: Researcher
2007 - 2008   Kai-Chien Yang, Graduate Student
              Study area: Research
              Present position: Postdoctoral Research Associate, University of Chicago
2007 - 2007   Paul Buske, Graduate Student
              Study area: Research
2007 - 2007   Randy Colvin, Medical Student
              Study area: Researcher
2008 - 2011   Arpita Vyas, MD, Clinical Fellow
              Study area: Research
              Present position: Assistant Professor, Michigan State University, Lansing MI
2008 - 2009   Candace Reno, Graduate Student
              Study area: Research
              Present position: Research Associate, University of Utah
2008 - 2012   Dennis Woo- Undergraduate Student, Other
              Study area: Researcher
              Present position: MSTP Student, USC, Los Angeles CA
2008 - 2008   Temitope Aiyejorun, Graduate Student
              Study area: Research
2009 - 2009   Anne-Sophie Stolle- Undergraduate Student, Other
              Study area: Research
2009 - 2009   Matthew Hruz- High School Student, Other
              Study area: Research
              Present position: Computer Programmer, Consumer Affairs, Tulsa OK
2009 - 2009   Stephanie Scherer, Graduate Student
              Study area: Research
2010 - 2014   Lauren Flessner, PhD, Postdoctoral Fellow
              Present position: Instructor, Syracuse University
2010 - 2010   Constance Haufe- Undergraduate Student, Other
              Study area: Researcher
2010 - 2011   Corinna Wilde- Undergraduate Student, Other
              Study area: Researcher
2010 - 2010   Samuel Lite- High School Student, Other
              Study area: Research
2011 - 2016   Thomas Kraft, Graduate Student
              Study area: Glucose transporter structure/function
              Present position: Postdoctoral Fellow, Roche, Penzberg, Germany
2011 - 2011   Amanda Koenig- High School Student, Other
              Study area: Research
2011 - 2012   Lisa Becker- Undergraduate Student, Other
2011 - 2011   Melissa Al-Jaoude- High School Students, Other
2019          Ava Suda, Other, Pre-med
        Case 2:22-cv-00184-LCB-CWB Document 557-5 Filed 05/27/24 Page 134 of 138

Bibliography

A. Journal Articles
      1. Hruz PW, Narasimhan C, Miziorko HM. 3-Hydroxy-3-methylglutaryl coenzyme A lyase: affinity
         labeling of the Pseudomonas mevalonii enzyme and assignment of cysteine-237 to the active site.
         Biochemistry. 1992;31(29):6842-7. PMID:1637819
      2. Hruz PW, Miziorko HM. Avian 3-hydroxy-3-methylglutaryl-CoA lyase: sensitivity of enzyme
         activity to thiol/disulfide exchange and identification of proximal reactive cysteines. Protein Sci.
         1992;1(9):1144-53. doi:10.1002/pro.5560010908 PMCID:PMC2142181 PMID:1304393
      3. Mitchell GA, Robert MF, Hruz PW, Wang S, Fontaine G, Behnke CE, Mende-Mueller LM,
         Schappert K, Lee C, Gibson KM, Miziorko HM. 3-Hydroxy-3-methylglutaryl coenzyme A lyase
         (HL). Cloning of human and chicken liver HL cDNAs and characterization of a mutation causing
         human HL deficiency. J Biol Chem. 1993;268(6):4376-81. PMID:8440722
      4. Hruz PW, Anderson VE, Miziorko HM. 3-Hydroxy-3-methylglutaryldithio-CoA: utility of an
         alternative substrate in elucidation of a role for HMG-CoA lyase's cation activator. Biochim Biophys
         Acta. 1993;1162(1-2):149-54. PMID:8095409
      5. Roberts JR, Narasimhan C, Hruz PW, Mitchell GA, Miziorko HM. 3-Hydroxy-3-methylglutaryl-
         CoA lyase: expression and isolation of the recombinant human enzyme and investigation of a
         mechanism for regulation of enzyme activity. J Biol Chem. 1994;269(27):17841-6. PMID:8027038
      6. Hruz PW, Mueckler MM. Cysteine-scanning mutagenesis of transmembrane segment 7 of the
         GLUT1 glucose transporter. J Biol Chem. 1999;274(51):36176-80. PMID:10593902
      7. Murata H, Hruz PW, Mueckler M. The mechanism of insulin resistance caused by HIV protease
         inhibitor therapy. J Biol Chem. 2000;275(27):20251-
         4. doi:10.1074/jbc.C000228200 PMID:10806189
      8. Hruz PW, Mueckler MM. Cysteine-scanning mutagenesis of transmembrane segment 11 of the
         GLUT1 facilitative glucose transporter. Biochemistry. 2000;39(31):9367-72. PMID:10924131
      9. Hruz PW, Mueckler MM. Structural analysis of the GLUT1 facilitative glucose transporter (review).
         Mol Membr Biol. 2001;18(3):183-93. PMID:11681785
     10. Murata H, Hruz PW, Mueckler M. Investigating the cellular targets of HIV protease inhibitors:
         implications for metabolic disorders and improvements in drug therapy. Curr Drug Targets Infect
         Disord. 2002;2(1):1-8. PMID:12462148
     11. Hruz PW, Murata H, Qiu H, Mueckler M. Indinavir induces acute and reversible peripheral insulin
         resistance in rats. Diabetes. 2002;51(4):937-42. PMID:11916910
     12. Murata H, Hruz PW, Mueckler M. Indinavir inhibits the glucose transporter isoform Glut4 at
         physiologic concentrations. AIDS. 2002;16(6):859-63. PMID:11919487
     13. Koster JC, Remedi MS, Qiu H, Nichols CG, Hruz PW. HIV protease inhibitors acutely impair
         glucose-stimulated insulin release. Diabetes. 2003;52(7):1695-
         700. PMCID:PMC1403824 PMID:12829635
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C4. Invited Publications
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        8. Hruz, PW. Experimental Approaches to Alleviating Gender Dysphoria in Children Nat Cathol
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Expert Witness Testimony

     2009 Rosas v. Astrazeneca
     2012 O'Connor v. Stamford
     2016 Carcaño et al. v. Patrick McCrory (United States District Court, M.D. North Carolina)
     2016 Jane Doe v. Board of Education of the Highland School District (United States District Court For
          the Southern District of Ohio Eastern Division, Case No. 2:16-CV-, 524)
     2017 Ward v. Janssen (Circuit Court of St Louis, Division 16, MO, Case No. 1522-CC00213-01)
     2017 Adams v. St John's School Board (United States District Court For the Middle District of Florida,
          FL Civil Action No. 3:17-cv-00739-TJCJBT)
     2017 Ashton Whitaker v. Kenosha Unified School District (United States District Court Eastern
          District of Wisconsin, Civ. Action No. 2:16-cv-00943)
     2018 Terri Bruce v. State of South Dakota (The United States District Court District of South Dakota
          Western Division, Case No. 17-5080)
     2019 Cause DF-15-09887-SD of the 255th Judicial Circuit of Dallas County, TX regarding the dispute
          between J.A. D.Y. and J.U. D.Y., Children
     2021 Kadel vs. Falwell (The United States District Court For The Middle District Of North Carolina,
          Case No.: 1:19-cv-272-LCB-LPA)
     2022 Brandt v Rutledge (The United States District Court Eastern District of Arkansas Central
          Division, Case No. 4:21-CV-00450-JM)
     2022 Eknes-Tucker vs Ivey (United States District Court Middle District of Alabama Northern
          Division, Case 2:22-cv-00184-LCB-SRW)
     2022 D.H. et al. v. Snyder (United States District Court For the District Court of Arizona, Case No.
          4:20-cv-00335-SHR)
